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                                                                           2351




    1                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF VIRGINIA
    2                             Norfolk Division
    3    - - - - - - - - - - - - - - - - - -
                                                 )
    4       BASF PLANT SCIENCE, LP,              )
                                                 )
    5                 Plaintiff,                 )
                                                 )
    6       v.                                   )
                                                 )
    7       COMMONWEALTH SCIENTIFIC AND          )
            INDUSTRIAL RESEARCH                  )
    8       ORGANISATION,                        )
                                                 )
    9              Defendant.                    )
            ______________________________       )
   10                                            )       CIVIL ACTION NO.
            COMMONWEALTH SCIENTIFIC AND          )           2:17cv503
   11       INDUSTRIAL RESEARCH                  )
            ORGANISATION, GRAINS RESEARCH        )
   12       AND DEVELOPMENT CORP., AND           )
            NUSEED PTY LTD.,                     )
   13                                            )
                 Plaintiff-Counterclaimants,     )
   14                                            )
            v.                                   )
   15                                            )
            BASF PLANT SCIENCE, LP, and          )
   16       CARGILL, INC.,                       )
                                                 )
   17        Defendants-Counterdefendants.       )
                                                 )
   18    - - - - - - - - - - - - - - - - - -
   19
                              TRANSCRIPT OF PROCEEDINGS
   20                          (Jury Trial - Day 14)
   21                              Norfolk, Virginia
   22                              November 5, 2019
   23
         BEFORE:    THE HONORABLE HENRY COKE MORGAN, JR.
   24               United States District Judge, and a jury
   25




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    1    APPEARANCES:
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    3                          Arlene L. Chow
                               N. Thomas Connally, III
    4                          Una Chiao-Yi Fan
                               Thomas B. Hunt
    5                          Takashi Okuda
                               Jared Schubert
    6                          Anna K. Shaw
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    7                     Counsel for BASF Plant Science, LP
    8                     VANDEVENTER BLACK LLP
                          By: Richard H. Ottinger
    9                     Counsel for Defendants, Third-Party
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   20                          Teresa Summers
                               Lawrence M. Sung
   21                     Counsel for Nuseed Pty Ltd
   22                     FISH & RICHARDSON PC
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   23                          Christopher R. Dillon
                               Elizabeth Flanagan
   24                          Daniel R. Gopenko
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   25




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                                   Gromov, D. - Direct

    1              (Proceedings commenced at 10:23 a.m.)
    2              THE COURT:     All right.   I believe we're at the
    3    beginning of the opponents' case on damages?
    4              MR. DILLON:    We are, Your Honor.     And the proponents
    5    call Dr. Dmitry Gromov.
    6              (The clerk administered the oath.)
    7              THE COURT:     All right you may proceed.
    8              DMITRY GROMOV, called by Cargill, having been first
    9    duly sworn, was examined and testified as follows:
   10                             DIRECT EXAMINATION
   11    BY MR. DILLON:
   12    Q.   Would you please introduce yourself to the Court.
   13    A.   Good morning, Your Honor.     My name is Dmitry Gromov.
   14    Q.   And where do you work?
   15    A.   I work for Cargill.
   16    Q.   What is your job?
   17    A.   I am the program lead -- program manager for Latitude.
   18    Q.   As the program manager for Latitude, are you familiar
   19    with whether or not Cargill has sold Latitude?
   20    A.   Yes, I am.
   21    Q.   Are you familiar with Cargill's investments in Latitude?
   22    A.   Yes, I am.
   23    Q.   Are you aware of the financial terms between Cargill and
   24    BASF?
   25    A.   Yes, I am.




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                                                                           2355


                                   Gromov, D. - Direct

    1    Q.   Are you responsible for Cargill's financial projections
    2    for the sale of Latitude?
    3    A.   Yes.
    4    Q.   Before addressing these topics, let's briefly go over
    5    your background and let the Court know how you came to become
    6    the program manager for Latitude.
    7                 Would you please describe briefly your educational
    8    background.
    9    A.   I have a Ph.D. in chemical engineering from the
   10    University of Wisconsin, as well as an MBA from MIT majoring
   11    in financial management.
   12    Q.   So you have degrees in both economic and technical
   13    fields?
   14    A.   I do.
   15    Q.   Where did you work before joining Cargill?
   16    A.   I had a variety of technical and commercial jobs in the
   17    petrochemical industry.
   18    Q.   When did you join Cargill?
   19    A.   In 2004.
   20    Q.   When did you become the program manager for the Latitude
   21    program?
   22    A.   About 2013.
   23    Q.   Would you briefly describe for the Court your experience
   24    at Cargill before you became the Latitude program manager.
   25    A.   I had a variety of technical and commercial jobs, always




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                                                                           2356


                                   Gromov, D. - Direct

    1    aimed at creating new businesses.
    2    Q.   And what are your responsibilities as the Latitude
    3    program manager?
    4    A.   I'm responsible for making plans and making sure that
    5    those plans are executed.
    6    Q.   How did your prior educational experience and work
    7    experience help you with regards to executing your
    8    responsibilities as the Latitude program manager?
    9    A.   Latitude is a complicated program spanning both technical
   10    and commercial areas, and my past experience, both
   11    educational and professional, really serve me well in that
   12    role.
   13    Q.   I'm going to turn to some questions related to the sales
   14    activity related to Latitude.
   15                Have there been any sales of Latitude to date?
   16    A.   No.
   17    Q.   Has Cargill made any offers to sell Latitude?
   18    A.   No.
   19    Q.   If a potential customer wanted to purchase Latitude, does
   20    Cargill have Latitude oil that it could sell to that
   21    customer?
   22    A.   No.
   23    Q.   When will Cargill first create or manufacture the
   24    Latitude oil that it would sell to customers?
   25    A.   The earliest we expect to have the oil is either very




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                                                                           2357


                                   Gromov, D. - Direct

    1    late 2020 or very clearly 2021.
    2    Q.   Can Cargill sell Latitude in the United States today?
    3    A.   No, we cannot.
    4    Q.   Why is that?
    5    A.   We do not have the FDA deregulation.
    6    Q.   When do you expect to have FDA deregulation?
    7    A.   We hope to achieve FDA deregulation in the first quarter
    8    of 2020.
    9    Q.   Does Cargill plan to offer a canola omega-3 product for
   10    human consumption?
   11    A.   We currently do not have any plans to offer it into the
   12    direct human consumption segment.
   13    Q.   So what is the target market for Latitude?
   14    A.   Currently it's exclusively aquafeed.
   15    Q.   Does Cargill plan to offer LFK Kumily for sale?
   16    A.   No.
   17    Q.   How does Cargill use LFK Kumily?
   18    A.   Use it a couple of different ways.         First of all,
   19    obviously, LFK Kumily was the donor of the elite event that
   20    we used to put in Cargill parent lines.         We also grow --
   21    we've grown LFK as a benchmark crop in the fields.
   22               THE COURT:   What does that mean, benchmark?
   23               THE WITNESS:   Meaning the benchmark is something
   24    that you know how it would behave because you observed the
   25    crop for several years, and when you grow a new crop, you




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                                                                             2358


                                   Gromov, D. - Direct

    1    want to compare it to something.       And because in the field no
    2    two years are the same, it's hard to make comparison between
    3    the years.   You always have to make a comparison to something
    4    that you know well in a particular year, in a particular
    5    field.    That's the only meaningful way of comparing and
    6    measuring what you've created as a new crop.         If it makes
    7    sense, Your Honor.
    8    BY MR. DILLON:
    9    Q.   What have you compared it to?      So you said you used LFK
   10    as a benchmark.    What were you benchmarking against LFK
   11    Kumily?
   12    A.   Omega-3 content.
   13    Q.   But were there specific plants or hybrids that you were
   14    using the LFK Kumily as a benchmark for?
   15    A.   Cargill has developed two hybrids, which are the plants
   16    that carry the elite event from LFK Kumily in the Cargill
   17    background, in the Cargill host canola plant.         So those are
   18    the two hybrid plants that we use to grow -- we grow them,
   19    and we measure the performance against Kumily.
   20    Q.   Does Cargill have plan to use LFK Kumily in the future?
   21    A.   We do not.
   22    Q.   We heard a little bit from Mr. Horton about the field
   23    trials that Cargill has conducted in Montana.         Do you know
   24    what Cargill did with the seeds from those field trials?
   25    A.   Yes, I do.




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                                    Gromov, D. - Direct

    1    Q.    What did Cargill do with the seeds that were harvested in
    2    2018 and 2019?
    3    A.    A portion of that seed -- actually, the largest portion
    4    is still in Montana in storage.       A portion was transferred to
    5    our Fort Collins, Colorado facility for R&D purposes, and the
    6    portion of what has been transferred was turned into oil.
    7                THE COURT:   Was what?
    8                THE WITNESS:   It was turned into oil, Your Honor.
    9    We extracted the oil from a portion of those seeds.
   10    BY MR. DILLON:
   11    Q.    And what did you do with the oil in Fort Collins?
   12    A.    It was used for R&D purposes.      It was used for process
   13    development purposes, meaning that to develop a process
   14    itself of extracting the oil, as well as to on two occasions
   15    the oil was sent to other R&D facilities.
   16    Q.    And what were those R&D facilities that you send the oil
   17    to?
   18    A.    We sent a sample of the oil to BASF facility in Norway.
   19    That facility engages in refining and concentrating fish oil.
   20    The other sample went to the University of Idaho, and there
   21    it's going to be used to make feed for freshwater trout.
   22    Q.    Did you receive any money from BASF or the University of
   23    Idaho?
   24    A.    No.
   25    Q.    Has any oil from the 2018 or 2019 harvests been sold?




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                                    Gromov, D. - Direct

     1   A.   No.
     2   Q.   All right.    Dr. Gromov, we're going to change subjects
     3   and talk a little bit about the BASF/Cargill commercial
     4   arrangement.    Are you familiar with that?
     5   A.   Yes, I am.
     6   Q.   If I could ask you in your binder you have in front of
     7   you to turn to the tab that's marked JX-59, please.
     8               And, Your Honor, this has already been admitted into
     9   evidence.    May I proceed, Your Honor?
   10                THE COURT:    Yes.
   11    BY MR. DILLON:
   12    Q.   Are you familiar with this document?
   13    A.   Yes, I am.
   14    Q.   And what is it?
   15    A.   This is a commercialization agreement between -- or
   16    development agreement between Cargill and BASF.
   17                THE COURT:    This is a modification or this is --
   18                MR. DILLON:   This, Your Honor, is the first
   19    amendment to the commercialization agreement.
   20                THE COURT:    All right.
   21    BY MR. DILLON:
   22    Q.   Under the terms of this agreement, Dr. Gromov, when must
   23    Cargill pay BASF related to its sales of Latitude?
   24    A.   We will start paying BASF the year the project -- program
   25    Latitude turns positive in the earnings.         Until then, there




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                                    Gromov, D. - Direct

     1   will be no payments.
     2   Q.   Do you have a name for those payments?
     3   A.   We call them profit share payments.
     4   Q.   If you could turn to Section 8.2, which is at the Bates
     5   range ending 905, and it's on the screen.         It's been
     6   highlighted if it's a little easier to read.
     7   A.   Yes.
     8   Q.   Do you recognize this section?
     9   A.   Yes, I do.
   10    Q.   What is this?
   11    A.   This section specifies the payment that Cargill will be
   12    making to BASF.
   13    Q.   Okay.    Could you read the first sentence, please.
   14    A.   "Cargill shall pay BASF 40 percent of all positive
   15    product EBIT in United States dollars."
   16    Q.   What is E-B-I-T?
   17    A.   E-B-I-T or EBIT is a commonly used abbreviation for
   18    profit measure.     It stands for earnings before interest and
   19    taxes, meaning that's the profit that is available to you
   20    before you've paid taxes to the government and interest to
   21    your bankers.
   22    Q.   When does Cargill anticipate making its first profit
   23    share payment to BASF related to Latitude oil?
   24    A.   We anticipate to make the first payment in 2023.
   25    Q.   And why won't you make a payment before 2023?




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                                    Gromov, D. - Direct

     1   A.   We do not expect to turn profit until 2023.
     2   Q.   Why do you not expect to make a profit before 2023?
     3   A.   For a couple of reasons.      First of all, while we're
     4   gaining the scale, while we're too small, it's hard to make
     5   money.   So that's going to hold us back as we get bigger.
     6   The other reason is that by 2023, we expect that our second
     7   generation product is going to be produced.
     8   Q.   What is that second generation product?
     9   A.   You may have heard of Project Boost.        That refers to the
   10    result of that project.
   11    Q.   And I'm not sure the Court has heard enough about Project
   12    Boost.   So could you explain briefly what Project Boost is
   13    and why there's a difference between Generation I and
   14    Generation II of Latitude?
   15    A.   As you put elite event into various parent line
   16    backgrounds, what you observe is that sometimes there is
   17    actually an increase in expression level for omega-3.          And so
   18    you want to target those types of parent lines.         As a result,
   19    if you're smart about choosing those hosts for the event, you
   20    end up with a plant that actually produces much more omega-3
   21    than you started with.
   22    Q.   And how much omega-3 does the first generation of
   23    Latitude have?
   24    A.   We expect to produce about 12 percent omega-3, the first
   25    generation.




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                                    Gromov, D. - Direct

     1   Q.   And what is your expectation regarding the second
     2   generation?
     3   A.   We hope to show 18 percent, Your Honor.
     4   Q.   And when will that occur?
     5   A.   We believe it will occur in 2023.
     6   Q.   And is that work that's being done with Boost work that's
     7   being done by Cargill or by BASF?
     8   A.   All of the Boost work has been done by Cargill.
     9              THE COURT:   When you say 18 percent, is that DHA or
   10    EPA or both or what?
   11               THE WITNESS:    We refer to the combined amount.       Our
   12    oil is largely EPA, Your Honor, but when we say omega-3, from
   13    now on I refer to the combined value of those two fatty
   14    acids.
   15               THE COURT:   Why do you have the majority of it in
   16    EPA instead of DHA?
   17               THE WITNESS:    The pathway that we chose to use gives
   18    us this split between EPA and DHA.        While I'm not a
   19    scientist, I believe there is no way of changing that.
   20    BY MR. DILLON:
   21    Q.   Has Project Boost boosted both the EPA and the DHA, or
   22    does it affect one versus the other?
   23    A.   It boosts all of them approximately in the same manner.
   24    So the sum goes higher, but the relative amounts stay more or
   25    less stable.




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                                    Gromov, D. - Direct

     1               THE COURT:   What is the relative percentage?
     2               THE WITNESS:   In the Generation I, we're looking at
     3   about 11 percent EPA and probably 1 percent DHA.          I'm
     4   rounding up.    Roughly 10 to 1.     Rounding up, Your Honor.
     5   BY MR. DILLON:
     6   Q.   Just to back up a moment, we're talking about the 2018
     7   and the 2019 seeds that were used in the field trials.
     8   Although you sent some of that oil to BASF in Norway, did you
     9   make any profit share payments related to the delivery of
   10    that oil?
   11    A.   We did not.
   12    Q.   And why is that?
   13    A.   Those were not sale of the product.
   14    Q.   Under this BASF/Cargill commercialization agreement, how
   15    is the profit split between BASF and Cargill?
   16    A.   BASF gets 40 percent of all positive EBIT and Cargill
   17    gets 60 percent of all positive EBIT.
   18    Q.   Why does Cargill get more of the profit than BASF under
   19    this agreement?
   20    A.   While I was not part of the initial negotiation, I
   21    believe that that's the result of the arm's length
   22    conversation between BASF and Cargill, and this split
   23    reflects the relative value that both companies bring to the
   24    program.
   25                THE COURT:   Well, what does the 40 percent here mean




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                                    Gromov, D. - Direct

     1   if they're splitting it 60/20?        Is that what you said?
     2   60/20?
     3              THE WITNESS:    60/40, Your Honor.
     4              THE COURT:    60/40.    Okay.   But the 40 percent
     5   doesn't start until it becomes profitable?
     6              THE WITNESS:    That is correct, Your Honor.
     7              THE COURT:    So how many -- I mean, you're assuming
     8   it will be profitable in --
     9              THE WITNESS:    2023.
   10               THE COURT:    -- '23.    When do you expect to start
   11    selling it?
   12               THE WITNESS:    In 2021.
   13               THE COURT:    So the third year of sales, you expect
   14    it to become profitable?
   15               THE WITNESS:    We hope that's going to be the
   16    outcome, Your Honor.
   17               THE COURT:    I've seen charts on the projected
   18    profitability.     I don't know if those were BASF documents or
   19    Cargill documents.
   20               MR. DILLON:    Your Honor, we're going to be going
   21    through with Dr. Gromov two of those charts.         They're Cargill
   22    documents that he created.        One relates to the cost to
   23    manufacture the product, and the other relates to the
   24    projections as to when they'll be selling it and when it
   25    becomes profitable.      So we'll be getting to that shortly in




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                                     Gromov, D. - Direct

     1   this examination.
     2                THE COURT:    All right.
     3   BY MR. DILLON:
     4   Q.   Before we turn to that, I'd like for the Court to
     5   understand a little better the 60/40 split.         We've heard a
     6   lot in court about the BASF elite event and the genetics
     7   associated with that, but I don't know that we've heard as
     8   much about the Cargill piece.        So I want to ask you some
     9   questions now, Dr. Gromov, about the Cargill added value.
   10                 If you could turn in your binder to what's been
   11    premarked as PX-870.       This document is not yet in evidence.
   12    Do you recognize this document, Dr. Gromov?
   13    A.   I do.
   14    Q.   What is it?
   15    A.   It's a PowerPoint presentation.
   16    Q.   Is this a document that Cargill created and maintains in
   17    the ordinary course of business?
   18    A.   Yes.
   19                 MR. DILLON:   Your Honor, I move to admit PX-870.
   20                 MR. SUNG:    No objection, Your Honor.
   21                 THE COURT:    All right.   PX-870 will be admitted.
   22                 (Exhibit PX-870 received in evidence.)
   23    BY MR. DILLON:
   24    Q.   If we could turn to Page .002, and it's also displayed on
   25    your screen there, Dr. Gromov.




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                                    Gromov, D. - Direct

     1   A.   I can see it.
     2   Q.   Are you familiar with this chart?
     3   A.   Yes.
     4   Q.   And briefly could you describe what this chart
     5   represents?
     6   A.   At the high level, this chart represents the areas of
     7   responsibility that BASF and Cargill take on in program
     8   Latitude.
     9   Q.   I want to start with the green box that's the farthest to
   10    the left, so right next to the BASF line.         Do you see the one
   11    that says "plant breeding"?
   12    A.   Yes.
   13    Q.   What is plant breeding?
   14    A.   Plant breeding is a process of combining two parent lines
   15    of a plant, canola in this case, with the hope of producing a
   16    better performing child plant, both hybrid.
   17    Q.   How does plant breeding add value to Latitude?
   18    A.   Plant breeding is essential for Latitude.        The reason
   19    being is that when you produce a hybrid plant, a child plant,
   20    those plants tend to show better performance in the field,
   21    meaning they yield better.      They're more stable year over
   22    year in location to location.
   23                As a result, the farmers that you want to work with
   24    are able and willing to do that.        If you do not give them a
   25    good plant, they will not come back to you the next year to




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                                    Gromov, D. - Direct

     1   grow your crop again.
     2   Q.   Is yield important to farmers?
     3   A.   It is probably one of the single most important variable
     4   to the farmer.     It's what the crop is going to yield.
     5   Q.   And does having a hybrid have an impact on the yield?
     6   A.   Yes, it does.    Hybrid plants yield more and they yield
     7   more stable out.
     8   Q.   And how is yield measured?
     9   A.   In the canola case, it is measured in something that is
   10    call bushels per acre, which is a measure -- bushel is a
   11    measure of volume.      It's about 50 pounds.
   12    Q.   Earlier you were talking briefly about Project Boost.
   13    Where would Project Boost show up on PX-870.002?
   14    A.   It would be part of the plant breeding box.
   15    Q.   How long has Cargill been working on Project Boost?
   16    A.   We have started as soon as we received the elite event
   17    from BASF.
   18    Q.   Is the process --
   19               THE COURT:    I'm sorry.
   20               THE WITNESS:    We started as soon as we received the
   21    elite event from BASF.
   22    BY MR. DILLON:
   23    Q.   And when was that?
   24    A.   I believe it was in 2015.
   25    Q.   Is the process for Project Boost complete?




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                                     Gromov, D. - Direct

     1   A.     No.   Project Boost is a set of ongoing activities.       It's
     2   never going to be stopped.       So this R&D spin line will always
     3   be present in our financial projections, as you'll see when
     4   we get to those.
     5   Q.     How does Boost add value to project Latitude?
     6   A.     The reason Latitude oil is more valuable than regular
     7   canola oil is because it has omega-3 in it.
     8                THE COURT:   Because it has what?
     9                THE WITNESS:   It has omega-3 in it, Your Honor.      And
   10    in the marketplace, oils with more omega-3 are valued higher
   11    than oils with less omega-3.        For example, in oil with 18
   12    percent omega-3, it will be valued higher than the oil with
   13    12 percent omega-3 because that's why people buy these oil
   14    for.
   15    BY MR. DILLON:
   16    Q.     How much omega-3 is in fish oil?
   17    A.     Fish oils differ in omega-3 content.       The best fish oils
   18    can go up to 30 percent.       You can always buy fish oils with
   19    as low as 10 or 12 percent omega-3.
   20    Q.     So how does -- I think with the Generation I you said it
   21    was about 12 percent?
   22    A.     That's correct.
   23    Q.     And Generation II would be about 18 percent?
   24    A.     That is correct.
   25    Q.     How does going from Generation I to Generation II




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                                    Gromov, D. - Direct

     1   increase the value of Latitude?
     2   A.   Each percentage point of omega-3 concentration, content
     3   has a dollar value to it, measured in dollars per metric ton.
     4   What we observe in the marketplace, that value is between $30
     5   and $50 per metric ton.      So if you take midpoint, let's say
     6   we take $40 per metric ton, and then you go from 12 percent
     7   to 18 percent omega-3, you're adding 6 points.          At $40 you're
     8   adding $240 to the value of your oil while keeping your
     9   production costs the same, Your Honor.           So that $250 per
   10    metric ton goes to your profit.
   11    Q.   Why do the production costs remain the same?
   12    A.   Because you do not do anything different from the -- with
   13    the plant that produces 18 percent oil that you would have
   14    done with a plant that produces 12 percent oil.          The
   15    processes are identical, so, hence, your costs are the same.
   16    Q.   Earlier the Court heard a little about the field trials
   17    that Cargill has conducted from Mr. Horton.          Are you familiar
   18    with those field trials?
   19    A.   Yes, I am.
   20    Q.   All right.    And why does Cargill conduct field trials
   21    related to the Latitude product?
   22    A.   As we mentioned before, when you talk to a farmer, asking
   23    him or her to grow a crop for you, the first question they
   24    would have is, well, how much am I going to get out of it?
   25    And the key driver in how much they're going to get out of it




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                                    Gromov, D. - Direct

     1   is how many bushels per acre of canola they're going to be
     2   getting.
     3              So before you can persuade them to work with you,
     4   you have to persuade them that what you have to offer
     5   actually performs well, which takes the form of writing
     6   multiple field trials, demonstration trials, if you will, in
     7   various locations in the target area and for several years to
     8   make sure that they get a complete picture, because the
     9   weather is unpredictable.
   10    Q.   Where do these field trials show up on PX-870.002?
   11    A.   They will be part of plant breeding box.
   12    Q.   By the way, do farmers care about the percentage of
   13    omega-3 in the seeds?
   14    A.   They would not.    A percentage omega-3 in the seeds, this
   15    is something that Cargill would care about because this is
   16    how we get paid.     A farmer gets paid on the bushels per acre.
   17    So in a way, he could care less about how much omega-3 is in
   18    that seed, or, frankly, if there's any omega-3 in the seed.
   19    He just cares about bushel per acre.
   20    Q.   Who cares about the amount of omega-3 in the seeds?
   21    A.   Cargill does, and then people, our customers would.
   22    People who buy the oil that comes from those seeds will be
   23    paying more for the oil that has more omega-3.         It will be
   24    more valuable.
   25    Q.   Dr. Gromov, are you familiar with the term "closed-loop




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                                    Gromov, D. - Direct

     1   production"?
     2   A.     Yes, I am.
     3   Q.     What is closed-loop production?
     4   A.     A closed-loop production is a way of producing a crop, a
     5   product in agricultural setting, making sure that the whole
     6   process stays separate from the very beginning to the very
     7   end.    What I mean by that is, as you produce, you're using
     8   different fields, you're using different silos, you're using
     9   different trucks and rails, and you also process the output
   10    in a certain way in the processing plant.
   11    Q.     And does Cargill have experience with closed-loop
   12    production?
   13    A.     It does.
   14    Q.     And can you give an example of a product that you've
   15    produced with closed-loop production?
   16    A.     Cargill has been in the business of producing what is
   17    called a high oleic canola for over 20 years.         High oleic
   18    canola oil is a type of oil, is a canola oil that's very good
   19    for frying application.      So the next time you go and you buy
   20    a French fry, it's very likely that that French fry was done
   21    with high oleic canola oil.
   22                And like I mentioned before, Cargill has been in
   23    their business for over 20 years, and I'm thinking maybe even
   24    closer to 25 years at this point.
   25    Q.     Why does Cargill use closed-loop production with its high




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                                     Gromov, D. - Direct

     1   oleic canola oil?
     2   A.   Because it wants to keep the final product separate from
     3   the -- from regular canola because it has a different
     4   property, has a different value in the marketplace.          You have
     5   to keep it separate, hence, you have to use the closed-loop
     6   production system.
     7   Q.   Do any other companies use closed-loop production for
     8   canola?
     9   A.   I'm not aware of anybody who would do it the same way as
   10    Cargill.
   11    Q.   If I could ask you to turn to CX-0480.
   12    A.   I'm there.
   13    Q.   Do you recognize this document?
   14    A.   I do.
   15    Q.   What is this?
   16    A.   It's a PowerPoint slide.
   17    Q.   Is this a document that Cargill created and maintains in
   18    the ordinary course of business?
   19    A.   Yes.
   20                 MR. DILLON:   Your Honor, I move to admit PX-0480.
   21                 THE CLERK:    CX?
   22                 MR. DILLON:   I'm sorry, CX-0480.
   23                 THE COURT:    CX, right.
   24                 MR. SUNG:    No objection, Your Honor.
   25                 THE COURT:    All right.   That's admitted.




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                                    Gromov, D. - Direct

     1              (Exhibit CX-0480 received in evidence.)
     2   BY MR. DILLON:
     3   Q.   If you could turn to CX-0480 at .008.
     4   A.   I'm there.
     5   Q.   What is this?
     6   A.   It's a visual representation of a closed-loop production
     7   system.    That is all of the steps that a company needs to
     8   make before it can turn the planting seed into the final
     9   product.
   10    Q.   Could you walk the Court through each of the steps here
   11    in the closed-loop production process, please.
   12    A.   To start making a specialty crop, you have to start with
   13    a specialty planting seed.      So you have to produce planting
   14    seed, and that's what is depicted in the first box, a bag of
   15    seeds.    Once you've created those bags of seeds, you sell
   16    those seeds to your farmer who is going to be growing this
   17    crop for you in a separate field.
   18               Then you purchase the grain from the farmer, and
   19    then now it's yours.     Now you have to move and store the
   20    grain the way you see fit, and, ultimately, the grain ends up
   21    being delivered to the processing plant, which we call crush
   22    plant.    This is a plant where oilseed or grain is going to be
   23    squeezed and crushed into two components; oil and meal.           And
   24    once you've done that, you have to take care of the logistics
   25    of the oil, which is the final product.          In this case, it's




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                                    Gromov, D. - Direct

     1   taken to a port where it's sold.
     2   Q.   How do the costs of closed-loop production compare to the
     3   normal costs of producing canola?
     4   A.   They're always higher.
     5   Q.   Why is that?
     6   A.   Because they have to do things differently because you
     7   have to use different silos, different fields.         You have to
     8   make sure that the product always is segregated from the bulk
     9   of your production -- not your production, other people's
   10    production, and that all adds cost at every single note in
   11    this visual representation.
   12    Q.   Is closed-loop production necessary for Latitude?
   13    A.   Yes, it is.    That's the only way we can produce something
   14    like Latitude.
   15    Q.   And why is that?
   16    A.   Because our goal is to produce oil that would be on
   17    itself very separate from the other regular or generic canola
   18    oil, that our oil will not have any of the generic canola
   19    oil, and on the flip side, that the generic canola oil will
   20    not have any of our oil.      So really making sure that the
   21    whole production is separate from the field to the storage to
   22    transportation to crush.
   23    Q.   If we could turn back, Mr. Sparks, to PX-870.
   24               Dr. Gromov, is closed-loop production depicted on
   25    PX-870.002?




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                                    Gromov, D. - Direct

     1   A.   Yes.
     2   Q.   Where is that?
     3   A.   It would be in the boxes called seed production, contract
     4   production, and crush and refining.
     5   Q.   How does closed-loop production add value to Latitude?
     6   A.   As I said before, it's the way you have to do it, and
     7   without closed-loop production system, which is an efficient
     8   closed loop production system, you cannot produce Latitude.
     9   Q.   On PX-870 there's a box titled "product development."
   10    What does this refer to?
   11    A.   It refers to making sure that your oil works in the fish
   12    feed application.
   13    Q.   And is fish feed the product that you're developing for
   14    Latitude?
   15    A.   Yes.    That's the target market for Latitude.
   16    Q.   All right.    Did Cargill do any testing to determine
   17    whether Cargill's omega-3 canola works as a fish oil
   18    substitute in fish feed?
   19    A.   Yes, we did.
   20    Q.   And what do those tests show?
   21    A.   Those tests show that we can replace all fish oil in the
   22    fish diet without any detrimental effect on fish performance
   23    or health.    So all of the fish oil can relates to Latitude.
   24                THE COURT:   Have you tested them in fish other than
   25    salmon?




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                                      Gromov, D. - Direct

     1                 THE WITNESS:   No, we did not, Your Honor.    Take it
     2   back.    Shrimp study was done at the University of Auburn that
     3   showed similar results that we could go almost all the way to
     4   replace the fish oil.        I think in shrimp we could replace up
     5   to 75 percent of added fish oil.
     6   BY MR. DILLON:
     7   Q.     And I think earlier you mentioned that there was some
     8   work ongoing with regards to trout; is that correct?
     9   A.     That work is ongoing.     I do not have the results for that
   10    work yet.
   11    Q.     If you could stay in PX-870 and just turn the page to
   12    .003.    Do you recognize this chart?
   13    A.     Yes.
   14    Q.     Would you briefly describe what this chart shows?
   15    A.     It shows a summary of fish feeding results where we --
   16    we've taken a commercial fish diet, salmon in this particular
   17    case, replaced all the fish oil with Latitude, and observed
   18    trout -- we're looking for any differences.         Bottom line, we
   19    didn't see any.      Fish was gaining weight the same way in both
   20    cases.    Fish was just as healthy in both cases.       And the
   21    mortality rate was the same in both cases.         So the conclusion
   22    from that study was that a complete replacement of fish oil
   23    with Latitude is possible.
   24                  THE COURT:   So Latitude behaved the same as fish
   25    oil?




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                                      Gromov, D. - Direct

     1                 THE WITNESS:   That is correct.
     2                 THE COURT:   Not better, not worse, the same?
     3                 THE WITNESS:   That is correct.
     4                 THE COURT:   But the fish oil varies in percentage of
     5   EPA and DHS, depending on the fish or what?
     6                 THE WITNESS:   Yes, you're correct.    It depends on
     7   the fish species, also depends on the year.         The results are
     8   unpredictable.      Some years it will be one level; some years
     9   it will be another.        But the major variability comes with the
   10    species.      Some fish will have higher omega-3 oils, like
   11    anchovy.      It will be always higher than menhaden.      That's
   12    always true, but the exact numbers will be dependent on the
   13    season.
   14    BY MR. DILLON:
   15    Q.     What are some of the fish that are used for fish oil?
   16    A.     First and foremost is anchovies in South America, and
   17    then closer to home it's menhaden caught in the Gulf of
   18    Mexico and in the Atlantic Ocean.          And if you go to Europe,
   19    you start looking at fish like capelin and eel, sardines,
   20    stuff like that, usually smaller fish that we do not like to
   21    eat.    Fatty, bony fish are the best ones to go for that.
   22    Q.     If we could turn back one page to 870.002.       In addition
   23    to manufacturing Latitude, is Cargill responsible for the
   24    marketing and sales of Latitude?
   25    A.     Yes.




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                                    Gromov, D. - Direct

     1   Q.   And is this depicted on PX-870.002?
     2   A.   It would be in the last box called sales and
     3   distribution.
     4   Q.   What is involved in sales and distribution?
     5   A.   Finding the customers, talking to them, understanding
     6   their needs, and providing a solution to their needs.
     7   Really, it's selling the product.
     8   Q.   Are there any other areas of value created by Cargill
     9   that are not generally described in 870.002?
   10    A.   Yes.
   11    Q.   And what is that?
   12    A.   The value proposition relates to Cargill's ability to
   13    offer omega-3 ingredient at a predictable cost rather than
   14    the current solution, which is fish oil, which is
   15    unpredictably priced.
   16    Q.   Why is that valuable to customers?
   17    A.   It's extremely valuable to fish farmers because to raise,
   18    let's say, salmon as an example, salmon spends about 12 to 18
   19    months at sea in the cages.       They are also called net pens
   20    sometimes.
   21                And for all this time, you have to feed the fish.
   22    So it's un -- not unlike land animals, so large amount of
   23    fish.   You've invested money.      You've got to feed them.      Your
   24    feed costs are about 60 to 65 percent of your overall
   25    production costs, and situation where you actually do not




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                                    Gromov, D. - Direct

     1   know how much it's going to cost you to feed the fish adds
     2   volatility, adds unpredictability to the farmer's cost to
     3   production, and nobody likes that.
     4   Q.   How is Latitude able to mitigate that volatility?
     5   A.   To understand that, let me step back, maybe talk about
     6   how fish oil is made.      Fish oil is made by a fisherman going
     7   fishing in the ocean, and then they may or may not catch
     8   fish, depending on the situation.        If there is not enough
     9   fish or there is no fish, then there's no fish oil.          So the
   10    supply of fish oil is very unpredictable, which is reflected
   11    in its price.
   12                The approach that Cargill takes is farming, which is
   13    much more predictable than going fishing in the open ocean.
   14    We know how many bushels we've planted.          We know how the
   15    hybrids are going to perform.       There's very little volatility
   16    in the output volume, so we can start talking about
   17    predictable volume and predictable price.
   18    Q.   If you could turn to what's been previously marked as
   19    PX-877.     Do you recognize this document?
   20    A.   Yes.
   21    Q.   And what is it?
   22    A.   It's a PowerPoint slide.
   23    Q.   Is this a document that Cargill created and maintains in
   24    the ordinary course of business?
   25    A.   Yes.




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                                     Gromov, D. - Direct

     1                MR. DILLON:   Your Honor, we move to admit PX-877.
     2                MR. SUNG:    No objection.
     3                THE COURT:    PX-877 will you admitted.
     4                (Exhibit PX-877 received in evidence.)
     5   BY MR. DILLON:
     6   Q.   Dr. Gromov, if you could turn the page to Page .003.
     7   A.   I'm there.
     8   Q.   Could you please explain to the Court what this chart
     9   represents.
   10    A.   This chart represents a trajectory of fish oil price
   11    between 2010 and mid-2018.       The major takeaway from this
   12    price chart is that the fish oil price is extremely
   13    unpredictable and volatile.        In the span of a few months the
   14    price can go from $1,300 to $2,700 and back, and that's the
   15    main takeaway from this chart.
   16    Q.   And in comparison to fish oil, what is the relative
   17    predictability of the costs associated with Latitude?
   18    A.   It's much, much, much more predictable.        In a way, we can
   19    almost know for sure what it's going to be if we price the
   20    grain to the farmer correctly.
   21    Q.   Okay.    If we could turn back briefly to PX-870.
   22                 Dr. Gromov, we've talked about the activities in
   23    green.   Just briefly I want to talk a little bit about the
   24    activities in blue.
   25                 Are you familiar with the areas of value created by




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                                    Gromov, D. - Direct

     1   BASF for the Latitude project?
     2   A.   Yes, I am.
     3   Q.   And what are those areas?
     4   A.   The two major areas are genetic engineering, which is
     5   creating the elite event, LFK Kumily event; and the second
     6   step is achieving global deregulation of this product.
     7   Q.   And why is global deregulation important to Latitude?
     8   A.   Latitude business is expected to be global, and global
     9   deregulation means that we are able to sell the product in
   10    more countries than one, in many countries, essentially
   11    enabling us to sell in many different geographies.
   12    Q.   Once BASF delivered the elite event to Cargill, did BASF
   13    have any ongoing technical responsibilities for the
   14    development of Latitude?
   15    A.   No.
   16    Q.   How about with regards to the manufacturing or production
   17    of Latitude?    Does BASF have any ongoing responsibilities for
   18    those activities?
   19    A.   It does not.
   20    Q.   And with regards to sales and distribution, does BASF
   21    have any responsibility?
   22    A.   No.
   23    Q.   Dr. Gromov, I want to talk a little bit more with you
   24    about the market for Latitude.       In preparation for your
   25    testimony, have you prepared a demonstrative related to the




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                                     Gromov, D. - Direct

     1   omega-3 market?
     2   A.   Yes, I have.
     3   Q.   All right.    If we could call up demonstrative PDX-1304.
     4                What does this chart represent or depict?
     5   A.   It's a visual representation of a fish farming industry.
     6   Q.   Okay.    What are the various layers or levels that we see
     7   in this chart?
     8   A.   What you see on this chart, if you start from the very
     9   bottom, you see that there is a fair amount of fish farming
   10    companies.     The amount is not huge, but it's not very small
   11    either, and the fish farming companies are supplied by much
   12    smaller amount -- much smaller number of fish feed companies
   13    like Cargill, Biomar and Skretting, which is a middle layer
   14    in the chart.     And those feed manufacturing companies source
   15    their omega-3 from a lot of different suppliers.          Most of
   16    them are a fish oil companies, and I'm talking dozens of
   17    suppliers here.
   18    Q.   Who are the potential customers for Latitude?
   19    A.   That would be the middle layer.        That would be the feed
   20    suppliers, companies like Cargill, Biomar, and Skretting.
   21    Q.   And you mentioned one of those is a Cargill company?
   22    A.   Yes.    It's -- now it's an internal division.       It's a
   23    group in Cargill, we use the abbreviation CQN.
   24                 THE COURT:   It's part of Cargill now?
   25                 THE WITNESS:   I'm sorry, Your Honor?




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                                    Gromov, D. - Direct

     1               THE COURT:   You said somebody is part of Cargill?
     2               THE WITNESS:   Yes.   In 2015, Your Honor, Cargill
     3   acquired a salmon feeding company called EWOS.
     4               THE COURT:   EWOS?
     5               THE WITNESS:   Yes.   Which is part of Cargill now.
     6               THE COURT:   So it's not on the chart?
     7               THE WITNESS:   Right.   Because it's Cargill now, Your
     8   Honor.
     9               THE COURT:   So it acquired a competitor or a
   10    customer?
   11                THE WITNESS:   Exactly.
   12                THE COURT:   Which?
   13                THE WITNESS:   So today a division of Cargill is a
   14    potential customer for us, for Latitude.
   15                THE COURT:   So they were a fish farmer?
   16                THE WITNESS:   No, they were fish feed manufacturer,
   17    Your Honor.    They made the feed.
   18                THE COURT:   Fish feed manufacturer.     Okay.
   19    BY MR. DILLON:
   20    Q.   So in that middle layer, Dr. Gromov, where you have the
   21    major feed suppliers, where it says "Cargill, before 2015,"
   22    would that have been EWOS?
   23    A.   In the center space, yes, it would have been EWOS.
   24    Q.   And if Cargill had not acquired that company, they would
   25    effectively be a potential customer for the Latitude project,




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                                    Gromov, D. - Direct

     1   correct?
     2   A.   Yeah.    They would be the same customer except it would be
     3   a company called EWOS.      Now it's part of Cargill.      So it
     4   would be the same people potentially buying our product.
     5   Q.   So I think the Judge's question, Cargill acquired a
     6   potential customer of its product; is that correct?
     7   A.   That is correct.
     8   Q.   Okay.    There are a number of arrows on this chart down at
     9   the bottom.     What do those represent?
   10    A.   What these arrows are meant to represent is that farming
   11    companies buy feed from several feed suppliers.         I'm not
   12    aware of any exclusive agreements in this industry.          It's
   13    very fluid.     It's very competitive.     And the arrows that you
   14    observe here change every year, possibly every quarter.            Who
   15    buys from whom and how much changes all the time.
   16    Q.   How long has Cargill been in the aquaculture business?
   17    A.   Cargill has been in the aquaculture business for many
   18    years, and with the acquisition of EWOS in 2015, it just
   19    entered into what is called the cold species market, which is
   20    salmon in this case.
   21    Q.   Are you familiar with the feed suppliers depicted on
   22    PDX-1301?
   23    A.   Yes, I am.
   24    Q.   How are you familiar with them?
   25    A.   I met with them.




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                                     Gromov, D. - Direct

     1   Q.     Have you visited their facilities?
     2   A.     No.   I'm not -- not their facilities.     I visited
     3   facilities of Cargill.
     4   Q.     And are you familiar with the fish farming companies?
     5   A.     Yes, I am.
     6   Q.     How are you familiar with them?
     7   A.     I met with them, and I've seen their farms.
     8   Q.     Since Latitude is not yet available in the market, what
     9   are the fish feed manufacturers using today for omega-3 oil?
   10    A.     It's pretty much fish oil.     99 percent of all omega-3, 98
   11    percent, maybe, is fish oil.        There's also some small amounts
   12    what -- of what is called alga oils, which is a result of
   13    extracting the oil from certain marine algae plants, but the
   14    vast majority is still fish oil.
   15                 THE COURT:   Well, does all of the fish feed that
   16    these salmon farmers buy, does it all contain omega-3?
   17                 THE WITNESS:   Yes, it does, Your Honor.
   18                 THE COURT:   But at this point it's all from fish
   19    oil?
   20                 THE WITNESS:   In my estimate, 98 percent of it is
   21    probably at least -- is probably fish -- fish oil.
   22                 THE COURT:   Okay.
   23    BY MR. DILLON:
   24    Q.     You mentioned alga oil.     What is the relative price of
   25    alga oil to fish oil?




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                                    Gromov, D. - Direct

     1   A.   Alga oil is much more expensive than fish oil.         My best
     2   estimate today, alga oil is being offered at two to three
     3   times more than fish oil to these feed manufacturing
     4   companies.    It's much more expensive.
     5              THE COURT:   Well, why is there a market for it if
     6   it's so much more expensive?
     7              THE WITNESS:    There is a marketing story that goes
     8   with it.    Some companies use it as a headline of being more
     9   sustainable than the others, and they try to differentiate
   10    the product this way, hoping to either raise the price or
   11    maybe possibly gain more volume in the marketplace by saying
   12    essentially my fish is better than yours because I use these
   13    novel ingredients that do good.
   14               THE COURT:   Okay.
   15    BY MR. DILLON:
   16    Q.   All right.    Do the fish feed manufacturers depicted in
   17    the middle have a single source for omega-3 oil?
   18    A.   They do not.    In fact, they buy from dozens of suppliers.
   19    There's literally many, many fish oil companies around the
   20    world, and with the buyers for fish oil and these fish food
   21    manufacturers travel the world, and they make deals with
   22    everybody at any given time, and they could be buying
   23    locally.    Next month, they could be buying from Mexico.         Next
   24    month they could be bringing some product from the U.S., a
   25    menhaden product, a menhaden oil.        So it's really largely




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                                    Gromov, D. - Direct

     1   price-driven behavior that these guys exhibit.
     2   Q.   What types of contracts exist between the feed suppliers
     3   and their omega-3 suppliers?
     4   A.   Those are usually short-term contracts.        They go out for
     5   a few months at the longest, and there's also some spot
     6   sales.
     7   Q.   Have you had any discussions with the fish feed suppliers
     8   about the types of contracts you would hope to have for
     9   Latitude?
   10    A.   Yes, we did.    We started off with trying to get a longer
   11    term contract, maybe like 18 -- I'm sorry, like 36 months,
   12    three-year contract.     We did not get much interest on that
   13    proposition.
   14    Q.   And why is that?
   15    A.   I'm not quite sure.     I believe that the reason being is
   16    that we are new ingredients, and these buyers, the customers,
   17    they want to be careful, and they will not be buying
   18    something novel that they haven't tried in their operations
   19    for several years on a long-term contract.         That was my best
   20    guess why it didn't work.
   21    Q.   When Cargill begins selling Latitude, who will be
   22    Cargill's competition?
   23    A.   It's going to be everybody who sells omega-3 solutions.
   24    Fish oil companies come to mind because that's where the bulk
   25    of the omega-3 comes from.      They're the price setters.      Once




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                                    Gromov, D. - Direct

     1   they competitively develop fish oil price, you cannot veer
     2   too far from the benchmark.       You have to be reasonably close
     3   if you want to move volumes of your product.          So it will be
     4   very much looking at fish oil pricing when we go in.
     5   Q.   Will Cargill's competition be limited to just plant-based
     6   omega-3 suppliers?
     7   A.   No.    No.   Because the customers that buy omega-3, they
     8   buy from various sources, and they like to buy from various
     9   sources.    They like the variety.      They like being able to get
   10    in and out of the supplier.       They do it all the time.     That's
   11    how they do business.
   12    Q.   Is there an advantage to being the first company to
   13    launch a plant-based omega-3 oil solution?
   14    A.   No.    I don't believe that.    I do not.
   15    Q.   Why?
   16    A.   The way customers buy omega-3 ingredients is very fluid.
   17    They change suppliers very frequently.           They change the
   18    relative splits of their buying between suppliers all the
   19    time.   There is no brand loyalty in that line of business.
   20    It's very transactional.      So I don't see how the first mover
   21    advantage would be manifesting itself in this environment.
   22    Q.   Do you know how much fish oil these fish farming
   23    companies purchase each year?
   24    A.   I can try and estimate.      Salmon is -- why we talk about
   25    salmon, Your Honor, all the time is because it's the largest




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                                    Gromov, D. - Direct

     1   user of fish oil in omega-3 on the earth.         My estimates put
     2   the use in salmon industry at about 400,000 metric tons a
     3   year of fish oil, and then you have to add it to another,
     4   probably, 250,000 metric tons of fish oil used to feed other
     5   fish and shrimp for a total of 650,000 metric tons of fish
     6   oil in the aquafeed industry.
     7   Q.   When you launch Latitude, how much do you expect to
     8   produce?
     9   A.   In 2020, we have budgeted now to produce about 2,100
   10    metric tons of fish oil equivalents.        That is 2.1 thousand
   11    metric tons.
   12    Q.   And by the year 2025, what is your projection as to the
   13    quantity of fish oil equivalent omega-3 oil you'll produce?
   14    A.   We project to ramp it up to about 35,000 metric tons of
   15    fish oil equivalent by 2025.
   16    Q.   Is there an unmet demand today for fish oil?
   17    A.   I believe so.
   18    Q.   Why is that?
   19    A.   After talking to fish farmers and fish feed
   20    manufacturers, it's pretty clear to me that the current use
   21    of omega-3 in the feed is insufficient.          Because fish oil
   22    supply is constrained, and the industry was growing so fast,
   23    they had to reduce the including rate of fish oil in the
   24    field, and they went too far.
   25               In fact, this farm salmon today that we buy has




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                                    Gromov, D. - Direct

     1   about a half of omega-3 it used to have 20 years ago for that
     2   very reason.
     3              The other observation is that operations guys in the
     4   fish farms, people who run those cages, people who feed the
     5   fish, people who are responsible for harvesting the fish,
     6   they believe that the inclusion rate of omega-3 in the fish
     7   feed needs to go higher from where it is today because
     8   they're seeing some negative effects already in the cages.
     9              THE COURT:   Because what, now?
   10               THE WITNESS:    Because there's not enough omega-3,
   11    the fish is not as healthy as it should be.         The mortality is
   12    a little higher than it should be.        It doesn't grow quite as
   13    fast as it should be, and it doesn't recover from stresses
   14    like diseases, parasites, quite as good as it could have.
   15    BY MR. DILLON:
   16    Q.   You used the phrase "inclusion rate."        What is that?
   17    A.   What I was trying to say by that is how much omega-3 on
   18    the, let's say, percentage basis is in the fish feed.
   19    Q.   And you mentioned that it had dropped about half.         About
   20    how much --
   21    A.   Over the last 20 years, it dropped by a lot.         Twenty
   22    years ago, every single drop of -- essentially, every single
   23    drop of fat that would go into fish feed was fish oil.
   24    Today, it's only one-third of it.        The two-thirds of the fat
   25    that goes into fish feed is something else.         It could be




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                                    Gromov, D. - Direct

     1   regular canola oil.     It could be palm oil.      It could be
     2   poultry fat, things of that sort.        But the fish oil,
     3   including fish oil yields in the feed manufacturing, has gone
     4   down dramatically over the years.
     5   Q.   How is the demand to fish oil expected to change in the
     6   future?
     7   A.   We expect it to grow, and the reason being is that
     8   aquaculture is really a young industry.          It really started
     9   being noticeable 30, 40 years ago.        Before that, every single
   10    fish or shrimp we would eat would be wild caught.          So it's
   11    young.    It's growing fast.    So the demand for fish oil, we
   12    expect, will grow.
   13    Q.   If there is this unmet demand for fish oil, why aren't
   14    you ramping up your production faster?
   15    A.   There's only so fast you can go.       With a new crop, you
   16    need geography where nobody knows how to grow it.          You have
   17    to do things the right way, making sure that when you work
   18    with the farmers, they're happy.        The worst thing you can do
   19    is you go in and you do not deliver what you promised to your
   20    farmers, then it's going to be very difficult to recover your
   21    reputation.
   22               So the projections, Your Honor, you're going to see
   23    in a few minutes are really based from -- based on Cargill's
   24    ability to scale up those acres, those metric tons as quickly
   25    as possible.




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                                    Gromov, D. - Direct

     1   Q.   Dr. Gromov, what impact do you believe other plant-based
     2   omega-3 suppliers will have on Cargill's business?
     3   A.   I do not see any impact, frankly, because what I watch
     4   every day, I watch fish oil price.        That's what sets the
     5   value of my product.     That's what -- I'm rooting for fish oil
     6   to be more expensive, because that will bring the value up on
     7   our product.    I don't spend time thinking about what other
     8   people price their products at.
     9   Q.   Is the market large enough for more than one plant-based
   10    omega-3 supplier?
   11    A.   I believe so.    The estimates I've seen for the growth in
   12    unmet demand are substantial, and certainly, if you look at
   13    Cargill's projections, we're not capable to meet all of that
   14    by ourselves.     So I believe there's room for more than one
   15    player, absolutely.
   16    Q.   You mentioned pricing.      Do you have a price today for
   17    Latitude oil?
   18    A.   We do not.
   19    Q.   And why is that?
   20    A.   We have not priced it to any customers yet.
   21    Q.   When it launches Latitude, how do you expect to price the
   22    product?
   23    A.   After many conversations with the industry players, we've
   24    come to realize that to move any sizeable volume, we have to
   25    price at a slight premium to fish oil, at best.




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                                    Gromov, D. - Direct

     1   Q.   What is the current price for fish oil?
     2   A.   As you've seen from the chart, it's very volatile.
     3   Current price of fish oil, I think it's fair to say, is in
     4   the area of $1,850 a metric ton.
     5               THE COURT:   You say that your price is going to be
     6   more than fish oil, but --
     7               THE WITNESS:   But not much, Your Honor.
     8               THE COURT:   Well, fish oil is very volatile, so, I
     9   mean, why wouldn't your price be more one year and less the
   10    next year, depending on the -- what's the word -- volatility
   11    of the fish oil price?      It would seem that yours would be
   12    less or more, depending on what fish oil was.
   13                THE WITNESS:   You're correct, Your Honor, but when
   14    we sign a contract -- let's say we sign a contract today for
   15    delivery in 12 months.      That's where we fix the price, based
   16    on today's range of fish oil, not when we sign the next
   17    contract.    That price will be different, depending on where
   18    the market takes fish oil a year from now.         So there will be
   19    contracts at different price levels, but once you sign it,
   20    it's binding; the price is fixed.
   21                THE COURT:   All right.    But as time goes on, it will
   22    be -- your production costs of the fish oil will go down,
   23    will it not?
   24                THE WITNESS:   I'm sorry, Your Honor.     The production
   25    cost of fish oil?




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                                    Gromov, D. - Direct

     1              THE COURT:   The price of production of your fish oil
     2   should go down, adjusted for inflation.
     3              THE WITNESS:    Yes.   You probably are referring to
     4   the scale effects?
     5              THE COURT:   Yeah.
     6              THE WITNESS:    Yes, we expect some improvement.       It's
     7   not -- we don't believe we're going to see a drastic
     8   improvement in our cost of production because of the way we
     9   chose to do that in Montana, in the global supply chain.           We
   10    may -- I fully expect that we're going to be seeing some
   11    improvement, but it's not going to be very drastic, in my --
   12               THE COURT:   Why would you choose Montana as the
   13    place to grow it?     I know that both you and the proponents
   14    have chosen Montana.      What is it about the climate there that
   15    caused you to choose it?
   16               THE WITNESS:    We chose Montana, Your Honor, because
   17    essentially -- I'll sum it up.       You can grow canola in
   18    Montana, and yet nobody does, or hardly anybody does.          And
   19    the reason we wanted to have a place like that is we wanted
   20    to be separate from the ocean, of the other canola, to make
   21    sure that our product doesn't get contaminated from external
   22    canola, and the external canola does not get contaminated by
   23    our product.
   24               Those are -- we call them stewardship
   25    considerations.     They're actually a good chunk of our




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                                    Gromov, D. - Direct

     1   increased cost of production, making sure that Latitude does
     2   not end up being in the generic canola trade flows before we
     3   achieve global deregulation.       Because the scenario that we
     4   are working very hard to avoid -- and we incur costs as we do
     5   that -- is a scenario where, let's say, a boat with Canadian
     6   canola ends up being destined for, let's say, Japan, and
     7   while Japan is still deregulating Latitude, somebody finds a
     8   trait in that boat.     We will be endangering a whole canola
     9   trade flow from that perspective.
   10               This is why when Cargill defines the global supply
   11    chain, we'll really spend a lot of time and money making sure
   12    that that risk is minimized.
   13               THE COURT:   Well, then you could grow canola in
   14    virtually any climate in the world, then, if you can grow it
   15    in Montana?    I understand why you wouldn't, but I mean, as
   16    far as the agriculture potential, you could grow it anywhere.
   17               THE WITNESS:    Almost anywhere, Your Honor.       The --
   18    the results may vary, right, but you'll get some seed.           You
   19    may not like the yield.
   20               But you're absolutely right.          Montana -- there's
   21    nothing magic about Montana.       You can grow canola in North
   22    Dakota.    Indeed, this is where in the U.S. people grow quite
   23    a bit of canola.     North Dakota is a state where you will grow
   24    canola, not Montana.      There's a bit in Washington.       There's a
   25    bit in Colorado.     There are also some people who grow in the




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                                    Gromov, D. - Direct

     1   south.    They call it winter canola, so they plant over the
     2   winter in Georgia and Texas.       But those are very small,
     3   almost irrelevant, volumes, Your Honor.          So Montana is not
     4   magic, if that's what you're getting at.
     5                THE COURT:   That's what I'm getting at, yes.
     6                All right.
     7   BY MR. DILLON:
     8   Q.   Dr. Gromov, what is grown in Montana right now?
     9   A.   Montana is known for growing, first and foremost, wheat
   10    and barley.     There's a bit of alfalfa hay, there's chickpeas,
   11    but really the majority of acres are being taken by wheat and
   12    barley.
   13    Q.   And about how many acres of farmland are there in
   14    Montana?
   15    A.   Off the top of my head, I would put it at about 5 million
   16    acres of farmland in Montana that is used for growing wheat
   17    and barley.
   18    Q.   And by the time you've ramped up to, say, the year 2025,
   19    approximately how many acres do you expect to use to grow
   20    Latitude grain?
   21    A.   I would have to go back to the spreadsheet, but I think
   22    it's going to be on the order of approximately 150,000,
   23    maybe.
   24    Q.   Okay.
   25    A.   Again, I'd have to go to the spreadsheet for that.




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                                    Gromov, D. - Direct

     1   Q.   We're going to get to that, but why don't we turn to the
     2   cost, since that's the subject of some of the Court's
     3   questions.
     4               THE COURT:    How much longer are you going to be?
     5               MR. DILLON:   Probably about another half hour.
     6               THE COURT:    Well, we started late, so you just let
     7   me know when you or if you want a recess?
     8               MR. DILLON:   We can take the morning recess now, if
     9   you'd like.
   10                THE COURT:    What I'm saying is I don't need a
   11    recess.    If you need one, let me know.
   12                MR. DILLON:   I think I'm good.      I don't want to be
   13    the one to hold somebody back here, but we'll press on.
   14    BY MR. DILLON:
   15    Q.   Dr. Gromov, have you analyzed how much it will cost to
   16    produce Latitude?
   17    A.   Yes, I have.
   18    Q.   And about how long have you been doing that type of
   19    analysis?
   20    A.   I started doing rigorous analysis about two years ago.
   21    Q.   Approximately how much more does it cost to grow Latitude
   22    versus regular canola?
   23    A.   About $800 a metric ton more of oil.
   24    Q.   And for the Court's benefit, what is the price of regular
   25    canola today, approximately?




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                                    Gromov, D. - Direct

     1   A.   Obviously, it's market-driven.       My best understanding, if
     2   we use $750 a metric ton, we'd be pretty close.
     3               THE COURT:   Well, as a percentage of the cost of
     4   regular canola, how much more does it cost to raise --
     5               THE WITNESS:   More than double, Your Honor.
     6               THE COURT:   More than double?
     7               THE WITNESS:   Yes, sir.
     8   BY MR. DILLON:
     9   Q.   And so I think you said $750 for regular canola and an
   10    additional approximately $800 for the Latitude canola?
   11    A.   That is correct.
   12    Q.   Does it cost more to grow Latitude?
   13    A.   Yes, it does.
   14    Q.   And approximately how much more does it cost?
   15    A.   If you look at the price of canola grain today, I think
   16    it would be around $350 a metric ton of canola grain.          When
   17    we talk to our farmers in Montana, they're talking about
   18    asking for 500.     So we're talking about $150 a metric ton,
   19    premium, to regular canola, generic canola.
   20    Q.   And why do you have to pay the farmers in Montana $150
   21    more?
   22    A.   That's what they're asking for.
   23    Q.   Beyond the cost of growing the grain, are there any
   24    additional costs associated with making Latitude oil?
   25    A.   Yes.   Once you've grown the grain and you purchase it




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                                    Gromov, D. - Direct

     1   from the farmer, now it's yours.        You have to figure out what
     2   to do with it.     So you have to store it, you have to move it,
     3   and you have to do it in a closed-loop supply chain setting.
     4   So you incur costs in trucking, in storing the grain in
     5   Montana, and so those will be the costs that go on top of
     6   what you pay to the farmer.
     7   Q.   Earlier you mentioned crushing or crush plant.         Could you
     8   describe what a crush plant is and how it's used to make
     9   Latitude?
   10    A.   Yes.    A crush plant is a term that we use in Cargill and
   11    in the industry for the plants that turn oilseeds into oil
   12    and meal.    Essentially, they squeeze the oilseeds and get the
   13    meal and the oil out of them.       So that's the crush plant.
   14                The extra cost in the Latitude case is our crush
   15    plant is in the State of North Dakota, so what we have to do,
   16    after we purchase the grain from the farmer and move it and
   17    store it in a central location in Montana, we have to pay the
   18    rail company to get it to North Dakota, and then we have to
   19    pay the crush plant to crush it for us.
   20    Q.   If you could, turn in your binder to what has been marked
   21    as PX-545.    And I think it's going to be easier to look at
   22    this on the screen when we get there just because it's so
   23    small, but do you recognize this document?
   24    A.   Yes, I do.
   25    Q.   What is it?




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                                       Gromov, D. - Direct

     1   A.     It's a spreadsheet I created that models out the
     2   production costs for Latitude.
     3   Q.     Is this a document that Cargill created and maintains in
     4   the ordinary course of business?
     5   A.     Yes.
     6                  MR. DILLON:   Move to admit PX-545 into evidence.
     7                  MR. SUNG:    No objection.
     8                  THE COURT:    PX-545 will be admitted.
     9                  (Exhibit PX-545 received in evidence.)
   10    BY MR. DILLON:
   11    Q.     Dr. Gromov, when did you create this document?
   12    A.     This document was created earlier this year.
   13    Q.     Okay.    When did you first create this type of analysis?
   14                   (There was a pause in the proceedings.)
   15                   THE COURT:    Okay.
   16    BY MR. DILLON:
   17    Q.     Dr. Gromov, I think you indicated this document you
   18    created earlier this year.           When did you first create this
   19    type of analysis?
   20    A.     Probably about two years ago I started looking at the
   21    various breakdowns and line items of the production costs.
   22    Q.     All right.    And which is the most accurate version of
   23    this analysis?
   24    A.     You should always use the latest version available to
   25    you.




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                                                                            2402


                                    Gromov, D. - Direct

     1   Q.   And why did your more recent versions get more accurate?
     2   A.   As we learn about the business, as we talk to more
     3   farmers, as we talk to storage companies in Montana, as we
     4   talk to railroad companies and the crush plants, our cost
     5   estimates become more accurate and realistic; hence, you
     6   should always use the most latest version of cost estimation
     7   spreadsheet.
     8   Q.   What was the purpose of creating this document?
     9   A.   As a business person, I absolutely have to understand the
   10    cost structure of my product before I go and start thinking
   11    about offering it.     It also is used as an input into the more
   12    general financial model, and it is also a very good tool to
   13    manage your cost of production.        It shows you clearly where
   14    you should focus your attention if you want to decrease the
   15    cost of production going forward.
   16               MR. DILLON:    All right.    Mr. Sparks, if we could
   17    blow up the first column maybe out through the year 2020, if
   18    that's possible.
   19    BY MR. DILLON:
   20    Q.   Dr. Gromov, in the left-hand column I'm going to walk
   21    down and just ask you to explain to the Court what these
   22    various categories reflect.
   23               The first one is "Grain Farm Gate Dollars Per Metric
   24    Ton."   What does that represent?
   25    A.   This is the price in dollars per metric ton that we would




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                                                                            2403


                                    Gromov, D. - Direct

     1   pay to the farmer at his farm.
     2   Q.   All right.    The next three rows involve handling freight
     3   and storage.    What do these represent?
     4   A.   These three lines represent expenses associated with
     5   moving and storing the grain in the State of Montana.
     6   Q.   The next row is "Grain Freight to Crush."        What is that?
     7   A.   That would be the payment to the railroad company.
     8   Q.   What are "Grain Crush Costs Capital Recovery" and "Grain
     9   Meal Credit"?
   10    A.   These are the expenses and credits that are associated
   11    with converting canola grain to canola oil at the crush
   12    plant.
   13    Q.   Why do you get a credit at the crush plant?
   14    A.   As you process canola grain into oil and meal, canola
   15    meal has value, and, as such, it reduces your overall
   16    production cost because you get paid for that.         It has value.
   17    Q.   The next row is, "Total Cost Dollars Per Metric Ton of
   18    Grain."    What does that represent?
   19    A.   It would be the sum of the previously discussed buckets,
   20    just a calculation.
   21    Q.   All right.    And then right below that is, "Oil Plant Gate
   22    Dollars Per Metric Ton."      What does that represent?
   23    A.   They would be the production costs of Latitude at the
   24    plant gate.
   25    Q.   And why is there a difference in cost for a metric ton of




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                                                                             2404


                                    Gromov, D. - Direct

     1   oil versus a metric ton of grain?
     2   A.   Only portion of the grain is oil.           In canola case, the --
     3   you can expect to get about 41.5 percent of oil from the
     4   grain by weight.     What it means is that to get a metric ton
     5   of oil, you need to start with almost 2.5 metric tons of
     6   grain, and that's why the oil cost is higher in metric ton
     7   than your grain cost.
     8   Q.   All right.    And under the year 2020 we see the dollar
     9   figure $1,558.40.     What does that represent?
   10    A.   That would be our estimation for year 2020, our
   11    production cost for Latitude oil in dollars per metric ton at
   12    the crush plant gate.
   13    Q.   So that's before it is shipped to the customer?
   14    A.   That's correct.
   15                 MR. DILLON:   Mr. Sparks, if we could just back out.
   16    BY MR. DILLON:
   17    Q.   Dr. Gromov, have you calculated a similar amount of the
   18    cost to produce Latitude oil for the years 2020 through 2025?
   19    A.   Yes.    We made some assumptions and did that.
   20    Q.   Okay.    Can you compare the cost of the Latitude oil,
   21    which I believe you said has 12 percent omega-3 content, to
   22    the current price for 12 percent fish oil?
   23    A.   12 percent fish oil today would be priced at about $1,350
   24    a metric ton.     With Latitude costs at plant gate of $1,558 a
   25    metric ton, what it means is that if we sell at the same




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                                                                             2405


                                    Gromov, D. - Direct

     1   price as fish oil, we actually will be losing money.
     2   Q.   So if your costs to manufacture the Latitude oil in 2020
     3   are more than $200 at the plant, then the price that you
     4   could expect to get for equivalent fish oil -- how do you
     5   expect to make money?
     6   A.   The only way to make money is to sell the product at a
     7   premium to fish oil, and this is where the value propositions
     8   I referred to earlier, like predictable pricing, predictable
     9   supply, sustainability arguments come into play.          This is
   10    where we need to persuade the customers to buy at a premium.
   11    Q.   Will this change in the future?
   12    A.   We hope it will.     We do believe that today's fish oil
   13    price is on the low end of the range, so we may get some
   14    improvement there.      As you see, we do project some level of
   15    improvement in our cost position.
   16               But the biggest hope, the biggest driver of our
   17    expectations, is Project Boost, because we expect that by
   18    2023 we are going to have Latitude oil with much more omega-3
   19    in it while having the same cost of production.
   20               THE COURT:    Is that what accounts for most of the
   21    reduction shown on the chart from 1558.4 to 1401.2?
   22               THE WITNESS:    Actually, Your Honor, these are
   23    production costs.     They do not depend on generational --
   24               THE COURT:    Well, I meant --
   25               THE WITNESS:    So the answer is, "No," Your Honor.




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                                                                            2406


                                    Gromov, D. - Direct

     1   These operational improvements, over time we expect to get
     2   better in moving the grain, storing the grain, maybe paying
     3   the farmer a little less, maybe paying the crush plant a
     4   little less.
     5               THE COURT:   So the increased oil per metric ton
     6   doesn't account for that difference?
     7               THE WITNESS:    Yeah.   This chart, Your Honor, is just
     8   the cost of production.      The value of the oil would be in a
     9   different spreadsheet, Your Honor.        So the Boost effect would
   10    be shown in a different spreadsheet, where we talk about the
   11    pricing of fish oil.       This is just the numbers for cost of
   12    production.    They're largely -- they're independent of
   13    omega-3 content.
   14    BY MR. DILLON:
   15    Q.   Why don't we turn to PX-546.       I think that will help to
   16    show this difference.
   17                Do you recognize this document?
   18    A.   Yes.
   19    Q.   And what is it?
   20    A.   It's an Excel spreadsheet that has a financial model for
   21    Program Latitude.
   22    Q.   Did you create this document?
   23    A.   Yes, I did.
   24    Q.   And is this a document that's maintained in the ordinary
   25    course of business?




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                                                                            2407


                                     Gromov, D. - Direct

     1   A.   Yes.
     2                MR. DILLON:    Your Honor, I move to admit PX-546 into
     3   evidence.
     4                MR. SUNG:    No objection.
     5                THE COURT:    PX-546 will be admitted.
     6                (Exhibit PX-546 received in evidence.)
     7   BY MR. DILLON:
     8   Q.   Dr. Gromov, when did you first create this financial
     9   model?
   10    A.   I started creating versions of this model probably four
   11    or five years ago.
   12    Q.   All right.    And the version we're seeing here, when was
   13    this created?
   14    A.   This particular version is from earlier this year.
   15    Q.   And how would you compare the accuracy of this version to
   16    versions that you had previously created?
   17    A.   You should use -- you should be using this version over
   18    anything else that was created previously, because the
   19    assumptions change, sometimes drastically.
   20    Q.   Okay.    This was produced earlier this year.      Have there
   21    been any changes in 2019 to the analysis here that we see in
   22    PX-546?
   23    A.   There was one change.      If you look at the column for
   24    CY-2020, the acres harvested number was taken down.
   25                 THE WITNESS:   Which is the third line from the top,




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                                    Gromov, D. - Direct

     1   Your Honor.
     2              THE COURT:   Yeah.
     3              THE WITNESS:    That number now stands at 5,000 acres,
     4   not 10.    That's the only difference.
     5   BY MR. DILLON:
     6   Q.   Why was that adjustment made?
     7   A.   It was made out of the -- our production team, given what
     8   they had to work with, didn't feel they could get out of the
     9   gate with 10,000 metric tons, so they said the best they
   10    could do is 5.
   11    Q.   How is the information used in the financial model,
   12    PX-546, used at Cargill?
   13    A.   It is used to update senior management on project
   14    perspectives.    It is used to argue for the resources that the
   15    project needs.
   16    Q.   On this document is there a line that shows the profit
   17    that you expect to earn from the sale of Latitude oil?
   18    A.   Yes, there are several.      If you look in the middle of the
   19    sheet, there is a line named "EBIT."        It's in bold.    That
   20    would be a measure of profitability we discussed before,
   21    earnings before interest and tax.
   22    Q.   And what is the projected EBIT for 2020?
   23    A.   If you're looking at crop year 2020, it shows a negative
   24    $9.1 million.
   25    Q.   When do you project that Cargill will start making money




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                                    Gromov, D. - Direct

     1   on Latitude?
     2   A.   We project that it's going to happen in 2023.
     3   Q.   Through calendar year -- let me back up.
     4              Earlier we were talking about the profit share
     5   payments to BASF.     Do you recall that?
     6   A.   Yes, I do.
     7   Q.   Are those reflected here on PX-546?
     8   A.   Yes, they are.    They're towards the end, towards the
     9   bottom of the sheet, and the line item was called "Payment to
   10    BASF, 40 percent EBIT."
   11    Q.   And what does that show for the next five years?
   12    A.   What it shows is that because Cargill does not expect to
   13    turn profit for the first several years, there are no
   14    payments to BASF, and the first payment is scheduled to
   15    happen in 2023 in the amount of $0.5 million.
   16    Q.   And if you add up the payments that Cargill expects to
   17    make to BASF for the profit share of Latitude through crop
   18    year 2024, how much is that?
   19    A.   I'm doing quick math here.      I'm coming up with $3.3
   20    million.
   21    Q.   And in the year following in crop year 2025, how much
   22    additional is added?
   23    A.   It would be an additional $5 million.
   24    Q.   Were you here yesterday in court when Mr. Jarosz was
   25    testifying?




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                                    Gromov, D. - Direct

     1   A.     Yes, I was.
     2   Q.     And do you recall that he had a range of royalties that
     3   would be put onto the Latitude product?
     4   A.     I remember that.
     5   Q.     I just want to talk about the low end of that range.
     6               What would be the impact to Project Latitude if it
     7   had to pay a 12.4 percent royalty on net sales of Latitude
     8   oil?
     9   A.     Well, what it would do, it would, in fact, increase my
   10    production costs by that amount, which I'm figuring is close
   11    to $200 a metric ton, which would make my job a lot harder.
   12    Now I have to overcome not only $200 but an additional $200
   13    when I try to sell the product, and I'm afraid that in that
   14    scenario, we may have to wait for a better fish oil pricing
   15    before we launch.
   16    Q.     Dr. Gromov, to date how much has Cargill invested in the
   17    launch of the Latitude program?
   18    A.     My best estimate is Cargill has invested about $65
   19    million.
   20    Q.     And if Cargill were enjoined from selling Latitude
   21    through the expiration of the Group A patents in 2025, what
   22    would be the impact on the Latitude program and Cargill?
   23    A.     Before I answer, let me make a comment.
   24                I think for most people when they think about
   25    Cargill, they think about this giant company that,




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                                    Gromov, D. - Direct

     1   essentially, is just huge.      The reality is that it's a
     2   collection of businesses, and those are smaller businesses.
     3   And the business I work for, the fats and oils business, also
     4   known as GEOS, hosts Project Latitude.
     5              In that business, Project Latitude is the largest
     6   project that they've been engaging in for many, many years.
     7   So the loss of this project would deprive the business of
     8   future profits, strategic profits into the future, as well as
     9   it will be a hit to P&L.
   10               $65 million is a really substantial amount, relative
   11    to the size of business I work for.        So that's the first
   12    thing I would like to say.
   13               In the course of running the project or the program
   14    Latitude, we've made investments.        We've created a station in
   15    Montana.    We built a building there.      We hired people who are
   16    dedicated to this effort.      Those people agreed to move their
   17    families to the State of Montana.        If we have to stop, we
   18    would have to really work hard on offering some sort of
   19    alternative positions for those people, but there's no
   20    guarantee.
   21               The other thing that would happen is that the amount
   22    of our R&D work in our Colorado facility would be drastically
   23    reduced, with similar types of consequences for people, and
   24    obviously myself here would be affected.
   25    Q.   Why does the omega-3 market need another alternative




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                                    Gromov, D. - Direct

     1   source like Latitude?
     2   A.   We're short.    Frankly, we're short omega-3.      As people,
     3   we don't eat enough omega-3.       We should be eating more,
     4   especially in the United States.        As animals, as fish, we do
     5   not feed them enough omega-3 for them to perform at their
     6   best.
     7              So you have to have an additional source of omega-3;
     8   otherwise, it's going to be very difficult situation if you
     9   want to grow the aquaculture industry and if you want to keep
   10    everybody healthy.
   11    Q.   Why is Cargill specifically needed in order to solve the
   12    deficit in omega-3 oil?
   13    A.   Well, I hope -- I tried to show what's involved in
   14    actually making something like that commercial and selling
   15    it, because there's a lot of activities that you have to do,
   16    starting from science, which BASF takes care of, and then you
   17    start doing your closed-loop production system, from planting
   18    seed to marketing the oil.      Cargill does all of that.
   19               There are companies who are very good at processing
   20    oil seeds into oil.     There are companies that are very good
   21    at making planting seeds and selling planting seeds.          I don't
   22    know if they're going to be able to do that, I doubt.          Maybe,
   23    they will be.    But I know that Cargill will be able to
   24    execute on that, because we've been doing that for over 20
   25    years without specialty canola products.




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                                    Gromov, D. - Direct

     1   Q.   Are there unique health benefits to Cargill's Latitude
     2   that are not found in other plant-based omega-3 sources?
     3   A.   Yes.    Project -- sorry, Latitude oil is largely an EPA
     4   oil rather than a DHA oil.      Fish oil has both.     Alternative
     5   sources like alga oils would have largely DHA, and DHA is
     6   valued mostly in infants.      It helps develop their cognitive
     7   abilities and vision.      EPA oil has a lot of heart health
     8   benefits, so it's relevant for the majority of us here.
     9               THE COURT:   It's what?
   10                THE WITNESS:   Heart health benefits, Your Honor.       It
   11    makes your heart healthier.       It's a well-known fact in the
   12    medical community, and I'm not aware of any other source of
   13    EPA oil other than fish oil and Latitude.
   14    BY MR. DILLON:
   15    Q.   What would be the impact to consumers of stopping
   16    Latitude from coming to the market?
   17                MR. SUNG:    Objection, Your Honor.    It's really
   18    calling for expert testimony on this.
   19                THE COURT:   I don't think it calls for expert
   20    testimony.    The answer to that question is pretty obvious to
   21    me, and I'm not an expert.
   22    BY MR. DILLON:
   23    Q.   You can answer it, Dr. Gromov.
   24    A.   Thank you.    I believe that if there's no alternative
   25    source of EPA, there will continue to be a deficit of this




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                                    Gromov, D. - Cross

     1   very important fatty acid in the marketplace, and we, as a
     2   people, will be worse off.
     3   Q.   Other than fish oil, are you aware of any other
     4   alternative source for EPA?
     5   A.   No, I'm not.    There are plenty of DHA sources, but I'm
     6   not aware of any EPA oil that would be available.
     7              MR. DILLON:    Your Honor, unless you have any further
     8   questions for Dr. Gromov, I would pass the witness.
     9              THE COURT:    All right.   I think we ought to go ahead
   10    and take a recess.
   11               (Recess from 11:55 a.m. 12:18 p.m.)
   12                             CROSS-EXAMINATION
   13    BY MR. SUNG:
   14    Q.   Let me ask you a couple questions before we get started
   15    on some of the aspects you tied in during your direct
   16    testimony.
   17               You're the program manager for Latitude, correct?
   18    A.   That's correct.
   19    Q.   Would it be fair to say that you are familiar, since
   20    being involved with that project, on every aspect of the
   21    project?
   22    A.   Since about 2013, yes.
   23    Q.   And in that capacity, you're responsible for receiving
   24    information from your direct and indirect reports about the
   25    project?




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                                      Gromov, D. - Cross

     1   A.     I wouldn't say every piece of information goes through
     2   me, but yes.    In general, yes.
     3   Q.     And you have responsibility for distributing information
     4   within Cargill about the project?
     5   A.     Not solely, but I've done that.
     6   Q.     But you'd be familiar with information that was being
     7   discussed within Cargill about Project Latitude?
     8   A.     I would expect to be familiar with that, yes.
     9   Q.     And just to be clear, Project Latitude was formerly known
   10    as Project Dolphin; is that correct?
   11    A.     That is correct.
   12    Q.     If we can have you turn in your binder to a tab CX-0578.
   13                Are you there, Dr. Gromov?
   14    A.     I'm there.
   15    Q.     Do you recognize this document?
   16    A.     This is an e-mail I sent to Mark Christiansen and Willie
   17    Loh.
   18                MR. SUNG:     Your Honor, we'd like to move into
   19    evidence CX-0578.
   20                MR. DILLON:    No objection.
   21                THE COURT:    CX-0578 will be admitted.
   22                (Exhibit CX-0578 received in evidence.)
   23                MR. SUNG:     Thank you, Your Honor.
   24    BY MR. SUNG:
   25    Q.     Who are Mark Christiansen and Willie Loh?




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                                    Gromov, D. - Cross

     1   A.   Mark Christian is the managing director of specialty
     2   oils, and Willie Loh is my boss.
     3   Q.   And do you recall what this e-mail was regarding?
     4   A.   Yes.
     5   Q.   And what was that?
     6   A.   It was a summary of my conversation with somebody from
     7   Salmofood.
     8   Q.   And is Salmofood a company?
     9   A.   Salmofood is a feed -- fish feed manufacturing company in
   10    Chile.
   11    Q.   And if you read the end of that first paragraph, there's
   12    a reference to CQN.     Is that Cargill Aqua Nutrition?
   13    A.   Yes.
   14    Q.   And so there appears to be a comparison between the two;
   15    one being a plant from Salmofood and one being the CQN plant.
   16    Are they roughly the same size?
   17    A.   No.
   18    Q.   You'd say they're a bit smaller than CQN?
   19    A.   Yes.
   20    Q.   And has Cargill done business before with Salmofood?
   21    A.   I'm not aware of any.
   22    Q.   Do you consider Salmofood to be a potential Cargill
   23    customer of Latitude?
   24    A.   Yes.
   25    Q.   If you go further down where it begins, "Nuseed works




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                                    Gromov, D. - Cross

     1   with them," do you have a recollection why you stated that in
     2   this e-mail?
     3   A.   Yeah, I see that.     Yes, because at the time I was talking
     4   to Salmofood about trialing Latitude, in one way or the
     5   other, and they mentioned that they work with Nuseed.
     6   Q.   And particularly about Nuseed's Aquaterra product; is
     7   that correct?
     8   A.   That's what they volunteered, yes.
     9   Q.   And do you see further where it mentions that there will
   10    be about 100 metric tons of Aquaterra oil used over the 15-
   11    to 18-month period?     Do you see that?
   12    A.   Yes.
   13    Q.   And you also state in this e-mail that Aquaterra oil was
   14    given away for free.
   15    A.   Yes.
   16    Q.   And your message further to Messrs. Christiansen and Loh
   17    was that, "Salmofood is willing to explore similar
   18    arrangement with us."
   19                What did you mean by that?
   20    A.   What I meant by that is Salmofood was, in principle, open
   21    to trial Latitude oil.
   22    Q.   So was it your understanding that Salmofood was a
   23    potential customer in both Nuseed, as well as Cargill?
   24    A.   Yes.
   25    Q.   I'd refer you in your binder to CX-0164.




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                                     Gromov, D. - Cross

     1               THE COURT:   What was that number?
     2               MR. SUNG:    CX-0164.
     3               THE WITNESS:   I'm there.
     4   BY MR. SUNG:
     5   Q.   And, Dr. Gromov, do you recognize this document?
     6               THE COURT:   Wait a minute.     Let me find it.   0164?
     7               MR. SUNG:    Yes, Your Honor.
     8               THE COURT:   Okay.   I've got it.
     9               MR. SUNG:    Thank you, Your Honor.
   10    BY MR. SUNG:
   11    Q.   And if I can refer you specifically within this document
   12    to the page that is marked as Bates number 453.         Those are
   13    the last three digits down there at the bottom.
   14    A.   I'm there.
   15    Q.   And down at the very bottom, that bridges over to the
   16    next page, do you recognize that as an e-mail that you had
   17    sent?
   18    A.   Yes.
   19    Q.   And who is Brad Rude?
   20    A.   At the time Brad Rude was working in what is known as the
   21    Risk Management Services Group for CQN.
   22    Q.   And you stated in that e-mail, the second bullet point
   23    there, "Our oil production volume projections currently stand
   24    for 2020 at 3500 metric tons"?
   25    A.   Yes.




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                                                                            2419


                                     Gromov, D. - Cross

     1   Q.   "For 2021, 10,500 metric tons"?
     2   A.   Yes.
     3               THE COURT:    Is this going over to the next page?
     4               MR. SUNG:    Yes, Your Honor, it is, so it would be
     5   the very top of the next page.
     6               THE COURT:    Okay.
     7   BY MR. SUNG:
     8   Q.   And then for 2022, 17,000 metric tons; is that correct?
     9   A.   That's correct.
   10    Q.   And was that your understanding at that time you wrote
   11    the e-mail?
   12    A.   That was my best guess at the time.
   13                MR. SUNG:    I'm sorry, Your Honor.    I don't know if
   14    we got it on the record.         This exhibit has been admitted; is
   15    that correct?
   16                THE CLERK:    No.
   17                MR. SUNG:    Okay.    Sorry.   We'd like to move the
   18    admission of CX-0164.      Thank you.
   19                MR. DILLON:   No objection.
   20                THE COURT:    That will be admitted.
   21                (Exhibit CX-0164 received in evidence.)
   22    BY MR. SUNG:
   23    Q.   And you see further down there's a -- in the next bullet
   24    point, the top bullet point, on the last page there, "As a
   25    mechanism to ensure that the contracted price level reflects




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                                                                            2420


                                    Gromov, D. - Cross

     1   the market, we envision CQN taking two-thirds of the annual
     2   production."
     3              What does that mean?
     4   A.   What I meant by that is it will not be an exclusive offer
     5   to CQN; it would be selling to somebody else, as well.
     6   Q.   And is the two-thirds of that earmarked amount from that
     7   production -- is that an accurate reflection?
     8   A.   That's what I put in the e-mail.       It's really a
     9   placeholder.
   10    Q.   But that's based on the best information you were
   11    projecting at that time, correct?
   12    A.   That was what I envisioned; that's correct.
   13    Q.   And you follow on by saying, "We need to secure volume
   14    commitments 18 months prior to delivery."
   15               Why is that?
   16    A.   Because it takes us a long time to manufacture the oil.
   17    One way of doing the business is to book your oil sales
   18    before you book your acres with the farmers.         So if you want
   19    to be able to do that, that's about the lag time that you
   20    need.   You may compress it to maybe 12 months, but no shorter
   21    than that.
   22    Q.   So when you say that, "Cargill will not be selling
   23    Latitude until 2021," does that mean that you won't book
   24    these advance contracts at that time, or will it mean that
   25    you won't be delivering commercial product?




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                                    Gromov, D. - Cross

     1   A.   It means that we will not be delivering the oil.
     2   Q.   So you would be engaging in advanced sales at this
     3   18-month time frame; is that correct?
     4   A.   It's quite possible.
     5   Q.   And so, as is indicated there, had it been a 2020
     6   delivery, you'd need that commitment by July of this past
     7   year.   Is that fair?
     8   A.   That was the best case scenario.       Like I said, you can
     9   compress the timeline.
   10    Q.   And if we go to the next bullet point, you indicate
   11    there, "Pricing will be done on a formulaic approach using a
   12    benchmark fish oil price."
   13               Is that your understanding about how you do your
   14    pricing or how you've projected to do your pricing?
   15    A.   Yes, sir.
   16    Q.   And it follows that, "Since fish oil trends higher, we
   17    would be looking at a 10 percent premium over benchmark for
   18    the delivery 18 months out."
   19               Is that what you were describing earlier when you
   20    mentioned that you lock in the contracts for the sale in
   21    future months, that you testified earlier on direct?
   22    A.   Yeah, that's what I envisioned; that is, we ran the price
   23    today and delivery is going to be later in the future.          But
   24    price is set today.
   25    Q.   And does that reflect why you're saying a little bit




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                                    Gromov, D. - Cross

     1   farther down, "The difference between contracted and realized
     2   fish oil price at delivery is a risk"?
     3   A.   Yes.
     4   Q.   And so is it a risk because it's unpredictable about any
     5   difference that might occur between the time you contract and
     6   the time you actually deliver?
     7   A.   Yes, because the fish oil price is unpredictable, and
     8   whatever the point in time -- whatever the price happens to
     9   be at delivery, one party is going to be unhappy.
   10    Q.   Can I turn you in your binder to tab CX-0548.
   11    A.   I'm there.
   12    Q.   And, Dr. Gromov, do you recognize this document?
   13    A.   Just to make sure, 0548?
   14    Q.   Correct.
   15    A.   Yes, I do.
   16    Q.   And can you tell us what this document is?
   17    A.   These are the updates that we used to issue about state
   18    of the project and state of the industry, and these updates
   19    would go to internal Cargill people four times a year.
   20    Q.   And it looks like it's dated December 2018.        Is that --
   21    do you have any reason to dispute that date?
   22    A.   No, but I cannot see the date in my copy.
   23    Q.   Okay.    You might be able to see it on the screen.       It's
   24    blown up.
   25    A.   I cannot see the date for that.




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                                     Gromov, D. - Cross

     1               I'm sorry, December '18.     I was looking -- I
     2   apologize.
     3   Q.   No worries.
     4               MR. SUNG:    Your Honor, we'd like to move the
     5   admission of CX-0548, please.
     6               MR. DILLON:   No objection.
     7               THE COURT:    That will be admitted.
     8               (Exhibit CX-0548 received in evidence.)
     9   BY MR. SUNG:
   10    Q.   And if I can refer you specifically to the page within
   11    this exhibit, Bates number ending in 450.
   12    A.   I'm there.
   13    Q.   And if you look at the middle section of that page, it
   14    appears to state, "Human direct market activities."
   15    A.   Yes.
   16    Q.   You testified earlier on direct that Cargill was not
   17    interested in the human nutrition market.         Is that correct?
   18    A.   Yes.
   19    Q.   And so as of December 2018, your internal bulletins were
   20    still publicizing that you were pursuing human direct market
   21    activities.
   22    A.   These were unsolicited offers.        We did not seek them out;
   23    they came to us.
   24    Q.   So under the section labeled "Human Direct Market
   25    Activities," it refers to Amarin as a U.S. pharmaceutical




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                                    Gromov, D. - Cross

     1   company.    Do you see that?
     2   A.   Yes.
     3   Q.   And a little bit father down, on the third bullet point
     4   in that section, it refers to a company called Pronova, and
     5   it appears to say, "Pronova has signed a material testing
     6   agreement and has received oil for testing."
     7   A.   That's correct.    That's the oil I mentioned in the direct
     8   that was sent to Norway.
     9   Q.   So you said that it was sent to BASF-Norway.
   10    A.   Correct.
   11    Q.   It continues, "KD Pharma's MTA is in preparation.         The
   12    MTA includes wording that preserves Cargill's right to sell
   13    broadly into this industry."
   14                By referring to "this industry" within this
   15    newsletter, do you take that to be your understanding that
   16    "this industry" is the human direct market activity industry?
   17    A.   Yes.
   18    Q.   If we can go further down on that same page to the next
   19    section that is entitled "Competitive Developments."
   20    A.   I can see that.
   21    Q.   And that first section labeled "CSIRO/Nuseed," do you see
   22    that?
   23    A.   Yes.
   24    Q.   The first bullet point appears to talk about testing by
   25    two of the fish farmers that you had identified earlier on




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                                     Gromov, D. - Cross

     1   direct.     Is that accurate?
     2   A.   Yes, Cermaq and Los Fiordes are the farmers.
     3   Q.   And it reports of Nuseed's activity, again mentioning
     4   that the oil which -- do you understand that to be Aquaterra?
     5   A.   Yes.
     6   Q.   That Aquaterra was provided to fish farmers without
     7   charge.     Do you see that, as well?
     8   A.   Yes.
     9   Q.   And if you skip a line, it says, "Chilean fish farmers
   10    and feed manufacturers indicated there was no need to test
   11    Latitude oil unless the Aquaterra oil caused a problem."
   12                Do you have an understanding what that refers to?
   13    A.   I think I do.
   14    Q.   And what is that?
   15    A.   We've been told by said parties that if the tests show
   16    that Aquaterra performs well, this would infer that all of
   17    the plant-based oils will perform well.
   18    Q.   And by that, was it your understanding that the same
   19    customers wouldn't put Latitude to that same test as a
   20    result?
   21    A.   That's what I understood.
   22    Q.   So Cargill would not have to create or pay for such
   23    testing.    Is that fair?
   24    A.   If there's no test, there's no payment, yes.
   25    Q.   It continues on to say that, "Nuseed representatives have




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                                    Gromov, D. - Cross

     1   indicated that their 2019 Montana production target is 15,000
     2   acres."    It also goes on to say, "Key production contract
     3   terms include free planting seed and flat-priced grain at
     4   harvest."
     5               You mentioned earlier during your direct that
     6   Cargill is planting Latitude-producing crops in Montana; is
     7   that right?
     8   A.   As research acres, yes.
     9   Q.   And, similarly, your understanding is that Nuseed is
   10    planting omega-3 canola-producing -- or canola-oil-producing
   11    crops in Montana, correct?
   12    A.   That's my understanding.
   13    Q.   And would it be your understanding that having those two
   14    additional plantings, where they are looking for growers to
   15    plant those crops, that essentially they're competing for
   16    grower contracts in Montana?
   17    A.   I wouldn't put it this way.
   18    Q.   How would you put it?
   19    A.   Anybody who wants to work with a farmer in Montana has to
   20    compete with wheat and barley.       That's the majority of what
   21    people grow.    You have to persuade them to grow your stuff
   22    over wheat and barley.
   23    Q.   And you were mentioning that the growers in Montana are
   24    seeking to charge a premium for growing Latitude-producing
   25    crops, as well.     Are they?




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                                    Gromov, D. - Cross

     1   A.   Yes.
     2   Q.   Now, further down on this particular page you'll see
     3   another section, "Other Omega-3 Suppliers."         Do you see that?
     4   A.   Yes.
     5   Q.   And that first line refers to what appears to be a
     6   company named Veramaris.      Are you familiar with that company?
     7   A.   Yes, I am.
     8   Q.   And can you tell us what your understanding is of that
     9   company?
   10    A.   Veramaris is a joint venture between a Dutch company
   11    called DSM and a German company called Evonik.         The sole
   12    purpose of this joint venture is to produce alga oil for
   13    aquafeed.
   14    Q.   And so if you look at that next page, where it talks
   15    about Peruvian aqua grade fish oil values, right before that,
   16    it says, "break even," and it refers to $3,000 to $4,000 per
   17    metric ton range.
   18                Is it your understanding that that's referring to
   19    Veramaris' break-even price?
   20    A.   The way -- no.    That's the calculation.      Our best guess
   21    is that they're offer price brought back to the level of
   22    omega-3 level of a Peruvian fish oil would put that parity
   23    value of fish oil at 3- to 4,000 metric ton range, which is,
   24    incidentally, double of what it was at the time.
   25    Q.   Double of what the fish oil was?




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                                     Gromov, D. - Cross

     1   A.   Fish oil was at the time, yes.
     2   Q.   Okay.    And so, therefore, I think you continue saying
     3   that, "Given the current levels of around $1,900 per metric
     4   ton, these premiums are such that incorporation will be
     5   limited to niche applications."
     6                What does that mean?
     7   A.   That means that you cannot expect to sell a lot of
     8   product at that price into the industry.         You can always find
     9   a customer or two, but you will never make the volume.          That
   10    was the intent of the statement.
   11    Q.   And so an algal producer of fish oil alternatives, like
   12    Veramaris, would be limited to niche applications.          Is that
   13    fair?
   14    A.   In this price scenario, it is my belief, yes.
   15    Q.   If I can turn you in your binder to CX-1279.
   16    A.   I'm there.
   17                 MR. SUNG:   Your Honor, do you have that tab?
   18    BY MR. SUNG:
   19    Q.   And if I can refer you within that exhibit to Bates
   20    number ending in 427 -- actually, let me start -- do you
   21    recognize this document?
   22    A.   Yes.
   23    Q.   And the date September 27, 2017, does that comport with
   24    your recognition?
   25    A.   It looks right to me.




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                                     Gromov, D. - Cross

     1               MR. SUNG:    I'd like to move the admission of
     2   CX-1279, Your Honor.
     3               THE COURT:   The whole thing?
     4               MR. SUNG:    Yes.   Yes, sir.
     5               THE COURT:   It's a multipage document.      Do you want
     6   the whole thing in?
     7               MR. SUNG:    There will be a number of pages that we
     8   go through.    If it becomes too unwieldy, Your Honor, we'll
     9   endeavor to excerpt, as well.
   10                THE COURT:   All right.    Exhibit CX-1279 is admitted.
   11                (Exhibit CX-1279 received in evidence.)
   12                MR. SUNG:    Thank you, Your Honor.
   13    BY MR. SUNG:
   14    Q.     If I could refer you to the page ending in Bates number
   15    427.
   16    A.     I'm there.
   17    Q.     Can you describe for us what is on this slide?
   18    A.     This is a much earlier version of the financial model we
   19    looked at in the direct.
   20    Q.     And the financial model for what, in particular?
   21    A.     Financial model for Program Latitude.
   22    Q.     The Generation I product within that series; is that
   23    correct?
   24    A.     I cannot tell what generation is properly incorporated in
   25    this.




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                                    Gromov, D. - Cross

     1   Q.   Okay.    If you look at your screen, there's some
     2   highlighting there.     Would that refresh your recollection?
     3   A.   Yes, yes.
     4   Q.   And by the Generation I product, again, we're talking
     5   about what you would go to market with in 2021?
     6   A.   That is correct.
     7   Q.   And so when you talk about "major value driver
     8   assumptions," what does that mean?
     9   A.   Those are the assumptions that are largely responsible
   10    for the value in the financial model.           So if you change
   11    those, you change the outcome.
   12    Q.   So do you do these types of projections on a periodic
   13    basis for these products?
   14    A.   Not in this form, no.
   15    Q.   Understood.    And so let's take a look at the first
   16    assumption, omega-3 expression level at 12 percent.          Is that
   17    an assumption that has borne out, to date?
   18    A.   I believe so.
   19    Q.   And the next line, 500,000 commercial acres.         Is that an
   20    assumption that has been borne out, to date?
   21    A.   I don't think so.
   22    Q.   And so does this tie in with your testimony on direct
   23    that that has been significantly reduced in terms of your
   24    projection?
   25    A.   I would have to look at the most current model.         I think




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                                    Gromov, D. - Cross

     1   it's just shy of 500,000 metric tons in the outer years, in
     2   the year 2029, 2030.
     3   Q.   Did I hear you correctly earlier testify that rather than
     4   500,000 commercial acres, you were looking at something more
     5   like 150,000 commercial acres?
     6   A.   By 2025, yes.
     7   Q.   And when it -- two bullet points down, when it talks
     8   about a "feed margin - base loads the business," what does
     9   that refer to?
   10    A.   Back in the day, it referred to sales into aquafeed
   11    business and assumed margin for those sales.
   12    Q.   "Margin" being profit?
   13    A.   Yes.
   14    Q.   And so your forecast at this time, in 2017, was that for
   15    feed it would be $400 per metric ton?
   16    A.   That was my assumption.
   17    Q.   Do you have a rough estimate as to what that translates
   18    to by way of percent of sales?
   19    A.   I would have to run the numbers.       I'm not that quick.
   20    I'm sorry.
   21    Q.   Would it surprise you if it was in the 20 to 25 percent
   22    range?
   23    A.   No.
   24    Q.   Next line, $700 per metric ton for the supplements
   25    margin.     What does that refer to?




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                                    Gromov, D. - Cross

     1   A.   It was an assumption of what we would realize if we were
     2   to sell into supplements, the actual supplements market.
     3   Q.   So that would be human nutritional supplements, correct?
     4   A.   Correct.
     5   Q.   Next line might be a typo, but you can tell us.         What did
     6   you have for the F&B margin -- is that food and beverage?
     7   A.   Yes.
     8   Q.   And what number do you understand that to be referring to
     9   in terms of the dollar amount per metric ton?
   10    A.   Clearly a typo here.     Maybe I meant $2,000.
   11    Q.   So the next line, the overall gross margin, 29 percent?
   12    A.   That would be a calculation of the model.
   13    Q.   Within the same exhibit, if I can refer you to Bates
   14    number -- the page ending in Bates number 430.
   15    A.   I'm there.
   16    Q.   And you'll see up top that first section heading
   17    "Generation II Product."      Is that the Generation II product
   18    based on your Project Boost that you described earlier?
   19    A.   Yes.
   20    Q.   And the bullet point immediately facing that, the first
   21    one, "Every percentage point of omega-3 in the oil is worth
   22    about $50 per metric ton of oil."       Is that $50 per metric ton
   23    more than something that would be a percentage less in terms
   24    of the omega-3?
   25    A.   Yes, that's the -- I was referring to as a range between




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                                      Gromov, D. - Cross

     1   30 and 50 in the direct.
     2   Q.   Okay.    So these are the incremental amounts based on
     3   every additional percentage?
     4   A.   Yes.
     5   Q.   You indicate we have a Boost R&D program that identifies
     6   and patents --
     7                THE COURT:   Well, a lot of this is a
     8   several-year-old projection, counsel.             I mean, is that really
     9   relevant to what we're talking about today?
   10                 MR. SUNG:    Your Honor, we think it is.
   11                 THE COURT:   You have newer figures.
   12                 MR. SUNG:    We do, and we're going to get to the
   13    comparison between the newer figures and the earlier
   14    projections to help highlight the unpredictability of these
   15    projections.
   16                 THE COURT:   You think the unpredictability of which
   17    projections?     The current ones or the old ones?
   18                 MR. SUNG:    Well, I think the witness will be
   19    testifying that, as he'd already said, the ones that are most
   20    recent tend to be the most accurate.
   21                 THE COURT:   Yeah.
   22                 MR. SUNG:    But at the same time, from year to year,
   23    the projections themselves aren't necessarily accurate.            It
   24    would be our position later, Your Honor, that that means,
   25    similarly, that today's projections are similarly




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                                     Gromov, D. - Cross

     1   unpredictable.
     2               THE COURT:    Well, we're spending an awful lot of
     3   time on this.
     4               MR. SUNG:    I'll endeavor to move on.
     5   BY MR. SUNG:
     6   Q.   If I can refer you to Exhibit or tab CX-1878 within your
     7   binder.
     8               THE COURT:    1870?
     9               MR. SUNG:    1878, Your Honor.
   10                THE COURT:    1878.
   11                THE WITNESS:   I'm there.
   12    BY MR. SUNG:
   13    Q.   And do you recognize this document, Dr. Gromov?
   14    A.   Yes.   It's an e-mail chain.
   15                MR. SUNG:    Your Honor, we'd like to move into
   16    evidence Exhibit CX-1878.
   17                MR. DILLON:    No objection, Your Honor.
   18                THE COURT:    It will be admitted.
   19                (Exhibit CX-1878 received in evidence.)
   20    BY MR. SUNG:
   21    Q.   Dr. Gromov, if I can take you to the very bottom e-mail
   22    which appears to be the earliest e-mail within that thread.
   23    Do you see that?
   24    A.   Yes.
   25    Q.   And do you recognize this to be an August 31, 2018 e-mail




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                                     Gromov, D. - Cross

     1   from you to Mr. Christiansen and Mr. Loh?
     2   A.   That's what the send field says, yes.
     3   Q.   And you were, according to this e-mail, sending them
     4   Nuseed's historical financials.        Do you recall why you were
     5   doing that?
     6   A.   I do not.
     7   Q.   Did someone at Cargill request this information from you?
     8   A.   I don't think so.
     9   Q.   And if we can go up to the earlier e-mail thread.         It
   10    appears to be a response from Mr. Christiansen about four
   11    minutes later, and it reads, "Interesting.         What they were
   12    asking for royalties is significant in comparison to recent
   13    EBITA.   It would be cheaper for BASF to buy entire biz as
   14    reasonable multiplier versus pay those types of royalties."
   15                 Do you have an understanding as to what Christiansen
   16    meant?
   17    A.   Not really.
   18    Q.   If I can refer you to CX-0577 in your binder.
   19    A.   I'm sorry.    One more time, please.
   20    Q.   0577.
   21    A.   I'm there.
   22    Q.   Do you have that tab, Your Honor?
   23                 THE COURT:   Yes.
   24    BY MR. SUNG:
   25    Q.   And do you recognize this document, Dr. Gromov?




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                                     Gromov, D. - Cross

     1   A.   Yes.   It's an e-mail chain.
     2               MR. SUNG:    Your Honor, we'd like to move the
     3   admission of CX-0577 into evidence.
     4               MR. DILLON:    No objection.
     5               THE COURT:    All right.
     6               (Exhibit CX-0577 received in evidence.)
     7   BY MR. SUNG:
     8   Q.   And what does this e-mail refer to, Dr. Gromov?
     9   A.   Summarizes my conversation with people in CQN-Chile back
   10    in beginning of 2017.
   11    Q.   And in that first bullet point there's an indication,
   12    appears to be reflecting a conversation that you had with
   13    CQN-Chile, as you describe, and it states, "I got some Nuseed
   14    questions, as well.       I stressed the complexity of execution
   15    and that we have somewhat different products (EPA vs. DHA)."
   16                Is that reflecting your discussions with CQN in
   17    trying to distinguish your product?
   18    A.   This is my response to their question.        They asked me
   19    about what about this other company, and I told them what I
   20    knew at the time.
   21    Q.   And when it follows on to say, "The difference did not
   22    seem to matter to Rodrigo," what does that refer to?
   23    A.   EPA versus DHA.      Rodrigo did not have an opinion on
   24    really the value of those in salmon feed.
   25    Q.   And if we go all the way up to the top of this thread,




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                                      Gromov, D. - Cross

     1   which is apparently the last one chronologically, it appears
     2   to be from Willie Loh to you copying Mark Christiansen.
     3   Would you agree with that?
     4   A.   Yes.
     5   Q.   And do you see Mr. Loh's statement that, "price pushback
     6   from a qualified customer is the sincerest form of purchase
     7   intent"?
     8   A.   I can read that as well.
     9   Q.   If I can turn you in your tab to CX-1560.
   10    A.   I'm there.
   11                 MR. SUNG:    Your Honor?
   12    BY MR. SUNG:
   13    Q.   And do you recognize this document?
   14    A.   I do.    It's a PowerPoint slide.
   15    Q.   And if I can refer you within this document to Bates
   16    number 216.
   17                 THE COURT:   Do you want this whole document?
   18                 MR. SUNG:    Your Honor, we do.
   19                 THE COURT:   All right.    CX-1560 will be admitted.
   20                 (Exhibit CX-1560 received in evidence.)
   21    BY MR. SUNG:
   22    Q.   And do you see the page at 216, Dr. Gromov?
   23    A.   In my binder, yes.      I can see in my binder.
   24    Q.   Okay.    The Bates number should be 216.
   25                 THE COURT:   216?




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                                    Gromov, D. - Cross

     1   BY MR. SUNG:
     2   Q.   Dr. Gromov, do you see this on your screen, that
     3   particular slide, slide 4 internal?
     4   A.   Yes.
     5   Q.   When it refers to "base case earnings trajectory," what
     6   does base case mean to you?
     7   A.   Can't exactly recall.     It probably refers to one of many
     8   scenarios that I had at the time.
     9   Q.   And as a frame of reference, does that mean there can be
   10    a more conservative or a more aggressive scenario?
   11    A.   It's quite possible.
   12    Q.   Do you typically run different scenarios at any point in
   13    time?
   14    A.   Not anymore, no.
   15    Q.   And so which of those types of scenarios that I listed
   16    would be what you would do today, for example?         Is that a
   17    base case?
   18    A.   I call them base case, yes.
   19    Q.   If I can refer you two slides farther in.        It's Bates
   20    number 219, but it looks like internal slide 6, if that would
   21    be helpful.    Sorry.   That, I don't believe, is the right
   22    page.
   23                Sorry.   That's internal slide 7.     Do you see that,
   24    Dr. Gromov?
   25    A.   Yes.




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                                    Gromov, D. - Cross

     1   Q.   So back in 2016 you listed out a number of risk factors
     2   that would affect your projected earnings for project
     3   Latitude; is that correct?
     4   A.   I did.
     5   Q.   And so this would be a summary of all the different
     6   considerations you undertook?
     7   A.   That's what I could think of at the time.
     8   Q.   And did you take into account any third-party
     9   intellectual property rights like CSIRO, GRDC, or Nuseed's in
   10    this assessment?
   11    A.   I did not.
   12    Q.   Let's take you in your binder to CX-0483.        This is a
   13    document that's been admitted already.
   14                 I note it's small to see, but do you recognize this
   15    document generally?
   16    A.   Give me a second, please.      I don't think it's in my
   17    binder.
   18    Q.   I'm sorry.    We'll just follow -- because it's been
   19    admitted into evidence already, if you could just follow it
   20    on your screen.
   21    A.   Okay.
   22    Q.   Do you recognize this document to be a version of your
   23    projections that you've put together, your financial
   24    projections with regard to project Latitude?
   25    A.   It looks like a really dated version, yes.




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                                     Gromov, D. - Cross

     1   Q.     When you say dated, how dated?      Would 2017 be around that
     2   time?    Earlier?
     3   A.     At least.    I can't tell by looking at it.
     4   Q.     Now, when you prepare this document, you prepare it in
     5   the normal and ordinary course of your business at Cargill;
     6   is that correct?
     7   A.     Yes.
     8   Q.     And you don't have any reason today to dispute that this
     9   information was your best estimate when you created it, do
   10    you?
   11    A.     I do not.
   12    Q.     So if that data turned out to be inaccurate later, that
   13    would not change your answer to my last question, would it?
   14    A.     Could you repeat the question, please.
   15    Q.     That it would have been your best estimate at the time
   16    you created the document?
   17    A.     Yes.
   18    Q.     So you'd agree that with regard to final projections,
   19    things do change over time, yes?
   20    A.     Yes.
   21    Q.     And there may be changes in assumptions?      I think you
   22    mentioned some of those before.
   23    A.     I can guarantee there will be changes.
   24    Q.     And you may have different forecasts at any given time,
   25    is that also what you had mentioned?




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                                    Gromov, D. - Cross

     1   A.   That's right.
     2   Q.   When we met at your deposition, do you recall making a
     3   statement with respect to your projections of Project Boost,
     4   that you run multiple timelines in assessing the financial
     5   projections?
     6   A.   I do not recall that statement.
     7   Q.   Do you recall making a statement that with regard to --
     8              THE COURT:   Where is the deposition?
     9              MR. SUNG:    I'm sorry, Your Honor?
   10               THE COURT:   Where's the deposition?
   11               MS. SUMMERS:    We have it right here.
   12               THE COURT:   You don't question anybody on a
   13    deposition if I don't have a copy of it.
   14               MR. SUNG:    I was just going to ask him whether he
   15    recalled --
   16               THE COURT:   Well, you're not going to ask him unless
   17    I've got the deposition.
   18               MR. SUNG:    Yes, sir.
   19               THE COURT:   Where are you?
   20               MR. SUNG:    Referring you to Page 97 within the
   21    deposition transcript.
   22               THE COURT:   All right.    What line?
   23               MR. SUNG:    It's going to be line 13, Your Honor.
   24               THE COURT:   All right.
   25               MR. SUNG:    May I simply just read the question and




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                                      Gromov, D. - Cross

     1   answer to the witness?
     2                THE COURT:    Well, what's the point?   It's consistent
     3   with what he said.        Why are you reading this into evidence?
     4                MR. SUNG:    I think part of it is understanding what
     5   he means when he talks about making predictions, Your Honor.
     6                THE COURT:    I think it's consistent with what he
     7   said.   Let's move on.
     8   BY MR. SUNG:
     9   Q.   Dr. Gromov, you mentioned with regard to first mover
   10    advantage that you didn't see any in this particular
   11    instance; is that correct?
   12    A.   That is correct.
   13    Q.   So under the circumstances of the fish feed trials in
   14    Chile, I think you've already testified that there was no
   15    need for Cargill to invest in the testing where the farmers
   16    had already tested the Aquaterra product successfully?          Is
   17    that your understanding?
   18    A.   There was just the opinion of one single farmer.         I don't
   19    think it reflects everybody's opinion.
   20    Q.   Okay.    And you've also mentioned that Cargill is still
   21    using LFK as a benchmark, correct?
   22    A.   We used it in 2019 trials in Montana.        That's my
   23    understanding.
   24    Q.   And you had been using them up through 2019, as well, for
   25    that same purpose?




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                                      Gromov, D. - Cross

     1   A.   That is my understanding.
     2   Q.   And the Boost project continues to use LFK genes in their
     3   plants?
     4   A.   It's the same elite event that we were given by BASF.
     5   I'm risking mixing up terminology, but I think it's a yes.
     6   Q.   And you've also mentioned earlier on with Cargill Aqua
     7   Nutrition that after Cargill purchased EWOS, that it is now
     8   Cargill Aqua Nutrition would be a buyer potentially of
     9   Latitude; is that correct?
   10    A.   A potential buyer as well, yes.
   11    Q.   And, similarly, if Cargill were allowed to sell Latitude,
   12    Cargill would be selling Latitude to Cargill, correct?
   13    A.   Yeah.    CQN could be our customer, yes, CQN could be a
   14    customer of GEOS.
   15                 MR. SUNG:    Thank you, Dr. Gromov.   I don't have any
   16    further questions, Your Honor.
   17                 MR. DILLON:   Your Honor, there's no need for
   18    redirect.
   19                 THE COURT:    I'm sorry?
   20                 MR. DILLON:   There's no need for redirect.     The
   21    witness can be excused.
   22                 THE COURT:    Can the witness be excused?
   23                 MR. SUNG:    No, Your Honor.
   24                 THE COURT:    What?
   25                 MR. SUNG:    I'm sorry, your question was?




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     1              THE COURT:    May the witness be excused?
     2              MR. SUNG:    Yes, Your Honor.
     3              THE COURT:    All right.    Dr. Gromov, you are excused
     4   with the understanding that you won't discuss your testimony
     5   with any other witness in the case until the case is
     6   concluded.
     7              THE WITNESS:    Yes, Your Honor.
     8              THE COURT:    You can remain in the courtroom, if you
     9   wish, since you finished testifying, or you can be excused
   10    and go about your regular job.
   11               THE WITNESS:    Thank you, Your Honor.
   12               (The witness was excused.)
   13               THE COURT:    Well, I normally give the jury a few
   14    extra minutes for lunch, but I can go with just an hour if
   15    that's all right with counsel.        So let's take a recess until
   16    2:00.
   17               (Recess from 1:02 p.m. to 2:00 p.m.)
   18               MR. ZAHEER:    Your Honor, before we get started with
   19    the next witness, I wanted to flag an evidentiary issue
   20    that's pending before you that pertains to this witness.           In
   21    our motion in limine number 7, we moved to exclude a certain
   22    license agreement that we understand this witness will be
   23    seeking to introduce.      It's PX-451.    And it is in the binder
   24    that I understand that is in front of Your Honor.
   25               The issue that we raised in our motion was that that




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     1   agreement was not produced during discovery.         The first time
     2   it was produced was alongside Mr. Napper's expert report, the
     3   expert report for opponents.
     4               THE COURT:    This is a patent?
     5               MR. ZAHEER:   It's a license.
     6               THE COURT:    Oh, I'm looking at 415.    451.   Excuse
     7   me.
     8               MR. ZAHEER:   451, Your Honor, yes.
     9               THE COURT:    Okay.   This is a license between whom?
   10                MR. ZAHEER:   Between BASF and the University of
   11    Hamburg.    This is an agreement that was never produced during
   12    discovery.    It was only produced after our expert had already
   13    provided opinions when their expert provided their rebuttal
   14    opinions.    It was produced with that report and relied upon
   15    by it.
   16                We had sought this exact type of document during
   17    discovery.    We had noticed a 30(b)(6) deposition on it, and
   18    the 30(b)(6) deposition witness was unable to provide any
   19    details about this agreement during deposition, and so for
   20    those reasons we think that, given the late production of the
   21    document, the reliance on it by their expert on a document
   22    that had never been produced, we would move to exclude the
   23    document.
   24                MS. ANAND:    Hello, Your Honor.   Nitya Anand on
   25    behalf of BASF.




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     1               This particular agreement was produced in -- at the
     2   beginning of July during expert discovery.         It was not
     3   relevant prior to that time.       It was not responsive to any
     4   document request by proponents.       And it became relevant when
     5   Mr. Napper reviewed the expert report of Mr. Jarosz and was
     6   drafting his rebuttal report.       At that time, the document was
     7   produced.
     8               THE COURT:   Wait a minute.    Why was it not relevant
     9   before?
   10                MS. ANAND:   It was not -- it was not responsive to
   11    any document request made by proponents during the fact
   12    discovery page.     Dr. Andre mentioned that he was aware of
   13    this collaboration that existed during the -- his fact
   14    deposition but --
   15                THE COURT:   When was that?
   16                MS. ANAND:   That was in, I believe, March or April
   17    of this year.    But it was not requested during Dr. Andre's
   18    deposition.    There was no motion to compel this exhibit.
   19                THE COURT:   What collaboration are you referring to?
   20                MS. ANAND:   This is the collaboration between BASF
   21    and the University of Hamburg.       It's actually been referenced
   22    multiple times in this proceeding already by both Dr. Andre,
   23    Dr. Bauer.    I believe proponents even asked Dr. Bauer some
   24    questions about the collaboration between BASF and the
   25    University of Hamburg in their cross of Dr. Bauer.




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     1              So it's been referenced multiple times in this
     2   proceeding already without objection.        This is the actual
     3   agreement underlying that collaboration.
     4              THE COURT:    And this was relied upon by?
     5              MS. ANAND:    This was relied upon by Mr. Napper in
     6   his damages rebuttal report.       This was provided prior to --
     7              THE COURT:    And somebody provided it?
     8              MS. ANAND:    Yes, it has been provided.      It was
     9   provided on July 1st prior to depositions in this case.
   10    Mr. Jarosz testified --
   11               THE COURT:    Prior to what depositions?
   12               MS. ANAND:    Prior to experts' depositions, Your
   13    Honor.   Mr. Jarosz testified about it at his expert
   14    deposition, Mr. Napper testified about it at his expert
   15    deposition, and Dr. Kunst was even shown this particular
   16    document at her expert deposition, Your Honor.
   17               MR. ZAHEER:    We requested this at the outset of
   18    discovery.    We sought a deposition on it, the deposition
   19    witness who was their corporate representative.
   20               THE COURT:    You requested this?
   21               MR. ZAHEER:    Yes.   We requested all licenses and all
   22    licenses they would seek to rely upon in support of an expert
   23    opinion, and the first time we even saw this agreement was
   24    the day that we received their expert report, and the
   25    deposition she's referring to occurred just a few days




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     1   thereafter.
     2              This is not how discovery works, Your Honor.         They
     3   can't rely on a license as the basis for an expert opinion
     4   when they never produced it in discovery, and they never even
     5   produced information about it during the 30(b)(6) deposition
     6   that was specifically on licenses between BASF and other
     7   parties.
     8              MS. ANAND:   I would just add one other thing, Your
     9   Honor.   This was not an agreement that had been requested
   10    prior to Dr. Andre's deposition, and it was produced.
   11               THE COURT:   They asked for all licenses.
   12               MS. ANAND:   They asked for -- the language is not
   13    quite as -- this is a slightly different type of agreement,
   14    Your Honor, as Dr. Andre will testify to the contents of this
   15    collaboration between BASF and University of Hamburg.
   16               THE COURT:   Well, it's not a license.      It's a
   17    collaboration agreement.      Did somebody license technology or
   18    what?
   19               MS. ANAND:   There was not technology licensed in
   20    this.
   21               THE COURT:   What is this?
   22               MS. ANAND:   This was a collaboration between BASF
   23    and the University of Hamburg.
   24               THE COURT:   Well, I remember there was some
   25    testimony about that.




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                                     Andre, C. - Direct

     1              MS. ANAND:   Yes, you're right, Your Honor.         There
     2   was.   There was testimony about this.           And it is a
     3   collaboration that resulted in a number of patents and other
     4   types of technology being developed.
     5              And I would note, Your Honor, just as a final thing,
     6   proponents have also produced numerous documents, both after
     7   depositions of fact witnesses had already occurred, including
     8   their only financial document that they produced, and even as
     9   late as September, August, last week.
   10               THE COURT:   Well, that's not before me.
   11               MS. ANAND:   Understandable.      I understand, Your
   12    Honor.
   13               THE COURT:   If this was made available in July, I'm
   14    going to overrule the objection.
   15               MS. ANAND:   Thank you, Your Honor.
   16               So as our next witness, opponents call back to the
   17    stand Dr. Carl Andre.
   18               THE CLERK:   Do you want him resworn?
   19               THE COURT:   I think he testified under oath before.
   20    You are still under oath, Dr. Andre.
   21               THE WITNESS:    Understand, Your Honor.
   22               CARL ANDRE, called by BASF, having been previously
   23    duly sworn, was examined and testified further as follows:
   24                              DIRECT EXAMINATION
   25    BY MS. ANAND:




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                                     Andre, C. - Direct

     1    Q.   Welcome back, Dr. Andre.
     2    A.   Hi.
     3    Q.   Thanks for sticking with us through this entire trial.           I
     4    know it's been a long time, and we really appreciate it.
     5                 Can we get PDX-402, please.
     6                 So I'd like to talk to you about BASF's efforts
     7    related to its LFK elite event.       You've seen this slide
     8    previously in your previous testimony.          Can you remind us
     9    what is shown in this slide?
    10    A.   Sure.    So this slide depicts the DNA that we have in our
    11    elite event, and each arrow is an enzyme that we put into our
    12    elite event, and next to those arrows are symbols for the
    13    entities where we obtained those genes or enzymes from.
    14                 So if I walk around the circle, at the top yellow
    15    arrow is a delta-5 desaturase that comes from Bioriginal.
    16    Going clockwise around, next is a red arrow with delta-4
    17    desaturase, also from Bioriginal.       The next red arrow is a
    18    different delta-4 desaturase from Amaethon or the University
    19    of York.     They're the same with two names.
    20                 The next one is a delta-5 elongase from the
    21    University of Hamburg.     At the bottom is a delta-6 elongase
    22    also from the University of Hamburg.        And then we have a
    23    delta-5 desaturase from Bioriginal.        That's actually the same
    24    one that's at the top of the circle, it's just in there
    25    twice.     And then we have a delta-6 desaturase from the




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                                     Andre, C. - Direct

     1    University of Hamburg, and another delta-6 elongase, this
     2    time from Amaethon.      And then finally there's one of the gray
     3    arrows in here comes from the University of Hamburg also.
     4    Q.     Thank you.   You mentioned the gray arrows.        There's a few
     5    of them in this chart.
     6                What does those arrows represent?
     7    A.     Those are -- so all the other color coding is for steps
     8    in the pathway to make a DHA.       The gray arrows are accessory
     9    reactions that result in the production of higher amounts of
    10    EPA and DHA, but they are not part of the pathway that we've
    11    been talking about.
    12    Q.     And why did BASF add --
    13                THE COURT:   I don't understand.     They're in there
    14    because they would result in higher quantities of omega-3s?
    15                THE WITNESS:   That's correct, Your Honor.
    16                THE COURT:   In the plant?
    17                THE WITNESS:   That's correct.      They --
    18                THE COURT:   But they're not necessary to create the
    19    DNA.    They just -- I don't mean DNA.      They're not necessary
    20    to create the omega-3.     It will be created without them, but
    21    they will enhance how much omega-3 is in the final product;
    22    is that right?
    23                THE WITNESS:   Yeah, that's correct.     So they provide
    24    more starting material for the pathway to act on.
    25    BY MS. ANAND:




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                                      Andre, C. - Direct

     1    Q.   Well, is that part of the so-called Boost Project or
     2    what?
     3    A.   No.   It's independent of the Boost.        It's -- I think the
     4    other party has similar reactions, and they were explaining
     5    it's a couple reactions in front of the pathway so that the
     6    pathway has as much starting material as it possibly can to
     7    finally make the DHA.      So they support the pathway but
     8    they're not part of it.
     9                 THE COURT:   All right.
    10    BY MS. ANAND:
    11    Q.   So you mentioned that BASF got some of these genes
    12    through collaborations with University of Hamburg, Amaethon,
    13    and Bioriginal.     I'd like to walk through each of those
    14    collaborations a little bit further.
    15                 Can you please turn in your binder to the exhibit
    16    marked PX-451.
    17    A.   I'm here.
    18    Q.   Do you recognize this document?
    19    A.   I do.
    20    Q.   What is it?
    21    A.   This is the agreement between BASF and the University of
    22    Hamburg.
    23    Q.   Just to be clear, Dr. Andre, do you speak German?
    24    A.   I don't.    And I think the reason you're asking me is
    25    because this is in German language.




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                                      Andre, C. - Direct

     1    Q.   That's correct.      So how are you able to identify this
     2    document as the agreement between BASF and the University of
     3    Hamburg?
     4    A.   Several reasons.     One is as my role as project manager, I
     5    have a lot of German colleagues, and we can discuss German
     6    documents with their input, and on the first page it's
     7    also -- BASF is the same in English and German, and Hamburg
     8    is the same, and so I can recognize elements to know exactly
     9    what this is.
    10    Q.   Is this agreement currently in effect?
    11    A.   Yes, it is.
    12    Q.   And is this an agreement that BASF keeps in the ordinary
    13    course of business?
    14    A.   Yes.
    15                MS. ANAND:    Your Honor, we would move to admit
    16    PX-451.
    17                MR. ZAHEER:    Same objections, and also lack of
    18    foundation and hearsay, Your Honor.
    19                THE COURT:    All right.   The Court will admit PX-451.
    20                (Exhibit PX-451 received in evidence.)
    21                MS. ANAND:    Thank you.
    22    BY MS. ANAND:
    23    Q.   Could you next turn in your binder to CX-1031.
    24                THE COURT:    Wait a minute.    This pathway we just
    25    showed, is that the pathway that is being used by Cargill to




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                                                                            2454


                                     Andre, C. - Direct

     1    produce the product they propose it to sell?
     2              THE WITNESS:    Yes, Your Honor.
     3              THE COURT:    All right.    And that pathway has been
     4    determined to infringe one or more patents?
     5              THE WITNESS:    Yes.
     6              THE COURT:    Are they the Group A patents that it
     7    infringes?
     8              THE WITNESS:    Yes, Your Honor.
     9              THE COURT:    All right.    I may be anticipating
    10    something that's going to come later, but we've spent half a
    11    day on one witness.     At this rate, I don't know when we'll
    12    finish.
    13              MS. ANAND:    We don't expect to take an extended
    14    period of time with Dr. Andre.       Maybe half an hour, Your
    15    Honor.
    16              THE COURT:    Are you familiar with the results of the
    17    jury's verdict?
    18              THE WITNESS:    Yes, Your Honor.
    19              THE COURT:    And that it found infringement against
    20    all of the Group A patents?
    21              THE WITNESS:    Yes.
    22              THE COURT:    And that's it?
    23              THE WITNESS:    Yes.
    24              THE COURT:    Can Cargill or BASF, between them,
    25    change their pathway so that it doesn't infringe any of the




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                                                                            2455


                                     Andre, C. - Direct

     1    patents that they have found to be infringing?         In other
     2    words, can they design around the type A patents?
     3               THE WITNESS:   Not before the expiration of those
     4    patents.   So it would -- it's possible.        It would take going
     5    back to the very beginning and designing a new elite event
     6    that doesn't infringe and then repeating all of the
     7    regulatory studies and the breeding that we've heard about
     8    that Cargill did.
     9               So it would take a lot of time and a lot of money,
    10    and it's not possible to do it before the expiration of those
    11    patents.
    12               THE COURT:   Which is five years away?
    13               THE WITNESS:   That's correct.
    14               THE COURT:   So you think it would take, then, five
    15    years to design around the Group A patents?
    16               THE WITNESS:   At least.    At least.
    17               THE COURT:   Okay.
    18               MS. ANAND:   Thank you.
    19               THE COURT:   You may proceed.
    20               MS. ANAND:   Thank you, Your Honor.
    21    BY MS. ANAND:
    22    Q.   Could you please turn to CX-1031 in your binder.
    23    A.   I'm here.
    24    Q.   Are you there, Your Honor?
    25               THE COURT:   No.   PX?




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                                                                            2456


                                       Andre, C. - Direct

     1                 MS. ANAND:    CX, Your Honor.     CX-1031.
     2                 THE COURT:    It's the last one?
     3                 MS. ANAND:    Yes, Your Honor.
     4                 THE COURT:    Okay.   I got it.
     5    BY MS. ANAND:
     6    Q.   Could you turn to Page 2 of that document which has the
     7    Bates number CSI 00390282.
     8    A.   I'm there.
     9    Q.   Do you recognize this document?
    10    A.   I do.
    11    Q.   What is it?
    12    A.   It's an English language translation of the agreement
    13    between the University of Hamburg and BASF.
    14    Q.   Does this translation reflect the terms of the Hamburg
    15    agreement as you understand them?
    16    A.   Yes.
    17                 MS. ANAND:    We would move to admit CX-1031.
    18                 MR. ZAHEER:   Objection.    This is not a BASF
    19    document.     This is a translation prepared by proponents, Your
    20    Honor.
    21                 THE COURT:    Are you objecting to the translation?
    22    Did you have it translated?
    23                 MR. ZAHEER:   I don't think that the witness has
    24    foundation to admit this exhibit because it's not his
    25    document.




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                                       Andre, C. - Direct

     1                 THE COURT:    Because what?
     2                 MR. ZAHEER:   Because it's not a BASF document.     This
     3    is a document that we prepared.
     4                 THE COURT:    Well, I mean, he's worked with the
     5    document.
     6                 MR. ZAHEER:   He hasn't worked with this English
     7    translation.     This is a translation that we provided to them.
     8                 THE COURT:    Well, he said he understood it, so I'm
     9    going to admit the document.        I was worried about the
    10    accuracy of the translation, but if you -- if it's your
    11    translation, I'm not worried about it.            All right.
    12                 (Exhibit CX-1031 received in evidence.)
    13    BY MS. ANAND:
    14    Q.   Can you describe BASF's relationship with the University
    15    of Hamburg?
    16    A.   Sure.    We knew that there was a professor there,
    17    Professor Ernst Heinz, who was an expert in the field that we
    18    were interested in, and we collaborated with his lab to
    19    identify genes and study the pathway for the synthesis of EPA
    20    and DHA, and through that collaboration, we discovered genes,
    21    we assembled the pathway as part of our proof of concept, and
    22    we identified, in particular, some of the genes in our elite
    23    event, and that includes the Acyl-CoA dependent desaturases
    24    and the bifunctional desaturases that we use.
    25                 THE COURT:    What is the relevance of this document?




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                                      Andre, C. - Direct

     1    The pathway works without the genes from Hamburg.           The only
     2    thing they do is enhance it.       So what relevance does this
     3    document have to the damages issue?
     4                 MS. ANAND:   Your Honor, our economic expert,
     5    Mr. Brian Napper, who will be testifying later in this
     6    proceeding, relies on this agreement, among others, to
     7    establish an ongoing royalty rate that would be appropriate
     8    for certain of the patents, and so we are --
     9                 THE COURT:   That wouldn't -- we don't need all the
    10    details on what went on between Hamburg and BASF --
    11                 MS. ANAND:   Sure.
    12                 THE COURT:   -- to decide the damages.
    13                 MS. ANAND:   Sure.   Okay.   We can move on.    That's
    14    fine.
    15    BY MS. ANAND:
    16    Q.   Do you understand -- do you have any understanding of who
    17    owns any patent rights that result from the collaboration
    18    between BASF and Hamburg?
    19    A.   I do.    BASF owns those rights.
    20    Q.   How much did BASF pay for the rights conveyed under this
    21    agreement?
    22    A.   We paid in the form of payment to the researchers, and it
    23    was about 150,000 Euro per year.
    24    Q.   Did any patents result from the collaboration between
    25    BASF and the University of Hamburg?




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                                                                            2459


                                     Andre, C. - Direct

     1    A.   Yes.
     2                THE COURT:   Did any what result?
     3                MS. ANAND:   Patents, Your Honor.
     4    BY MS. ANAND:
     5    Q.   Could you take a look at PX-415 in your binder.
     6    A.   I have it.
     7                THE COURT:   Well, what does the -- what difference
     8    does all this make?
     9                MS. ANAND:   Your Honor, it matters because you have
    10    to rely on technologically comparable licenses -- licenses
    11    that convey technologically comparable patents in order to
    12    establish a royalty rate.       As Mr. Napper will explain, the
    13    proponents' agreements were not comparable for a number of
    14    reasons.    So he looked for his own agreements that would be
    15    technologically comparable.
    16                Dr. Murphy, who will be testifying later by
    17    deposition, conducted a technological comparability analysis
    18    to determine that the patent rights licensed under these
    19    agreements were technologically comparable so that way so
    20    that Mr. Napper --
    21                THE COURT:   Is that a Group A patent?
    22                MS. ANAND:   Yes.   Yes, Your Honor.   It's part of
    23    Mr. Napper's analysis to determine whether or not these --
    24                THE COURT:   And he relied on Dr. Andre's findings to
    25    make that conclusion?




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                                     Andre, C. - Direct

     1               MS. ANAND:   He did.   He relied on Dr. Andre to
     2    identify the components of the BASF elite event LFK that came
     3    from these various patents.
     4               THE COURT:   Why is it comparable?
     5               THE WITNESS:   The genes that we license from the
     6    University of Hamburg, you're correct, it includes one of
     7    those accessory reactions.      We also licensed three genes that
     8    are a part of the actual pathway.
     9               THE COURT:   I didn't understand you to say that.       I
    10    thought all of them -- well, I mean, the Hamburg genes
    11    weren't in the patents that were infringed?
    12               MS. ANAND:   So maybe it might help to go back to
    13    PTX-402.
    14               THE COURT:   Well, wait a minute.
    15               MS. ANAND:   Sure.
    16               THE COURT:   The genes that were developed in the
    17    collaboration between BASF and Hamburg are not part of the
    18    patents owned by the proponents that were found to be
    19    infringed, were they?
    20               THE WITNESS:   I think the claims of those patents
    21    cover activities.     They cover a delta-6 desaturase that's
    22    Acyl-CoA dependent, for example, which would be one of the
    23    genes that we discovered with Hamburg.          The patents --
    24               THE COURT:   But they weren't part of the patents
    25    that the proponent owns, were they?        They didn't need to




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                                     Andre, C. - Direct

     1    patent any of the genes that were discovered in the
     2    collaboration between Hamburg and BASF in order to make their
     3    patent valid?
     4                THE WITNESS:   They did use different genes, you're
     5    right, Your Honor.
     6                THE COURT:   Well, what you're saying is that these
     7    genes are comparable to the ones in the infringed patents?
     8                THE WITNESS:   I am.   They have the same enzymatic --
     9    they have the same characteristics.        They have a different
    10    sequence, but they have the same activity and specificity as
    11    the other ones in the patent.
    12                THE COURT:   So that's why you say that this patent
    13    is similar to the infringed patents?
    14                THE WITNESS:   I think the enzymes in this patent are
    15    similar, yes, Your Honor.
    16                THE COURT:   What else is similar?
    17                THE WITNESS:   The pathway in itself.     So as part of
    18    the -- one of the patents we got with the University of
    19    Hamburg describes all of the steps necessary to make EPA and
    20    DHA, and the patents that we were found to infringe also
    21    require the activity of all enzymes to make EPA, if I'm not
    22    mistaken.
    23                So it describes activities, and it describes the
    24    combination of activities used to make EPA, and this
    25    technology that we worked on with the University of Hamburg




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                                     Andre, C. - Direct

     1    is -- also describes pathways and enzymes that can be used to
     2    make EPA and DHA.
     3               THE COURT:    All right.
     4    BY MS. ANAND:
     5    Q.   I believe we had turned to PX-415 in your binder, and
     6    what is this document?
     7    A.   This is a '228 patent that came about from that
     8    collaboration, and it has inventors from BASF and the
     9    University of Hamburg.
    10               THE COURT:    Now, what is this we're looking at?
    11    PX-what?
    12               MS. ANAND:    PX-415, Your Honor.
    13               THE COURT:    CX?
    14               MS. ANAND:    PX.
    15               THE COURT:    Well, that's the same one.
    16               MS. ANAND:    Yes.   Sorry, Your Honor, we're still on
    17    the same document.      We would move to admit PX-415.
    18               THE COURT:    All right.   PX-415 will be admitted.
    19               (Exhibit PX-415 received in evidence.)
    20               MS. ANAND:    Thank you.
    21    BY MS. ANAND:
    22    Q.   When did the '228 patent, PX-415, issue?
    23    A.   In September 2016.
    24    Q.   And when was the start date of the BASF/University of
    25    Hamburg agreement?




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                                      Andre, C. - Direct

     1    A.   It was late 1998, I think in November.
     2    Q.   Does the span of roughly 20 years between the agreement
     3    start date and the patent issue date tell you anything about
     4    the development of omega-3 technology?
     5    A.   I think it reflects the long amount of time that it takes
     6    to develop your technology.
     7    Q.   Can you next turn in your binder to PX-532.          Do you
     8    recognize this document?
     9    A.   I do.
    10    Q.   What is it?
    11    A.   It's an agreement between BASF and Amaethon.
    12    Q.   And is this a document that BASF keeps in its ordinary
    13    course of business?
    14    A.   Yes.
    15    Q.   Is this agreement currently in effect?
    16    A.   Yes.
    17                 MS. ANAND:   We would move to admit PX-532.
    18                 THE COURT:   PX-532 will you admitted.
    19                 MS. ANAND:   532, Your Honor.       Thank you.
    20                 THE COURT:   532.
    21                 (Exhibit PX-532 received in evidence.)
    22    BY MS. ANAND:
    23    Q.   How does that agreement with Amaethon relate to the BASF
    24    LFK elite event?
    25    A.   Amaethon discovered some enzymes.           There were two enzymes




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                                     Andre, C. - Direct

     1    from Amaethon that are included in our elite event in this
     2    agreement.     This is our license agreement to use those.
     3    Q.   And could you take a look at Annex I.       It's on the
     4    second-to-the-last page.      The Bates number is BASF 00197251.
     5    A.   I see it.
     6    Q.   What is shown in Annex I?
     7    A.   These are the patent rights that BASF licensed from
     8    Amaethon.
     9    Q.   Could you next turn in your binder to JX-65.        This is a
    10    document that has already been admitted in this case, but
    11    these are different excerpts.
    12    A.   I'm there.
    13    Q.   Do you recognize the front page of this document?
    14    A.   I do.
    15    Q.   What is it?
    16    A.   This is the agreement between BASF and Cargill.
    17    Q.   Could you turn to the next page that you have in your
    18    binder, and this is BASF 15753.       What is this document?
    19    A.   This document is the agreement between BASF and
    20    Bioriginal that was embedded in the contract with Cargill.
    21    Q.   Why was the BASF/Bioriginal agreement embedded within the
    22    contract between BASF and Cargill?
    23    A.   I wasn't there at the time to make the decision.         I think
    24    it was included as relevant information in something that
    25    both parties should be aware of in the context of their own




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                                      Andre, C. - Direct

     1    agreement.
     2    Q.   Does the BASF/Bioriginal agreement relate to BASF's LFK
     3    elite event?
     4    A.   Yes, it does.
     5    Q.   How?
     6    A.   There are several enzymes, as well as a promoter that we
     7    licensed from Bioriginal and are contained in our elite
     8    event.
     9    Q.   Could you just take a look at Annex I of this document.
    10    It's BASF 15780.
    11    A.   I see it.
    12    Q.   And you can flip to the next page, actually, which is
    13    section B of Annex I.
    14    A.   Okay.
    15                 THE COURT:   Wait a minute.    What are the last three?
    16                 MS. ANAND:   The last three digits of the Bates
    17    number are 781, Your Honor.
    18                 THE COURT:   All right.
    19    BY MS. ANAND:
    20    Q.   What is shown in Section B of Annex I?
    21    A.   These are the patent rights that Bioriginal had at the
    22    time that we obtained license to, and the top row pertains to
    23    fatty acid desaturases that are included in our elite event
    24    and are a part of the pathway, and the bottom row refers to a
    25    seed-specific promoter that we licensed.




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                                     Andre, C. - Direct

     1    Q.   I want to switch topics a bit.       You previously testified
     2    at length about the various work that BASF did to go from its
     3    collections of genes and promoters to the LFK elite event and
     4    the Cargill commercial product so we won't go into as much
     5    detail as that again.
     6              But can we get PDX-404, please.         Can you walk us
     7    through what is shown here on this slide?
     8    A.   This is a summary of the technology that we would need to
     9    come to a commercial product, which is shown at the very
    10    bottom, and Step 1 is identification of genes and promoters
    11    for the pathway.    And I think that the blueprint, the patents
    12    that we found to be infringing, are part of Step 1.
    13              Step 2 represents the vector technology that enables
    14    us to put the pathway into the plants.          We talked about how
    15    hard it is to put that many genes into a plant.         We licensed
    16    separate technology to do that.
    17              Step 3 shows the optimization of the different genes
    18    to get the best pathway that we can.
    19              Step 4 is our ability to transform canola, and this
    20    involved having a variety of canola that we could transform,
    21    which for BASF was the Kumily variety.
    22              And Step 5 is all of the experiments and effort we
    23    went through to identify an elite event which involved
    24    transforming thousands of plants and screening for one.
    25              And Step 6 refers to the breeding efforts of moving




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                                     Andre, C. - Direct

     1    the pathway out of the Kumily variety that we transformed and
     2    into Cargill's canola varieties.
     3                And, finally, you have a product at the end.       And I
     4    think your question earlier, Your Honor, about working around
     5    the patent, my answer was partly based on this slide, that in
     6    order to work around, we have to go all the way back to Step
     7    1 and then proceed through all of these steps again, and
     8    that's part of why it's not possible before the expiration
     9    date of the patents.
    10    Q.   So you mentioned after Step 5 you would have an elite
    11    event LFK in canola.     What did BASF do with its elite event
    12    LFK in that Kumily line?
    13    A.   One thing we did is we started to do experiments on it to
    14    generate data to submit to regulatory agencies, and the other
    15    thing we did was we gave it to Cargill so that they could
    16    start their breeding activities.
    17    Q.   The LFK, Kumily -- LFK elite event in Kumily, is this the
    18    same elite event in Kumily that Dr. Gromov was testifying
    19    about during his testimony?
    20    A.   Yes.
    21    Q.   And do you have an understanding of the relationship
    22    between this LFK Kumily that was used in the deregulation
    23    petition and the '541 patent, or Group D patent?
    24    A.   The LFK in Kumily was used to generate the data that went
    25    into our dossier that was submitted to the USDA, and that was




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                                     Andre, C. - Direct

     1    a public document, and it contained an oil profile from LFK
     2    in Kumily.
     3               And the '541 patent claims were targeted very
     4    specifically to that oil profile of LFK in Kumily that we
     5    reported in that document to the USDA.
     6    Q.   And you said that once you identified this LFK elite
     7    event in Kumily, you gave it to Cargill.        What did Cargill do
     8    with it?
     9    A.   Cargill bred with it.     So they put it into their own
    10    canola varieties and developed the hybrid events that
    11    Mr. Gromov was talking about.
    12    Q.   Did those hybrid varieties, are those covered by the
    13    Group D patent?
    14    A.   No.
    15    Q.   Moving on.   Are you aware of whether the proponents have
    16    ever offered to license any of their patents to BASF?
    17    A.   I understand that they have, yes.
    18    Q.   Can you generally describe the nature of those
    19    discussions between BASF and proponents?
    20               MR. ZAHEER:   Objection.    Rule 408, Your Honor.
    21    They're asking about settlement communications.
    22               THE COURT:    Well, I think when the Court is in the
    23    damage stage of this proceeding, acting as a finder of fact,
    24    that settlement negotiations should not be admissible.          The
    25    fact that they offered to license it, I think, is admissible,




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                                      Andre, C. - Direct

     1    but the details of the negotiations would not be.         So to the
     2    extent that you're seeking those, the Court will sustain the
     3    objection.
     4                MS. ANAND:    That's fine, Your Honor.
     5    BY MS. ANAND:
     6    Q.   Just to confirm, Dr. Andre, you said you were aware of
     7    discussions regarding licensing of patents by -- from
     8    proponents to BASF, correct?
     9    A.   Yes.
    10    Q.   Can you turn to PX-533 in your binder.       What is this
    11    document?
    12    A.   This is a spreadsheet I prepared summarizing the costs of
    13    BASF through the development of this product.
    14    Q.   Do these numbers accurately reflect BASF's total costs on
    15    the omega-3 project to date?
    16    A.   They do.   With -- I'll explain that in the early years,
    17    there are a lot of zeros, and I will note that we were
    18    collaborating as early as 1998.        So there may be some small
    19    costs that don't show up, but I think that overall it's
    20    pretty accurate.
    21    Q.   Is this information information that BASF keeps in the
    22    ordinary course of business?
    23    A.   Yes.
    24                MS. ANAND:    We would move to admit PX-533.
    25                MR. ZAHEER:   No objection.




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                                       Andre, C. - Direct

     1                 THE COURT:    Okay.   PX-533 will be admitted.
     2                 (Exhibit PX-533 received in evidence.)
     3    BY MS. ANAND:
     4    Q.   Over what period of time does this spreadsheet cover?
     5    A.   From 1999 until 2018, the end of 2018.
     6    Q.   And in those roughly 20 years, how much has BASF spent on
     7    the omega-3 project?
     8    A.   At least $202 million.
     9    Q.   If BASF were to try to design around the Group A patents,
    10    do you have an understanding of how much that would cost?
    11    A.   I do.    So if we had to recreate an elite event as part of
    12    that work-around, we started elite event production, we can
    13    say, around 2012, and if you add the dollar amount from
    14    there, it's over $100 million.
    15    Q.   What does the omega-3 project mean to BASF?
    16    A.   It's a really important project that we've invested in
    17    for nearly 20 years now, and almost $200 million, and we saw
    18    from Dr. Gromov the amount of money that we're going to be
    19    getting back is -- takes a while to be positive, and it's not
    20    a huge amount.     So it's -- this investment by BASF is
    21    signaling that we want to do something good, and we care
    22    about the sustainability of the product and sending that
    23    message to the world.
    24                 MS. ANAND:    We pass the witness, Your Honor.
    25                 MR. ZAHEER:   May I proceed?




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                                      Andre, C. - Cross

     1                 THE COURT:   You may.
     2                              CROSS-EXAMINATION
     3    BY MR. ZAHEER:
     4    Q.   Hello, again, Dr. Andre.        How are you?
     5    A.   Good.
     6    Q.   Good to see you.     You recall that I took your deposition
     7    in April?
     8    A.   Yes.
     9    Q.   And you recall that at the time you were testifying as a
    10    corporate representative, or what we call a 30(b)(6) witness?
    11    A.   Yes.
    12    Q.   And you understood at the time that you were speaking for
    13    the entire company and that your testimony would bind the
    14    company?
    15    A.   Yes.
    16    Q.   And you also understood at the time that you were
    17    required to prepare for your testimony, meaning you were
    18    required to identify BASF's corporate knowledge on the
    19    subject matter that was covered, right?
    20    A.   That's right.
    21    Q.   And one of those subject matters was BASF's licenses.         Do
    22    you recall that?
    23    A.   I do.
    24    Q.   And you recall you testified that you were prepared to
    25    provide testimony on that subject matter at the time?




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                                     Andre, C. - Cross

     1    A.   I spent a lot of time preparing.
     2    Q.   Understood.
     3                 And you also recall that I told you that were you to
     4    come to trial with new information that you were not able to
     5    provide at the deposition, then we would be able to identify
     6    that as an inconsistency in your testimony?
     7    A.   Sure.
     8    Q.   So let's talk about the Hamburg agreement, and that's
     9    PX-451.   I asked you about that agreement.       Do you recall
    10    that?
    11    A.   I do.    I think you asked me about agreements in general,
    12    and then I volunteered that we had an agreement with Hamburg.
    13    Q.   Right.    And you recall that I asked you what BASF had
    14    licensed under that agreement.      Do you recall I asked you
    15    that question?
    16    A.   I do.
    17    Q.   And you recall that your answer was that you didn't know
    18    what was licensed under that agreement?
    19    A.   That's true.
    20    Q.   And do you recall that I asked you if BASF had ever paid
    21    a royalty to the University of Hamburg?        Do you remember?
    22    A.   I think so, yeah.
    23    Q.   And do you recall your answer?
    24    A.   I don't think I knew at the time.
    25    Q.   You said that you did not believe that BASF had ever paid




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                                     Andre, C. - Cross

     1    any license fees to Hamburg.      Do you recall that?
     2    A.   Yes.
     3    Q.   And you also recall that at the time I didn't have a copy
     4    of the agreement, so it's not something that I could have
     5    shown you to try to question you on that subject matter?
     6    A.   That's right.
     7    Q.   So the only way we could have known at the time during
     8    your corporate representative testimony about what the
     9    Hamburg agreement provided was if you had told us; is that
    10    fair?
    11    A.   It's fair.
    12    Q.   But you were unable to tell us any information because
    13    you don't know what was in the agreement?
    14    A.   Not everything that was in the agreement.        I knew of it.
    15    And to this day, I don't think we've paid still any license
    16    fees to Hamburg.
    17    Q.   Because it's not a license agreement, right?
    18    A.   It's a collaboration agreement.
    19    Q.   It's a service agreement, isn't it?
    20    A.   I would call it a collaboration agreement.
    21    Q.   Well, let's take a look.     I think you testified earlier
    22    that the date of the agreement is 1998?
    23    A.   That's right.
    24    Q.   And were you in any way involved in the negotiation of
    25    the Hamburg agreement?




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                                     Andre, C. - Cross

     1    A.   Definitely not.
     2    Q.   What were you doing in 1998?
     3    A.   Graduating from high school.
     4    Q.   So you were not with BASF at the time?
     5    A.   No, I wasn't.
     6    Q.   And so you don't have any firsthand knowledge about the
     7    actual negotiations between BASF and Hamburg over this
     8    agreement?
     9    A.   I don't.
    10    Q.   You have no idea if Hamburg agreed to accept the payments
    11    under the agreement because of the intellectual property
    12    aspects or because of the service aspects or something else,
    13    do you?
    14    A.   I assume that all of those factors factored into the
    15    agreement in the end, but I don't know -- I don't know the
    16    details.
    17    Q.   Well, you're making an assumption, and I think the -- you
    18    may recall the Judge said something about making assumptions.
    19    You don't know, right?
    20    A.   No, I don't know.
    21    Q.   You don't know what the underlying economics behind the
    22    actual rates and monetary compensation under the agreement
    23    was, correct?
    24    A.   Only what I've read in the agreement.
    25    Q.   And you have no idea if at the time when this agreement




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                                     Andre, C. - Cross

     1    was signed in 1998 if Hamburg and BASF expected this to
     2    result in any patents, do you?
     3    A.   The agreement has some language in it about who would own
     4    the technology and that BASF had the right to file for
     5    patents.
     6    Q.   Right.   But you don't know, because you were not there,
     7    whether they had an expectation that patents would actually
     8    result from this agreement, correct?
     9    A.   I don't know, but the language in there indicates to me
    10    that they had an expectation.
    11    Q.   And anything that you actually know about this agreement
    12    is from what others at BASF have told you; is that right?
    13    A.   More or less, yes.
    14    Q.   And who have you talked to about the agreement?
    15    A.   Stephan Krieger is one person; Joerg Bauer, a little bit;
    16    and probably others that I can't name.
    17    Q.   And so if we wanted to know what the actual thinking was
    18    behind the agreement, we should talk to the folks who
    19    actually know about the agreement or somebody at Hamburg.
    20    Would you agree with that?
    21    A.   Or read the agreement.     I mean, it is what it is, and I
    22    don't think there's many agreements where the original
    23    negotiators are always available.
    24    Q.   You mentioned in your direct testimony that BASF gained
    25    rights to the '228 patent, which is PX, I think it's 415.          We




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                                     Andre, C. - Cross

     1    don't have to bring that up.      Can you show me -- let's go
     2    back to the Hamburg agreement, which is 451.
     3                 Can you show me where in the Hamburg agreement it
     4    refers to the '228 patent?
     5    A.   It doesn't refer specifically to that patent.
     6    Q.   Does it refer generally to that patent?
     7    A.   No.   It refers to that BASF would own the results and
     8    that BASF could file for patents, and that was an example of
     9    a patent that came about from this agreement.
    10    Q.   And that is information that you've learned since April;
    11    is that right?
    12    A.   I knew of the patent and of the agreement.        Piecing it
    13    all together was recent, yes.
    14    Q.   Right.    Because when I asked you what was licensed under
    15    the agreement, you said you didn't know, right?
    16    A.   That's right.
    17    Q.   And so since the '228 patent is not mentioned in the
    18    agreement, then can we agree that the folks who actually
    19    negotiated the rates and the monetary compensation under the
    20    agreement, they could not have had the '228 patent in mind,
    21    right?
    22    A.   No, not that specific patent.
    23    Q.   Okay.    And I think you testified earlier that you
    24    don't -- you don't read German, right?
    25    A.   I do not.




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                                     Andre, C. - Cross

     1    Q.   But you still -- sometime before July, you spoke to
     2    Mr. Napper, the BASF expert, about the substance of this
     3    agreement, right?
     4    A.   That's right.
     5    Q.   And at the time you did not have a translation of the
     6    agreement; is that right?
     7    A.   No, I didn't.
     8    Q.   So you had not read the agreement when you told
     9    Mr. Napper about the contents of the agreement; is that
    10    right?
    11    A.   I hadn't read the German version, but it had been
    12    described to me by my German-speaking colleagues.
    13    Q.   So did Mr. Napper talk to your German-speaking colleagues
    14    or did he talk to you about it?
    15    A.   I know that he talked to me.
    16    Q.   So if he's relying on you, then he's relying on your
    17    second-hand information from your German-speaking colleagues
    18    about this agreement because you didn't read it before you
    19    talked to him about it, right?
    20    A.   Not the German version.
    21    Q.   Well, you didn't read the English version, either?
    22    A.   No.   I didn't have that.
    23    Q.   Because that English version was provided by our side,
    24    right?
    25    A.   That's right.




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                                     Andre, C. - Cross

     1    Q.   So you had never read this agreement before you told
     2    Mr. Napper about what's in the agreement --
     3                THE COURT:   You've been over that enough.        Move on.
     4    BY MR. ZAHEER:
     5    Q.   Let's go to paragraph 1.1.     Sorry.     I apologize.    Let's
     6    go to the English version, which is in your direct binder.
     7    It's CX-1031.
     8                And you see in the middle there, it says,
     9    "Specifically, this involves the identification, cloning, and
    10    characterization as well as the expression in homologous and
    11    heterologous hosts of various fatty acid biosynthesis genes."
    12    A.   I see that.
    13    Q.   So this was an agreement to search for genes, right?
    14    A.   And to express them in hosts and see if we could make EPA
    15    and DHA.
    16    Q.   Right.   But at the time this agreement was entered, this
    17    was a research project.     Wouldn't you agree with that?
    18    A.   Yes.
    19    Q.   And after this agreement in 1998, BASF had to do a ton of
    20    work in order to figure out how to make those enzymes work
    21    together to produce DHA in a plant seed, right?
    22    A.   We did have work to do.
    23    Q.   Right.   It took six or seven years after this before you
    24    were able to do that?
    25    A.   Well, in a plant seed, we had DHA in 2004 that was




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                                     Andre, C. - Cross

     1    published in 2005.     So that's what -- this agreement
     2    expired -- or ended in 2001.      It's still active; it's not
     3    expired.   So this was a couple years afterwards, yes.
     4    Q.   Well, I was referring actually to the time you entered.
     5               So when the folks sat down to enter into this
     6    agreement, neither BASF nor Cargill -- excuse me -- neither
     7    BASF or Hamburg knew how to actually get DHA in a plant seed,
     8    right?
     9    A.   We hadn't done it yet.
    10    Q.   That took six more years after this?
    11    A.   Starting from '98, yes.
    12    Q.   So when BASF paid whatever it paid under this agreement
    13    at the time in 1998, and when they agreed to that amount of
    14    payment, they weren't paying for the technology that it would
    15    actually take to get DHA in a plant seed; isn't that fair?
    16    A.   I honestly don't know because I don't know the details,
    17    but I think we must have had a pretty good idea if we said
    18    this work was for making DHA and these are the things that we
    19    needed to look for to do it.
    20    Q.   You set out on a research project to try to figure it
    21    out, right?
    22    A.   I think so.
    23    Q.   But the answer was not something that you actually
    24    contracted for; isn't that fair?
    25    A.   I don't understand the question.




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                                     Andre, C. - Cross

     1    Q.   The actual solution, the solution to producing DHA in a
     2    plant seed efficiently and effectively, that's not something
     3    that you bought when you bought this agreement, right?
     4    A.   We got any results out of the agreement, is my
     5    understanding, and in the agreement did result in producing
     6    EPA and DHA eventually in plant seeds.
     7    Q.   After six years, right?
     8    A.   Yes.
     9    Q.   Were BASF and Hamburg competitors in any market or in
    10    this market when they entered into this agreement?
    11    A.   I don't think so.
    12    Q.   And I think that you mentioned this earlier but let me
    13    just confirm.    This is not a license agreement, right?
    14    A.   It's a collaboration agreement, is my understanding.
    15    Q.   Can we go to paragraph 2 on Page 3, please.        You see
    16    there under "compensation," it says, "To compensate for the
    17    services of the university."      Do you see that?
    18    A.   I see that.
    19    Q.   Isn't it fair to call this a service agreement rather
    20    than a license or royalty agreement?
    21    A.   I would call it a collaboration.      To me, a service is we
    22    send you a sample, and you analyze it with no thought.          This
    23    was a coming together of minds, and we got publications and
    24    results out of it.     So I still think of it as a
    25    collaboration.




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                                     Andre, C. - Cross

     1    Q.   But it's in the agreement, it says you're being --
     2                THE COURT:   Okay.   What difference does it make?
     3    Let's move on.
     4    BY MR. ZAHEER:
     5    Q.   This agreement expired in 2001; is that right?
     6    A.   Yes.
     7    Q.   And the '226 patent, which is the patent that you linked
     8    to this agreement, that wasn't issued until 2018, right?
     9    A.   '16, I think.    2016.
    10    Q.   Well, it wasn't issued until 18 to 20 years later?
    11    A.   Much later, that's right.
    12    Q.   Let's go to the University of York agreement, which is
    13    PX-532, please.    Let's go to Page 15, which is the Bates
    14    ending in 250.
    15                This agreement was entered into in 2005, correct?
    16    A.   That's correct.
    17    Q.   And you didn't have any involvement in the negotiation of
    18    this agreement either, right?
    19    A.   No, I didn't.
    20    Q.   So you don't know why the University of York accepted the
    21    royalty arrangement that is set forth here, correct?
    22    A.   They must have found it agreeable, is all I can say.         I
    23    don't know any other details.
    24    Q.   Right.   You'd have to guess, right?
    25                And you recall that when I asked you about this




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                                     Andre, C. - Cross

     1    agreement at your deposition, you said that you didn't even
     2    know if you had ever seen it.      Do you recall that?
     3    A.   I honestly don't, but I'll take your word for it.
     4    Q.   And all of the information you had about this agreement
     5    at the time was from Andy Beadle?
     6    A.   Yeah.    As part of my -- when I interviewed him in
     7    preparation.
     8    Q.   And Mr. Beadle is the same person that we saw on the
     9    deposition video last week.      Do you recall that?
    10    A.   I do.
    11    Q.   And you recall that he couldn't remember much of anything
    12    about the MTEA agreement from 2008?
    13    A.   That's right.
    14    Q.   So are you relying on Mr. Beadle's recollection of an
    15    agreement from 2005 even though when he testified he couldn't
    16    remember the details of an agreement from 2008?
    17    A.   I guess I was.    I mean, I've read the agreement since.
    18    Q.   Were the University of York and BASF competitors at the
    19    time they entered into this agreement?
    20    A.   I don't think so.
    21    Q.   This is what you would call a collaboration, right?
    22    A.   This is really more of just a license.
    23    Q.   Did this agreement license the use of an Acyl-CoA pathway
    24    to obtain DHA in a plant seed?
    25    A.   I think it is specific to a couple of enzymes, is my




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                                     Andre, C. - Cross

     1    understanding.
     2    Q.   Well, when I asked you at your deposition you said it
     3    covered a single enzyme, right?
     4    A.   I might have.
     5    Q.   So if it covered more than that, then that would -- that
     6    second enzyme wouldn't have been important enough for you to
     7    remember; is that fair?
     8    A.   Well, I think I had a lot of information to cover at that
     9    deposition.
    10    Q.   All right.     Let's go to JX-65, please.    That's the
    11    commercialization agreement with Bioriginal that you
    12    discussed.
    13               MR. ZAHEER:    And let's go to the Bates ending in
    14    529, Mr. Boles, please.
    15               Sorry.    In JX-65 we want to go to the Bates ending
    16    in 529.    I'm sorry, 530.
    17    BY MR. ZAHEER:
    18    Q.   Well, let's just go through the agreement.
    19               You also didn't have any involvement in negotiating
    20    the Bioriginal agreement, right?
    21    A.   No.
    22    Q.   And you also testified that this license was on a single
    23    enzyme at your deposition.      Do you recall that?
    24    A.   Not exactly, but if that's what I said, that's what I
    25    said.




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                                       Andre, C. - Cross

     1    Q.   Right.    You said -- you recall testifying that, "I think
     2    this license is a -- on a desaturase, but I can't say for
     3    certain which one"?        Does that sound right?
     4    A.   That's right.
     5    Q.   So at the time you thought there was just one desaturase
     6    or one enzyme that was licensed under this agreement, right?
     7    A.   I don't think I knew for sure.
     8    Q.   Just one step in the pathway?
     9    A.   Again, I don't think I knew for sure.
    10                 MR. ZAHEER:    Let's go to the Bates ending in 764,
    11    Mr. Boles, and let's blow up that first large paragraph.
    12    BY MR. ZAHEER:
    13    Q.   Do you see there it says in the middle, "Such amount of a
    14    percentage basically shall be 2 percent of the net sales
    15    price"?
    16    A.   I see that.
    17    Q.   Right.    And so this agreement provided for a 2 percent
    18    royalty; is that right?
    19    A.   It's my understanding.
    20    Q.   And so it was a 2 percent royalty on a single enzyme; is
    21    that right?
    22    A.   No.   In this case, it's -- I think I went through in my
    23    direct testimony -- two enzymes and a promoter.
    24    Q.   Okay.    And that's -- that was the value that BASF got for
    25    the 2 percent, right?




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                                     Andre, C. - Cross

     1    A.   That's what I understand.
     2    Q.   And, again, in your deposition you thought it was just on
     3    a single desaturase.      Do you recall that?
     4    A.   I think I wasn't sure.
     5    Q.   Was Bioriginal a competitor of BASF when they entered
     6    into this agreement?
     7    A.   I don't think so.
     8    Q.   You mention that --
     9                MR. ZAHEER:   We can take that down.
    10    BY MR. ZAHEER:
    11    Q.   You mention that BASF and Cargill -- strike that.
    12                You mention that BASF had spent more than $200
    13    million investment in developing the technology that it
    14    ultimately provided to Cargill in its agreement, right?
    15    A.   Yes.
    16    Q.   And the way that you were compensated for that or will be
    17    compensated is a 60/40 profit share; is that right?
    18    A.   That's right.
    19    Q.   So in order to recoup BASF's investment for all of the
    20    investment that you put into the technology, you're expecting
    21    a return on that 40 percent investment, right?
    22    A.   That's right.
    23    Q.   And that 40 percent is what Cargill is effectively paying
    24    for getting the technology from you, right?
    25    A.   And all of the regulatory work -- I think there's a lot




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                                     Andre, C. - Cross

     1    built into that number beyond simply the technology.
     2    Q.   Right, but we've heard about that there was a hand-off in
     3    2015, right?
     4    A.   Yes.
     5    Q.   And you recall that when you handed it off to Cargill,
     6    the technology you were giving them was getting somewhere
     7    between 5 and 6.5 percent EPA?
     8    A.   I think those are the numbers that are in our regulatory
     9    documents, yes.
    10    Q.   All right.   So when you handed it over to Cargill, you
    11    gave them a product that was below 7 percent EPA, right?
    12    A.   I think when we handed it to them, it actually had more,
    13    and later experiments that went into our regulatory work were
    14    more like the numbers that you're getting.
    15    Q.   And it was less than 1 percent DHA; is that right?
    16    A.   Yes.
    17    Q.   And that's what Cargill is paying you 40 percent for; is
    18    that right?
    19    A.   I think they're paying us 40 percent also for the
    20    regulatory work that we do, which is an enormous amount of
    21    work.   So I go back.    I think it's more than just the
    22    technology that they're paying for.
    23    Q.   You talked about non-infringing alternatives.        Can we
    24    pull up JX-61 at Page 40, please.       When we talk about BASF's
    25    pathway --




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                                       Andre, C. - Cross

     1                 MS. ANAND:    Objection.   I don't have JX-61, at
     2    Page 40, in my binder.
     3                 MR. ZAHEER:   It's in the sleeve.
     4    BY MR. ZAHEER:
     5    Q.   Do you recognize that?       It's in evidence.   That's the
     6    deregulation petition.
     7    A.   I know it.
     8    Q.   And if you flip it over, that's Page 40.
     9                 And if we can go down, Mr. Boles.
    10                 The Table 4, that describes all of the enzymes in
    11    the pathway, right?
    12    A.   That's right.
    13    Q.   Okay.
    14                 And, Mr. Boles, can we pull up PDX-403 side by side
    15    with the '357 patent.
    16                 You were asked some questions during your direct
    17    about designing around the Group A patents.        Do you recall
    18    that?
    19    A.   I do.
    20    Q.   And if we look here, we can see that if we're looking at
    21    the pathway from ALA to DHA, it takes five enzymes, right?
    22    A.   That's right.
    23    Q.   And we've color coded it in the sort of BASF style here,
    24    but if you look to the right, if we look at claim 33 of the
    25    '357 patent, you can see there that each of those steps is




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                                     Andre, C. - Cross

     1    covered by part of the claim, right?
     2    A.   I see that.
     3    Q.   Okay.    And so you would agree with me that this claim
     4    covers the entire pathway to DHA, right?
     5    A.   It doesn't list a specific delta-4 desaturase enzyme, but
     6    it does mention that the cell is capable of synthesizing DHA.
     7    Q.   And we can agree that since it's capable of synthesizing
     8    DHA, then that would mean that there's a delta-4 desaturase,
     9    right?
    10    A.   It's not listed.    It -- presumably, that activity is
    11    there, but, I mean, to get down to it, there's other ways to
    12    make DHA.
    13    Q.   But when BASF does this in its own work, it uses a
    14    delta-4 desaturase, right?
    15    A.   We do, yes.
    16    Q.   In order to satisfy that part of the claim, right?
    17    A.   In order to make DHA, yes.
    18    Q.   Which satisfies that part of the claim, right?
    19    A.   It does.
    20    Q.   Right.    And if we go to the next highlight, we can also
    21    agree that BASF also uses the part of this claim that covers
    22    an Acyl-CoA desaturase at three different positions in its
    23    pathway?
    24    A.   Certainly, at two positions.
    25    Q.   Right.    And likely at three, right?




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                                       Andre, C. - Redirect

     1    A.   Yeah.    I think we wrote something like that.
     2    Q.   Can you, sitting here today, think of how BASF would
     3    design around this patent, the '357 patent, to get DHA in a
     4    seed without using the enzymes that are shown here or without
     5    using an Acyl-CoA desaturase?
     6    A.   Sure.    We could use the PKS pathway, which is
     7    completely -- uses completely different enzymes.
     8    Q.   Right.    And are you aware of anybody successfully
     9    producing a commercial product in a plant based on the PKS
    10    pathway?
    11    A.   Commercial product, no, but people have successfully
    12    produced EPA and DHA with that pathway.
    13    Q.   But not at commercial levels, right?
    14    A.   Well, it depends on their business decision about what's
    15    commercial.
    16    Q.   How long would it take for BASF to develop a
    17    PKS-pathway-based product, if that's even possible?
    18    A.   It would take a long time.
    19    Q.   More than even five or ten years, right?
    20    A.   I would say so, yeah.
    21                 MR. ZAHEER:    Pass the witness.
    22                               REDIRECT EXAMINATION
    23    BY MS. ANAND:
    24    Q.   Just a couple follow-up questions.             When Mr. Zaheer asked
    25    you about the various agreements at your deposition, did you




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     1    have those agreements in front of you?
     2    A.     No.
     3    Q.     And just a few minutes ago I believe Mr. Zaheer asked
     4    about the work done by BASF and the 40 percent positive
     5    product EBIT split.         Do you remember that?
     6    A.     Yes.
     7    Q.     How much did BASF pay for the regulatory work that it
     8    did?
     9    A.     That's probably half or more of the 200 million that we
    10    talked about.
    11    Q.     And under the BASF/Cargill agreement, BASF was
    12    responsible for conducting that regulatory work and
    13    deregulation, correct?
    14    A.     Yes.
    15                  MS. ANAND:    I have nothing further.
    16                  THE COURT:    Can this witness be excused?
    17                  MR. ZAHEER:    Yes, Your Honor.
    18                  MS. ANAND:    Yes, Your Honor.
    19                  THE COURT:    All right, Dr. Andre.   You may be
    20    excused with the understanding that you will not discuss your
    21    testimony with any other witness in the case.          Since you've
    22    been excused, you may remain in the courtroom, if you wish,
    23    or you can go back to your regular job.
    24                  THE WITNESS:    Thank you, Your Honor.
    25                  (The witness was excused.)




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     1              MS. SHAW:    Your Honor, I believe at this time we'd
     2    like to play the deposition of Dr. Murphy.
     3              THE COURT:    Always a dangerous thing to do in the
     4    afternoon.
     5              MS. SHAW:    I agree.
     6              THE COURT:    But if that's what you want to do...
     7              MS. SHAW:    I think this might be a good time to do
     8    it.
     9              THE COURT:    All right.
    10              MS. SHAW:    Would you like a copy of the transcript
    11    as well, Your Honor?
    12              THE COURT:    Well, yes, it couldn't hurt.
    13              MS. SHAW:    I believe there's some exhibits in there
    14    that we'd seek admission of, as well.
    15              THE COURT:    I remember one deposition the witness
    16    spent the whole time looking at a document and we didn't have
    17    the document.    I can't remember whose witness it was.        He
    18    spent his whole time looking at a document, and we didn't
    19    have the document.
    20              MS. SHAW:    Your Honor, may we go ahead?
    21              THE COURT:    Yes.
    22              (The video deposition of Denis J. Murphy, Ph.D., was
    23    played in open court.)
    24              THE COURT:    We'll now proceed with
    25    cross-examination.




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     1                MS. SHAW:    Before we begin the cross-examination of
     2    Dr. Murphy, we would move to admit PX-416, PX-417, and
     3    PX-927, which were not objected to.
     4                THE COURT:    Also, PX-415, or was that already in?
     5                MS. SHAW:    PX-416, 417, and 927.
     6                THE COURT:    All right.   Those exhibits will be
     7    admitted.
     8                (Exhibits PX-416, PX-417, and PX-927 received in
     9    evidence.)
    10                (Video played in open court.)
    11                MS. SHAW:    Your Honor, I believe there's a short
    12    redirect, if we could play that.
    13                THE COURT:    All right.
    14                (Video played in open court.)
    15                MR. ZAHEER:   As a housekeeping matter, we would move
    16    to admit CX-2000.
    17                THE COURT:    What was that?
    18                MR. ZAHEER:   CX-2000.
    19                THE COURT:    CX-2000 will be admitted.
    20                (Exhibit CX-2000 received in evidence.)
    21                MR. ZAHEER:   Thank you.
    22                THE COURT:    All right.   What do you have next?
    23                MS. SHAW:    Your Honor, we have our last witness, but
    24    I would appreciate a short break before we brought him on, if
    25    that would be possible.




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                                     Napper, B. - Direct

     1                THE COURT:   All right.     We'll take a 20-minute
     2    recess.
     3                (Recess from 3:56 p.m. to 4:15 p.m.)
     4                THE COURT:   All right.
     5                MS. SHAW:    Your Honor, we call Brian Napper.
     6                (The witness was sworn.)
     7                THE COURT:   How do you spell Mr. Napper's last name?
     8                MS. SHAW:    N-a-p-p-e-r.
     9                BRIAN W. NAPPER, called by BASF, having been first
    10    duly sworn, was examined and testified as follows:
    11                              DIRECT EXAMINATION
    12    BY MS. SHAW:
    13    Q.   Good afternoon.     Could you please introduce yourself to
    14    the Court?
    15    A.   Yes.    My name is Brian William Napper.
    16    Q.   And, Mr. Napper, where are you from?
    17    A.   Well, I am originally from Southern California, and I
    18    live now in Northern California, just outside of San
    19    Francisco.
    20    Q.   And where do you work today?
    21    A.   Currently, I am Senior Managing Director at FTI
    22    Consulting, Inc., which is a global financial services group,
    23    and consulting in economics consulting, as well.         I'm
    24    currently the head of their global intellectual property
    25    practice.    I'm the group leader.      We have a worldwide group




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                                    Napper, B. - Direct

     1    that does intellectual property services.
     2    Q.   And what does the IP Service Group do?
     3    A.   Generally, to break it down into three different areas,
     4    service areas, one is we do valuations of intellectual
     5    property with respect to acquisitions and divestitures.          So,
     6    for example, for a private equity company, taking an equity
     7    position in a company that has a lot of technology and
     8    intellectual property, we will advise those private equity
     9    folks as to their acquisition or divestiture; if they want to
    10    sell it off, how much is the IP worth.          So I call that the
    11    valuation part of our group.
    12              The second part is disputes, such as the work I did
    13    on this case, where we provide economic damages analysis
    14    primarily in the space of intellectual property, and within
    15    that construct probably the majority of that is also patent;
    16    although, I do a little bit of trademark, copyright, and
    17    trade secrets damages work.
    18              And then, lastly, I actually happen to be a monitor
    19    for the European Commission related to intellectual property.
    20    For the next ten years -- I'm two years into it -- I'm
    21    monitoring the behavior of a company licensing financial
    22    indices into the credit default swap marketplace, so I report
    23    to the EC on their activities, whether their licensing
    24    behavior is appropriate.
    25    Q.   And how long have you worked in the area of intellectual




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                                     Napper, B. - Direct

     1    property valuation and damages quantification?
     2    A.   Ever since I had a full head of hair.       It's been a long
     3    time.   About 30-plus years now I've been focusing my
     4    consulting work in intellectual property.
     5    Q.   Now, Mr. Napper, did you prepare some slides to help the
     6    Court evaluate your testimony today?
     7    A.   I did.
     8    Q.   Okay.
     9                 MS. SHAW:   Could we take a look at PDX-602?
    10    BY MS. SHAW:
    11    Q.   Could you please tell us about your educational
    12    background.
    13    A.   Yeah.    As indicated on the slide, I graduated from the
    14    University of California - Berkeley with a B.S. degree in
    15    accounting and finance.
    16                 I subsequently -- skipping down to -- I was an
    17    instructor.     I took a course for the technology transfer and
    18    commercialization, which is helping universities to,
    19    essentially, value their intellectual property and,
    20    essentially, license that intellectual property into the
    21    private sector.     I also subsequently taught that course at
    22    UC - Berkeley.
    23                 I instruct periodically as a guest lecturer on
    24    patent damages at law schools, such as Northwestern, NYU,
    25    Catholic University, and, as I indicated, I'm currently the




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                                    Napper, B. - Direct

     1    senior manager and director at FTI.       I was also the global
     2    leader of Deloitte & Touche's intellectual property group.
     3    Q.   Can you tell us a little bit about the type of clients
     4    you work with.
     5    A.   Well, somewhat reflective of the Silicon Valley, I
     6    consulted with clients in the biotech space, for example,
     7    Chiron, before they were acquired by Novartis.         I did quite a
     8    bit of work with them in the DNA sequencing, PCR promoter
     9    field.
    10              I've also done quite a bit of medical device, in
    11    terms of intellectual property, but it also runs the gamut to
    12    doing work in the telecom industry and all other types of
    13    industries.
    14              I'm also currently working, interestingly enough, on
    15    three different patent cases and projects related to seed
    16    planters, which is kind of somewhat tangential to this work
    17    on this case.
    18    Q.   And have you testified at trial on matters involving
    19    damages or the value of patents?
    20    A.   I have.    I've testified both in trials and in
    21    international arbitration as it relates to patent damages,
    22    probably about 50 times now.
    23              MS. SHAW:    Your Honor, at this time we would move to
    24    qualify Mr. Napper as an expert in the fields of intellectual
    25    property valuation and damages and tender him as an expert.




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                                     Napper, B. - Direct

     1                THE COURT:   Any voir dire?
     2                MR. SUNG:    No objection, no voir dire.
     3                THE COURT:   You may proceed.
     4                MS. SHAW:    Thank you, Your Honor.
     5    BY MS. SHAW:
     6    Q.   Mr. Napper, when were you retained in this case?
     7    A.   October of 2018.
     8    Q.   And what were you asked to do in this case?
     9    A.   I was asked to look at the damages claim for -- on behalf
    10    of the opponents and looking at the proponents' damages
    11    claim, and also to address the subject of injunctive relief.
    12                THE COURT:   The subject of what?
    13                THE WITNESS:   The subject of injunctive relief or
    14    irreparable harm, Your Honor.
    15                THE COURT:   Okay.
    16                MS. SHAW:    Could she put up PDX-603.
    17    BY MS. SHAW:
    18    Q.   Could you describe, Mr. Napper, what we see here?
    19    A.   Yes.   This is just a brief listing of the type of
    20    information I had available to me in performing my work in
    21    this matter.    It describes, obviously, lots of deposition
    22    transcripts, lots of financial records, e-mails.         I also
    23    conducted discussions and interviews with BASF and Cargill
    24    professionals that are familiar with this project.         And then,
    25    of course, I've either reviewed the trial testimony or




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                                    Napper, B. - Direct

     1    actually attended much of the trial here.
     2    Q.   And are you aware of the verdict that has now been
     3    rendered in connection with the liability phase of this case?
     4    A.   I am.
     5    Q.   Has this impacted your analysis at all?
     6    A.   Somewhat, yes.    With respect to the Group D patents, that
     7    verdict has had an impact.      And, of course, I had quantified
     8    damages on other groups of patents that were asserted by
     9    proponents, and, obviously, that's not relevant anymore.
    10    Q.   With respect to the Group D patents, do you have an
    11    understanding of whether there would be any future damages
    12    arising in connection with the Group D patents?
    13    A.   Based upon my understanding, the Group D patent has been
    14    found to be infringed by BASF's elite event, but that the
    15    hybrid canola lines being used and continuing to be
    16    researched by Cargill are not using the elite event, and so,
    17    therefore, I don't see a path to damages.
    18    Q.   Have you formed an opinion on whether an injunction
    19    should issue in this case?
    20    A.   I have.
    21    Q.   And what is your opinion?
    22    A.   I do not believe, based upon the facts and circumstances
    23    as I've reviewed them, that injunctive relief would be the
    24    appropriate remedy here.
    25    Q.   Have you formed an opinion on what future damages would




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                                      Napper, B. - Direct

     1    be in this case?
     2    A.   I have, as well.
     3    Q.   And in what form would those future damages be?
     4    A.   Based upon my analysis of the information, I believe the
     5    form of a reasonable royalty would be adequate to compensate
     6    for the found infringement.
     7    Q.   So, Mr. Napper, I'd like to talk first about the request
     8    for injunction, okay?       Could we take a look at PDX-639.
     9                 Mr. Napper, could you describe what we see here?
    10    A.   Yes.    I'm not a legal expert, but my understanding is
    11    that injunctive relief is guided by the eBay factors, what
    12    are commonly known as the eBay factors.
    13                 THE COURT:   What are we looking at here?
    14                 MS. SHAW:    This is a demonstrative slide that
    15    Mr. Napper prepared that I --
    16                 THE COURT:   It's not an exhibit?
    17                 MS. SHAW:    It's not an exhibit.
    18                 THE COURT:   Go ahead.
    19                 THE WITNESS:   Thank you, Your Honor.
    20                 And so this just identifies sort of the eBay
    21    factors, as we call them in the business, and puts some
    22    structure around the inquiry as to whether injunctive relief
    23    is appropriate, and I've looked at these.
    24    BY MS. SHAW:
    25    Q.   Okay.    And did you consider these factors in conducting




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                                    Napper, B. - Direct

     1    your analysis on whether an injunction should issue?
     2    A.   I did.    I considered the opinions of Mr. Jarosz and the
     3    analysis he performed, and I performed my own independent
     4    analysis of many of these factors, as well, and it's my
     5    understanding, I believe, that all four factors need to be
     6    met for injunctive relief to be appropriate.
     7    Q.   Okay.    I'd like to talk about the first factor we see
     8    here, which is whether the patent owner has suffered an
     9    irreparable injury.
    10                 Have you formed an opinion as to whether proponents
    11    have suffered an irreparable injury under eBay factor number
    12    1?
    13    A.   I've separated my opinion into two kind of periods, if
    14    you will.
    15                 The first is, based upon the information I've
    16    reviewed, I don't believe that there is currently an
    17    irreparable injury to proponents as a result of the found
    18    infringement, so currently, as we sit here today.
    19    Q.   Why do you say that?
    20    A.   Because as its fairly well-known now, there have been no
    21    sales of product by Cargill, nor will there be sales for what
    22    sounds like at least another year.       Obviously, the proponents
    23    also have had no sales of products that, at least in part,
    24    may be using the asserted patents or the infringed patents.
    25    Q.   If there are no current harms, does your inquiry and/or




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                                    Napper, B. - Direct

     1    eBay factor 1 end there?
     2    A.   No.    I also looked to the future to see if there's
     3    irreparable harm in the future.
     4    Q.   And how did you go about looking at future harm?
     5    A.   As I indicated, I'm familiar with many of the facets, if
     6    you will, or inquiries under irreparable harm or irreparable
     7    injury, and I've looked at those, done my own analysis of
     8    those, and I've also reviewed Mr. Jarosz's analysis of
     9    irreparable harm.
    10    Q.   And were you here in the courtroom yesterday when
    11    Mr. Jarosz testified?
    12    A.   Was that really just yesterday?
    13    Q.   Yes.
    14    A.   Yes, I was.    Sorry.
    15    Q.   Okay.    And do you recall that Mr. Jarosz testified that
    16    he believes there will be three types of harm?         Do you recall
    17    that?
    18    A.   I do recall that.
    19    Q.   And do you recall what those were?
    20    A.   Yes.    Mr. Jarosz separated them into buckets, if you
    21    will, one being margin erosion, so price decline and cost
    22    increases.
    23                 The second was what he characterized as impact on
    24    product development, sort of research development and
    25    proponents' product development.




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                                     Napper, B. - Direct

     1                And the third was he was looking at, ultimately, the
     2    impact on customer relationships.
     3                So that was my takeaway from Mr. Jarosz; that it was
     4    those three categories of harm that he thought were
     5    unquantifiable and led him to conclude --
     6                THE COURT:   What was the second one?
     7                THE WITNESS:   The second one was product
     8    development, which had two subsets, Your Honor.         The first
     9    was sort of the inability of the proponents to have moneys in
    10    the door in order to invest in improvements to their current
    11    potential future offering, and I got a sense that it also
    12    impacts other research and development at CSIRO.
    13    BY MS. SHAW:
    14    Q.   I'd like to talk about each of these three things a
    15    little bit more closely.      Let's first talk about the first
    16    harm identified by Mr. Jarosz, which was margin erosion -- is
    17    what you described it as, I believe.
    18                Do you agree that margin erosion is a harm that
    19    Nuseed will suffer if BASF and Cargill are on the market in
    20    the future?
    21    A.   I do not.
    22    Q.   Why?
    23    A.   Because the situation in this market is rather unique.
    24    What we have here is an existing market.         We have the fish
    25    oil supplied market, and we have multiple suppliers of fish




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                                    Napper, B. - Direct

     1    oil to fish feed manufacturers.       So that's an existing market
     2    that both the proponents and the opponents are trying to sell
     3    future products into.
     4                So it's not a brand-new market, but it's a market
     5    that has certain already-established dynamics.         Those
     6    dynamics would include pricing, because fish feed
     7    manufacturers, as I understand it, are sensitive to the price
     8    of fish oil.    And it's the fish farm's major expense, so
     9    price is already established with the fish oil, and so that's
    10    an issue.    And then the cost information, which we'll get
    11    into, I didn't see -- I thought the information that
    12    Mr. Jarosz relied upon for reduced cost, that in his opinion
    13    may not occur, is inconsistent with the information I
    14    reviewed in this case.
    15    Q.   Why is it relevant that both parties will be selling into
    16    an already-existing market?
    17    A.   Because the pricing, as I indicated, has already been
    18    established.    The pricing is of traditional fish oil, and, in
    19    fact, both companies -- to save time I'll say "Nuseed" and
    20    "Cargill," if you don't mind.
    21                Nuseed and Cargill are both anticipating to price
    22    their product contingent upon what the fish oil prices of
    23    traditional fish oil, the chopped-up anchovies, et cetera.
    24    So it's tied into those prices, and they can't go too far
    25    above that; otherwise, they won't have opportunities.




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                                     Napper, B. - Direct

     1    Q.    Do you have an opinion, Mr. Napper, as to whether Nuseed
     2    would lose sales to Cargill in the future if an injunction
     3    does not issue?
     4    A.    I do have an opinion, and I don't think it's likely that
     5    Nuseed will lose sales to Cargill in the future, and that's
     6    because of the fish oil supply gap.
     7    Q.    Mr. Napper, could you turn in your binder to CX-0928,
     8    which I believe is already in evidence?
     9                THE COURT:   Well, if there are only two competitors
    10    outside of fish oil in the market, the only way that CSIRO
    11    would not lose sales to Cargill is if Cargill was able to
    12    fill the entire market, or Nuseed would be able to beat them
    13    on price.    It's hard for me to understand why they wouldn't
    14    lose sales to them.
    15                THE WITNESS:   It's an excellent observation, Your
    16    Honor, honestly, but it's a bigger market than just the two
    17    plant-based omega-3 fish oil future suppliers.
    18                THE COURT:   Well, how do we know how big the market
    19    is?   I mean, both sides agree that the fish oil is a finite
    20    resource and it's being overexploited, as so many other
    21    resources are, and -- but, after all, Cargill is a worldwide,
    22    large company, and I just don't understand why they couldn't
    23    increase their production of oil to, at least part of the
    24    time, dominate that portion of the market which is not
    25    consumed by fish oil.




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                                    Napper, B. - Direct

     1              As they progress, their cost of production will go
     2    down and their value of what they produce will go up so that
     3    they'll become more competitive with fish oil.         And because
     4    of their size, it would be easier for them to dominate the
     5    market than it would be for CSIRO, would it not?
     6              THE WITNESS:    It's a fair observation, Your Honor.
     7    Cargill appears to have more resources as a group.
     8              From what I heard from Dr. Gromov, though, GEOS is a
     9    part of Cargill, so they're somewhat -- they may not have
    10    massive exposure, if you will, or access to the footprint
    11    that you're referring to of Cargill as a big entity.          That's
    12    just one observation.
    13              THE COURT:    Well, Cargill is a big entity, and so is
    14    the Australian government.
    15              THE WITNESS:    That's fair.    I would agree with that
    16    observation, yes, and there's resources available in both
    17    those regards.
    18              And so it's an interesting observation, because I
    19    looked at both companies' projections, Cargill's projections
    20    and Nuseed's projections, and I see this market gap that you
    21    just referred to, and it's spot-on.       And if it were really
    22    that easy, and there were only two plant-based suppliers of
    23    omega-3, why -- and both parties are aware of that gap, why
    24    aren't they projecting to fill that gap within a couple
    25    years?




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                                     Napper, B. - Direct

     1                But, in fact, both parties project to 2027 that
     2    Nuseed will only capture 35 percent of that gap and Cargill
     3    only about 10 percent of that gap, so it tells me that based
     4    upon their projections --
     5                THE COURT:   Well, it seems to me that CSIRO's
     6    projection seems reasonable, but I don't think Cargill's
     7    does; that they can only fill 10 percent of that gap.          But
     8    this is only one factor.      You go ahead with everything else.
     9                MS. SHAW:    If we could put up PDX-637.    This might
    10    provide some further clarity.
    11    BY MS. SHAW:
    12    Q.   Mr. Napper, can you describe what is shown here?
    13    A.   Yes.    This is a graph that I put together based upon
    14    information produced, documents produced in this matter.          The
    15    top line is the total projected fish oil deficit.         That's the
    16    dark blue.    That's based upon Nuseed's identification of that
    17    fish oil deficit that Your Honor referred to.         With the
    18    traditional fish oil flattening out, it's not going down, but
    19    the demand's still, in fact, rising and that deficit occurs.
    20                And what I've done here is taken Nuseed's
    21    projections, the only projections they produced in this
    22    matter, and tracked that to the red line.        I've tracked the
    23    light blue, or Cargill's projected volume based upon their
    24    2019 projections, and then combined them for the purple line.
    25    And, you're right, it appears that it's only about 200,000




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                                     Napper, B. - Direct

     1    metric tons versus what they have projected to be 350,000
     2    metric tons by the time it hits 2027.
     3                So I thought that might provide some clarity as
     4    to --
     5                THE COURT:   Yeah, I understand what you're saying.
     6                THE WITNESS:   -- the combination.
     7    BY MS. SHAW:
     8    Q.   And, Mr. Napper, have you seen any documents to support
     9    the projections shown in the Cargill blue line?
    10    A.   I have.
    11    Q.   And what documents have you seen?
    12    A.   The -- I'm sorry, the Cargill light blue line?
    13    Q.   Yes.
    14    A.   Sorry.    Yes, I've seen documents to support all of these
    15    lines.   So sorry.
    16                THE COURT:   I've seen them, too.    I don't think we
    17    need to spend any more time on this issue.
    18                MS. SHAW:    I don't plan on pulling them out, Your
    19    Honor.
    20    BY MS. SHAW:
    21    Q.   Now, did you hear Mr. Jarosz testify that Nuseed's
    22    product and business model is scaleable?
    23    A.   Yes, I heard that testimony.
    24    Q.   And do you have an opinion regarding Nuseed's ability to
    25    scale up and meet the full market gap?




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                                                                            2508


                                    Napper, B. - Direct

     1    A.   Yes.    Based upon the information I reviewed, I did not
     2    see a concrete plan of Nuseed in terms of its ability to
     3    scale its infrastructure to meet this opportunity we just
     4    discussed.    I did not see a strategic plan.
     5                The only thing I did review is Nuseed's projections,
     6    which is, as I heard Ms. Boettner testify, she said Nuseed
     7    will ramp up as quickly as possible to meet the need.          So my
     8    takeaway from that is, well, Nuseed's projections, then, must
     9    reflect their capacity, and that's why I used that chart that
    10    I just identified.     I don't really see the scaleability
    11    capability in the documents I reviewed.
    12    Q.   Could you take a look at PX-56 in your binder?
    13    A.   Yes, I see that.
    14    Q.   Have you seen this -- have you reviewed this document
    15    before?
    16    A.   Yes.    This is a document produced by Nuseed.      It's a
    17    Credit Suisse, so an independent analyst's review of the
    18    opportunity for Nufarm, and especially within this
    19    aquaculture space.
    20    Q.   And could you turn to the page numbered 58593, ending in
    21    58593.    It's Page 23 of the document.
    22    A.   Yes, I see that.
    23    Q.   Could you look at Figure 37 on that page?
    24    A.   Yes.
    25    Q.   Please tell us what is in Figure 37.




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                                                                            2509


                                     Napper, B. - Direct

     1    A.     This is a figure -- this is information shared by Credit
     2    Suisse about the opportunity and them reviewing Nufarm --
     3    also Nuseed, obviously -- Nuseed's ability to capture the
     4    supply gap that we've been already talking about, and they
     5    project by 2027 that Nuseed will capture 35 percent of that
     6    gap.
     7    Q.     Is that --
     8                THE COURT:   Well...
     9                (There was a pause in the proceedings.)
    10                MS. SHAW:    Your Honor, may I proceed?
    11                THE COURT:   Well, why do they have -- this is just
    12    based on Nuseed, it's not based on any participation in the
    13    market by Cargill?
    14                THE WITNESS:   That's exactly right, Your Honor.
    15    This is just Nuseed's projection by 2027.          It's not Nuseed's
    16    projection, it's Credit Suisse, an independent analyst.
    17                THE COURT:   I understand.    It's a projection of
    18    Nuseed, not by, but I understand.
    19                THE WITNESS:   Correct.
    20                THE COURT:   All right.    Go ahead.
    21                THE WITNESS:   Which, by the way, is consistent with
    22    I've seen internal documents of Nuseed projecting about 30
    23    percent of that gap.
    24                THE COURT:   33, I think it was, or 32.
    25                MS. SHAW:    I think it was 33.7 by 2025, but who's




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                                      Napper, B. - Direct

     1    counting?
     2    BY MS. SHAW:
     3    Q.   Mr. Jarosz -- I'd like to move on to the second bucket of
     4    harms identified by Mr. Jarosz.
     5                 He identified another harm to proponents' future
     6    product development.        Do you recall that?
     7    A.   I do.
     8    Q.   And what is your opinion on Mr. Jarosz's opinion
     9    regarding harm to future product development?
    10    A.   My general observation, it was a little bit vague as to
    11    what specifically CSIRO and Nuseed was going to develop.
    12    Were they developing next generation omega-3 products?          I
    13    didn't get a sense of that one way or the other.
    14                 And, in any event, with respect to -- as I
    15    understand the position, it is because Cargill may be in the
    16    marketplace, potentially taking sales away from Nuseed, there
    17    won't be enough money back to Nuseed and CSIRO to continue
    18    research and development and improving their product.          And,
    19    to my way of thinking, a reasonable royalty is an appropriate
    20    way to put money into CSIRO and Nuseed's pocket so they can
    21    invest, if there are future product development opportunities
    22    for them.
    23                 THE COURT:   Well, they'll only get that through
    24    2025, right?
    25                 THE WITNESS:    That is true, Your Honor, since that




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                                     Napper, B. - Direct

     1    is the expiration of Group A.
     2                MS. SHAW:    May I continue, Your Honor?
     3                THE COURT:   Yes.
     4    BY MS. SHAW:
     5    Q.   Now, Mr. Jarosz also identified harms to proponents'
     6    customer relationships.      Do you recall that?
     7    A.   Yes.
     8    Q.   And what is your view on whether Mr. -- on whether
     9    proponents will experience harm to their customer
    10    relationships if BASF and Cargill are in the market?
    11    A.   I reviewed a fair amount of information regarding
    12    customer relationships and attempts.        I also had a discussion
    13    with Dr. Gromov, who testified here earlier about the fact
    14    that the existing contracts that fish feed manufacturers are
    15    signing are very short-term in nature.           That's -- it has to
    16    be because of the volatility of the fish oil prices and
    17    seasonality, et cetera.
    18                I think these two providers, Nuseed and Cargill,
    19    hope to bring stability and do away with some of that
    20    volatility.    But I bring that up from the standpoint of
    21    there's going to have to be some type of education and effort
    22    on both Nuseed and Cargill's part to have fish feed
    23    manufacturers get away from their normal procedure of signing
    24    very short-term contracts for supply of fish oil, and that
    25    will take some time.      And I haven't really seen any specific




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                                    Napper, B. - Direct

     1    customers identified that a relationship might be soured, if
     2    you will.
     3    Q.   Okay.    So just in sum, under eBay factor 1, in your
     4    opinion, have you seen any evidence of irreparable harm to
     5    proponents if BASF and Cargill are allowed to offer their
     6    products in the market?
     7    A.   Based upon the information I reviewed, and considering
     8    Mr. Jarosz's analysis, respectfully, I don't believe that the
     9    eBay factor 1 has been satisfied in terms of evidence of
    10    irreparable harm.
    11    Q.   So let's look at your PDX-639 again.       I'd like you to
    12    look at the second eBay factor.
    13                 So you see the second eBay factor is remedies
    14    available at law, such as monetary damages, are inadequate to
    15    compensate for that injury.      Did you consider any evidence
    16    under this factor?
    17    A.   I did.    I looked at this from two different perspectives.
    18    One is the willingness of the patentholders to license the
    19    infringed patents, and looked for evidence of that.
    20                 The second is to look at whether I believe, in my
    21    opinion, that a reasonable royalty is adequate to compensate
    22    for infringement.
    23    Q.   Have you seen any evidence relating to proponents'
    24    willingness or unwillingness to license?
    25    A.   I have.    Well, certainly, initially CSIRO was willing to




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                                     Napper, B. - Direct

     1    enter into a collaboration agreement.            I'm not sure that
     2    counts as a license agreement, but that's certainly an
     3    indication, because they needed a partner.
     4                And then I've seen information produced by Nuseed in
     5    some of their talking-point documents that indicate that they
     6    have a willingness to license the patents.
     7    Q.   Can you take a look at PX-568?
     8    A.   Yes, I'm there.
     9    Q.   Do you know what this document is?
    10                THE COURT:   What was that number, again?
    11                MS. SHAW:    PX-568.
    12                THE COURT:   PX?
    13                MS. SHAW:    Yes, and I don't believe this document
    14    has been admitted.
    15                THE COURT:   All right.    PX-568 will be admitted.
    16                (Exhibit PX-568 received in evidence.)
    17                MS. SHAW:    Thank you, Your Honor.
    18    BY MS. SHAW:
    19    Q.   Do you know what this document is, Mr. Napper?
    20    A.   Yes.   This is a Nuseed document.      I think Ms. Boettner
    21    may have testified that this is in preparation of Nuseed for
    22    investor calls, to try to update investors as to the activity
    23    of Nuseed, and it's dated September 2017.
    24    Q.   Could you take a look at the page ending in 32818.
    25    A.   Yes, I see that.




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                                      Napper, B. - Direct

     1    Q.   And could you take a look at kind of the first set of
     2    bullets on this page, and look at the second-to-last bullet
     3    underneath that.     Do you see that?
     4    A.   I do.
     5                 THE COURT:   Where are we now?
     6                 MS. SHAW:    Your Honor, we are at PX-568.   32818 is
     7    the page number.
     8                 THE COURT:   818?
     9                 MS. SHAW:    Yes.
    10                 THE COURT:   All I need is the last three numbers.
    11                 MS. SHAW:    Okay.   It's 818.
    12                 THE COURT:   Okay.   I've got it.
    13    BY MS. SHAW:
    14    Q.   And do you see the second-to-last bullet under that first
    15    section?
    16    A.   I do.
    17    Q.   What does it describe?
    18    A.   This appears to make a statement of Nuseed, that they
    19    remain open to possible cross-license of intellectual
    20    property with BASF, which provides effective value to Nuseed.
    21    Q.   And this is one of a few documents that I've seen that
    22    talk about --
    23                 THE COURT:   What do you mean by "cross-license."
    24                 THE WITNESS:   Well, I presume what Nuseed means is
    25    that Nuseed would license its patents and technologies and




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                                     Napper, B. - Direct

     1    would, in return, receive access to BASF's intellectual
     2    property.
     3                And there may be --
     4                THE COURT:   What are they going to do with that?
     5    They've got a different system of making their product.          I
     6    don't know that their product needs anything except maybe one
     7    proprietary enzyme.
     8                THE WITNESS:   That's fair, Your Honor.     So there may
     9    not be anything that BASF needs except for freedom to
    10    separate, and, in reverse, BASF has not only intellectual
    11    property -- I may be stepping out of my boundary here, but I
    12    understand BASF may have a patent in Australia that CSIRO is
    13    focused on, so there would be, in my mind, with this comment,
    14    a cross-license between the parties, with perhaps a monetary
    15    consideration, as well.
    16                THE COURT:   All right.
    17    BY MS. SHAW:
    18    Q.   Now, when we were talking about eBay factors, you
    19    discussed willingness to license and also the ability to
    20    quantify monetary damages as two of the things that you
    21    looked under when considering that factor.
    22                What did you mean by the ability to quantify
    23    monetary damages?
    24    A.   Well, it's my opinion, based upon the information I
    25    reviewed in this case, that I think a determination of a




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                                    Napper, B. - Direct

     1    reasonable royalty can be made, and that monetary damage, if
     2    you will, or monetary compensation to Nuseed would be
     3    adequate to compensate them for the infringement.
     4    Q.   Now, Mr. Jarosz testified that there is uncertainty
     5    around calculating monetary damages in the future.         Do you
     6    agree with him?
     7    A.   I do not.    I think there's information adequate to
     8    compensate Nuseed in the form of a royalty rate based upon
     9    the analyses that I performed in this case.
    10    Q.   How would a royalty rate address future uncertainties?
    11    A.   Well, the royalty rate structure that I have in mind
    12    would be a percentage of net product sales, the end sales of
    13    Cargill, and that, in turn, if there's a percentage of the
    14    revenue, takes away some of the pricing uncertainty.
    15              Both parties appear to be a little hesitant on what
    16    the prices are going to be, even though they're tied to fish
    17    oil existing in the market, and my takeaway some of the
    18    uncertainty of those pricing question marks, if you will.
    19    Q.   Now, if we could look back at PDX-639, I'd like to look
    20    at the third factor under the eBay factors, which is the
    21    balance of hardships.
    22              Did you consider this factor in your analysis?
    23    A.   I did.
    24    Q.   And what did you consider?
    25    A.   Well, I recall Mr. Jarosz's testimony that he believed




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                                    Napper, B. - Direct

     1    there was more emphasis on the Nuseed side of the balance of
     2    hardships, in terms of the ramifications, if you will, of
     3    patent and infringement of patents, et cetera, and he saw
     4    less volume if, for lack of a better way to describe it, on
     5    the Cargill side.     That's a judgment call by Mr. Jarosz.
     6              I actually went a little bit more to how much each
     7    of these parties invested in this particular product to be
     8    able to take a less judgment, more monetary look at that.
     9    And on the CSIRO side, I found that there was about -- last I
    10    could document, about 100 million invested by CSIRO and
    11    Nuseed.
    12              And then on the BASF/Cargill side, we heard
    13    testimony from Dr. Andre even today that I think they're up
    14    to 200 million, and Cargill is up to about 65 million.          So,
    15    clearly, both parties are investing heavily in this project,
    16    but to suggest that one -- because there's not as much
    17    chatter about this project in the Cargill information, one, I
    18    didn't see that; and, two, I think that's belied by the fact
    19    that both companies are spending in this space.
    20    Q.   Could we look again at the PDX-639?        And I'd like to turn
    21    your attention to the fourth and final factor under the eBay
    22    factors, and this is the public interest.
    23              Did you consider any evidence under the public
    24    interest factor?
    25    A.   I did.




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                                    Napper, B. - Direct

     1    Q.   And what did you consider?
     2    A.   I considered information connected to the public interest
     3    in terms of three different aspects, one being an
     4    environmental aspect, the second being ocean impact, and the
     5    third being farmers.
     6              So with respect to the environmental, and somewhat
     7    combined with the ocean, obviously, allowing Cargill and
     8    Nuseed, once the products start coming into the marketplace,
     9    to be able to supply their omega-3 fish oil, would tend to
    10    put downward influences, hopefully, on what I've heard called
    11    the hunting of the anchovies in the ocean, and the boats, and
    12    the exhaust fumes, to get down to the nitty-gritty into the
    13    environment, that would hopefully put less pressure and
    14    perhaps a reduced environmental impact of those activities.
    15              I also am quite familiar with Cargill's investment
    16    in the local farming community in Montana.        I believe they
    17    built a building there for processing, and it holds community
    18    events, and it seems that the community connection that
    19    Cargill has established there is of public interest, as well.
    20    Q.   Now, Mr. Napper, during Mr. Jarosz's direct examination,
    21    he testified that if an injunction issued, Cargill could
    22    still enter the market because they have the ability to come
    23    and negotiate a license with proponents.
    24              Did this testimony impact your injunction analysis?
    25    A.   Actually, it did, yes.




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                                    Napper, B. - Direct

     1    Q.   Could you tell us how?
     2    A.   Yeah -- sorry, Ms. Shaw.
     3              And the reason is that if Mr. Jarosz is of that
     4    opinion, then that shows that the proponents have a way to
     5    establish a royalty rate and a royalty payment to be paid to
     6    them that's quantifiable, and, therefore, that would be a
     7    much better path than the fairly extreme relief of
     8    injunction.
     9    Q.   So, in summary, Mr. Napper, what is your ultimate opinion
    10    as to whether an injunction should issue in this case?
    11    A.   I don't believe that's the remedy that should be issued
    12    in this court or in this case.      I believe that a reasonable
    13    royalty is the appropriate approach.
    14    Q.   So I'd now like to shift topics to that reasonable
    15    royalty, and I'd like to begin by discussing Mr. Jarosz's
    16    proposed reasonable royalty rate.
    17              MS. SHAW:    Could we please look at Jarosz slide 16.
    18    BY MS. SHAW:
    19    Q.   What is your understanding of the information we see
    20    here, Mr. Napper?
    21    A.   So my takeaway here is that Mr. Jarosz used two different
    22    collaboration agreements, the CSIRO/GRDC/Nuseed agreement and
    23    the BASF/Cargill collaborative agreement, in order to
    24    calculate what he determined to be a reasonable royalty rate.
    25              He then shows on this chart a fairly high rate for




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                                    Napper, B. - Direct

     1    Nuseed lost profits on diverted sales of 49 percent.
     2    Q.   And his reliance on the CSIRO/GRDC/Nuseed license
     3    agreement, do you think that's appropriate?
     4    A.   I do not think that's appropriate.         I think it's an
     5    agreement to consider, but I think the agreement has to go
     6    through a number of adjustments in order to reflect the
     7    asserted patents' value in that agreement.
     8    Q.   And what about the BASF/Cargill license?        Do you think
     9    Mr. Jarosz's reliance on that agreement was appropriate?
    10    A.   I think that's even -- that's further removed than the
    11    CSIRO/GRDC/Nuseed agreement because there's been no study of
    12    the BASF intellectual property contributed, if it's
    13    technologically comparable, and it also suffers from a
    14    disconnect in terms of regulatory responsibilities in that
    15    agreement.
    16    Q.   So let's first talk about proponents' agreement, the
    17    CSIRO/GRDC/Nuseed agreement.      Why do you think these
    18    agreements are not appropriate without an adjustment?
    19    A.   Because as I reviewed the agreement, it involves a number
    20    of intellectual property, a fairly significant amount of
    21    intellectual property, that CSIRO is committing to this
    22    collaboration, in addition to the infringed patents.
    23    Q.   Could we look at PDX-610.
    24                Mr. Napper, could you describe what we see here?
    25    A.   Yes.    This is my attempt to summarize a fairly voluminous




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                                    Napper, B. - Direct

     1    agreement between these parties, but what I show here is what
     2    I determined from the agreement that CSIRO is contributing,
     3    which is technology and IP related to omega-3 LC PUFAs, as
     4    well as funding.
     5              Nuseed is doing canola breeding, and, importantly,
     6    Nuseed is doing the deregulation part of that agreement.          And
     7    then GRDC is committing, also, intellectual property, as well
     8    as funding.    And so that's the green arrows, if you will,
     9    going into the collaboration agreement, and then what each
    10    party gets in return is reflected on these percentages.
    11              It's important, two things, to note.        The
    12    percentages were determined by the contribution of funding by
    13    each of these companies.      So there wasn't an evaluation of
    14    the intellectual property of CSIRO that they were
    15    contributing.    It was, essentially, based upon the so-called
    16    cost approach to intellectual property but based upon the
    17    funding of each of these companies as to how the split
    18    occurred, so it's not linked to the CSIRO intellectual
    19    property directly.
    20              And the second is these percentages are a total of
    21    25 percent for CSIRO and GRDC, and I think we all now
    22    understand that net sales is a misnomer.        It's not the end
    23    product sales, but it's actually something less than that.
    24    Q.   Could you take a look at Mr. Jarosz's slide 14, if you
    25    could pull that up.




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                                    Napper, B. - Direct

     1                Did you hear Mr. Jarosz testify about this slide?
     2    A.   Yes.   This reflects his calculation of how he derives a
     3    12.4 percent royalty rate from this agreement.
     4    Q.   And do you agree with the numbers he has on his chart
     5    that's shown here in slide 14?
     6    A.   I do not.   I think it's incorrectly calculated.
     7    Q.   And why is that?
     8    A.   For at least three reasons:      The first is that Mr. Jarosz
     9    relied upon an early 2018 Cargill projection.         I think
    10    there's been comment about that here in court.         And the
    11    closest projection to the hypothetical negotiation between
    12    these parties is a January 2019 Cargill projection where
    13    Cargill projects a little bit less in revenues.         So I think
    14    that is the most reliable place to start.
    15                Further, Mr. Jarosz -- for the blue bar, if you
    16    will, Mr. Jarosz adjusted the commodity canola value.           In the
    17    actual Cargill projection, it's $850 per metric ton.          He used
    18    a figure of $815 per metric ton.       I forget what his source
    19    was, but it wasn't from the actual document and projection.
    20                And then the orange bar is helpful.      The orange bar
    21    is the incremental cost of how much it cost to develop on a
    22    per-metric-ton basis the omega-3 fish oil-based canola, if
    23    you will, and commodity canola, because that's called out for
    24    in the agreement between these parties.
    25                And rather than accept Cargill's projection of how




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                                    Napper, B. - Direct

     1    much incremental cost there is, how much more it is to make
     2    the omega-3 canola, fish oil canola, he accepted Nuseed's
     3    estimate that it would only take 15 percent more to make
     4    omega-3 fish oil canola oil, as opposed to what Cargill
     5    believes it's going to cost twice as much.        You heard
     6    Dr. Gromov testify to that.
     7              And then lastly, I adjusted this number to reflect
     8    the term of the patent expiration dates of the Group A patent
     9    because these numbers are taken out to 2028, but the patent
    10    expires in 2025.
    11    Q.   I believe you testified that there is a discrepancy in
    12    how much incremental cost comprises total costs between
    13    Nuseed and Cargill.
    14              What is your understanding of what Nuseed believes
    15    its incremental cost to be of the total cost of the goods?
    16    A.   So to make my math easy, if you assume Nuseed says if
    17    it's $100 to make regular canola oil, non-omega-3 fish oil,
    18    it would be $115 to make the omega-3 fish oil canola oil.          So
    19    that's about 15 percent higher.       That's what was provided to
    20    Mr. Jarosz as an estimate by Mr. Zacharias and Mr. Thomas.
    21              Cargill, on the other hand, you heard Dr. Gromov
    22    testify earlier today that if it's $100 for the commodity
    23    canola, it's $200 for the omega-3 canola oil product.
    24    Q.   In your review of the materials in this case, did you see
    25    any documentary evidence supporting that the costs of




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                                    Napper, B. - Direct

     1    manufacturing omega-3 canola are only 15 percent of the total
     2    cost of goods for these products?
     3    A.   I've seen no evidence that would be consistent with that
     4    representation.
     5    Q.   Have you seen any documentary evidence supporting
     6    Cargill's projected incremental costs?
     7    A.   I would love to go back to the spreadsheet for Cargill --
     8    I'm just kidding -- based upon His Honor's comment.
     9              But there are tabs within that spreadsheet that
    10    actually identify the cost of the commodity canola oil versus
    11    the omega-3 canola oil, and it's actually even higher than
    12    twice as much.    So there is documentation supporting
    13    Dr. Gromov's observation and testimony.
    14    Q.   Could you take a look at PDX-640?
    15              Can you tell us what we see here?
    16    A.   Right.   What I see here -- a bit dramatic.       I apologize
    17    for the Xs.    But what I've done here is I've adjusted for the
    18    four things I just talked about, that I won't repeat.          But
    19    I've reflected, essentially, the four adjustments I think are
    20    appropriate, using Mr. Jarosz's approach to calculate a
    21    royalty rate, in order to reflect these changes I just
    22    identified.
    23    Q.   And could you take a look at PDX-641?
    24              What do we see here?
    25    A.   So at end of the day, using these four changes, staying




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                                    Napper, B. - Direct

     1    with the four corners of the Excel spreadsheet, for the most
     2    part, with the 2025 cutoff, I've recalculated the royalty
     3    rate using Mr. Jarosz's actual approach to be not 12.4
     4    percent but 3.8 percent.
     5    Q.   And in your opinion would that lower amount, the 3.8
     6    percent, be the appropriate royalty in this case?
     7    A.   No.   It still suffers from what we talked about before,
     8    which is the CSIRO intellectual property that was put into
     9    the collaboration agreement, still has a lot more benefits
    10    and a lot more advantages, if you will, of value.         I couldn't
    11    assign a specific value to that, but this is too high because
    12    of that, because I have to go down to the actual patents that
    13    are infringed.
    14    Q.   Could you take a look at PDX-617?
    15               What do we see here?
    16    A.   So this is an attempt for me to just identify all the
    17    different rights that are part of the CSIRO/GRDC/Nuseed
    18    agreement, and each of these bubbles, if you will, represents
    19    a category of intellectual property whose rights were
    20    contributed by CSIRO to this collaboration agreement,
    21    including rights to -- exclusive rights to patents.
    22               Interesting enough, Nuseed has the ownership of the
    23    elite event.    In the case of BASF/Cargill, Cargill -- it's my
    24    understanding BASF retains ownership of the elite event and
    25    various other intellectual property rights.        All of these




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                                    Napper, B. - Direct

     1    have some element of value and -- but I wasn't able to assign
     2    a specific amount to those.
     3    Q.   And how does what we see here compare to what BASF and
     4    Cargill would receive under the hypothetical negotiation?
     5    And I think we have a slide on this.
     6    A.   Yes.    BASF and Cargill would only receive what is
     7    reflected here in the orange, which is the nonexclusive
     8    license to the Group A patents, so a much smaller subset.
     9    Q.   In your opinion does using the agreement, the agreement
    10    that we see here as the royalty rate appropriately account
    11    for BASF and Cargill's contributions to their commercial
    12    product?
    13    A.   I don't believe it does reflect that.
    14    Q.   Why is that?
    15    A.   Because I think there's a lot of effort, as we've heard
    16    Dr. Andre testify to and Dr. Gromov, of all the different
    17    efforts that BASF went through, as well as Cargill, and so
    18    those have to be taken at least into account.
    19    Q.   Now, Mr. Jarosz also relies on a second agreement in
    20    identifying his reasonable royalty range, and that's the
    21    agreement between BASF and Cargill.       Do you recall that?
    22    A.   I do.
    23    Q.   And do you have an opinion as to whether that agreement
    24    is comparable for purposes of determining a reasonable
    25    royalty?




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                                    Napper, B. - Direct

     1    A.   That agreement is one step further removed because
     2    it's -- it has not been compared from a technological
     3    comparability standpoint.      What did BASF contribute and what
     4    intellectual property did it contribute and how does that
     5    compare to the CSIRO patents that are at issue here?          So no
     6    assessment has been done of that so I don't think it's
     7    comparable.
     8    Q.   Could you take a look at PDX-615.
     9                Can you describe what we see here?
    10    A.   Yes.   This is just a summary, a short summary I put
    11    together as to BASF, its contribution to the collaboration
    12    and Cargill; and one to note is the fact that in this case
    13    BASF is conducting the regulatory efforts.
    14                So if you contrast that with CSIRO, CSIRO is not
    15    conducting the regulatory efforts; their partner Nuseed is.
    16    This one is a little bit reversed.
    17    Q.   Now, Mr. Jarosz calculates the reasonable royalty rate
    18    under this agreement as 13 percent.       Do you agree with this?
    19    A.   I do not.
    20    Q.   Why is that?
    21    A.   Because what I just touched on it, what has to be
    22    adjusted in that calculation is, among other things -- but at
    23    least you have to account for the fact that BASF is getting
    24    reimbursed by the 40 percent EBIT split for their regulatory
    25    efforts, and so that has to be removed from the calculation,




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                                    Napper, B. - Direct

     1    and that's what I've done.
     2    Q.   Can you take a look at PDX-616.
     3                 Can you describe what we see here?
     4    A.   Yes.    This, essentially, is my adjustment to the 13
     5    percent calculated by Mr. Jarosz from the BASF/Cargill
     6    agreement.     And what is done is I subtract the BASF
     7    regulatory efforts in order to compare apples to apples with
     8    the CSIRO/Nuseed agreement.      And if you deduct 92.3 million
     9    from the take, if you will, of BASF, that reduces the
    10    numerator in the fraction, and, therefore, the royalty rate
    11    goes -- the effective royalty rate goes down.         It's not a
    12    royalty rate but it's more of a split.          And so once you make
    13    that adjustment, it's down to 3.2 percent.
    14    Q.   And this adjusted rate of 3.2 percent, is it your opinion
    15    that that is a proper future royalty rate?
    16    A.   No.    It still, unfortunately, suffers from the same
    17    challenges as CSIRO in that there's other intellectual
    18    property that BASF contributed here, and other benefits, but
    19    I couldn't quantify those.
    20    Q.   Do you recall that on the upper end of his reasonable
    21    royalty range Mr. Jarosz had indicated a 49.1 percent royalty
    22    rate?    Do you recall that?
    23    A.   I do.
    24    Q.   Do you agree with the high end of his reasonable royalty
    25    range?




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                                    Napper, B. - Direct

     1    A.   I do not.    No lost -- first of all, no sales have
     2    occurred, so no lost profits.      But even for future, a lost
     3    profit analysis wasn't really performed by Mr. Jarosz to
     4    determine that somehow 49 percent royalty would be
     5    appropriate.     It's essentially baking in a lost profits claim
     6    in a reasonable royalty construct, and I don't think that's
     7    appropriate.
     8    Q.   Why do you say that the 49.1 percent range is essentially
     9    a lost profits analysis?
    10    A.   Because the way Mr. Jarosz calculated that is he
    11    essentially took all of CSIRO's Nuseed's profit percentage,
    12    which is 49.1 percent that we saw earlier in the trial, and
    13    just that's his rate.     It's just a profit number, and so that
    14    is, in essence, a lost profits claim.
    15    Q.   So you testified earlier that you did think that an
    16    ongoing reasonable royalty would be an appropriate remedy for
    17    future damages.    I'd like to shift and talk about that a
    18    little bit more and what you think that appropriate rate
    19    might be.
    20                Why do you think an ongoing reasonable royalty is
    21    appropriate here?
    22    A.   I think based upon the construct of the market and the
    23    construct of what I've talked about before with this supply,
    24    with this opportunity for both of these companies to take
    25    advantage of the supply gap in the marketplace for fish oil,




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                                    Napper, B. - Direct

     1    I think that a reasonable royalty rate would be the
     2    appropriate construct adequate to compensate CSIRO for
     3    infringement and let them go out, and with through Nuseed,
     4    continue to commercialize and hopefully have product sales in
     5    the future.
     6    Q.   Could you take a look at PDX-604.
     7                Could you describe what we see here?
     8    A.   Yes.   These are commonly known as the Georgia-Pacific
     9    factors, which is a seminal case in terms of factors to
    10    consider for establishing a royalty rate, and many of these
    11    are reflected in my own experience in helping clients to
    12    license their intellectual property.
    13                So these are not, you know, unusual in that regard.
    14    It's really the factors to consider in establishing a rate.
    15    I did review every single one of these factors in my report,
    16    but I think some are much more relevant to the inquiry than
    17    others here.
    18    Q.   Which of the factors do you think are more relevant?
    19    A.   I think the royalties paid for similar patents is
    20    particularly relevant.     That would be Georgia-Pacific factor
    21    number 2.    And I've also considered other aspects like
    22    commercial relationship, et cetera.
    23    Q.   Let's take a look at PDX-623.      Could you describe what
    24    you see here?
    25    A.   Yes.   This is my opinion as to what a future royalty rate




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                                     Napper, B. - Direct

     1    would be.    Based upon the infringed Group A patents, they
     2    would be a running royalty of 1.4 percent times the end
     3    product sales of Cargill.
     4                THE COURT:   Times -- you're applying that percentage
     5    to gross sales?
     6                THE WITNESS:   That's correct, Your Honor.
     7                THE COURT:   How did Mr. Jarosz?
     8                THE WITNESS:   Jarosz.
     9                THE COURT:   What was he applying his percentages to?
    10                THE WITNESS:   He also converted.    He converted that
    11    25 percent to a 12.4 percent, and he also applies it to the
    12    gross sales.
    13                THE COURT:   Gross sales?
    14                THE WITNESS:   Yes.    So those are comparable, in
    15    terms of just what they're applying it to.
    16                THE COURT:   Well, it's a lot easier to apply it to
    17    gross sales than it is to net because -- well, for obvious
    18    reasons.
    19                THE WITNESS:   I couldn't agree more, Your Honor.
    20                MS. SHAW:    May I proceed, Your Honor?
    21                THE COURT:   Yes.
    22    BY MS. SHAW:
    23    Q.   Just one question.     You see that there's no rate provided
    24    for the Group D patents.        Why is that?
    25    A.   Because as I explained before, it's my understanding that




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                                     Napper, B. - Direct

     1    the BASF elite event is the infringing product, for lack of a
     2    better way to describe it, and there are no sales of that,
     3    and that's not going to be used by Cargill on a go-forward
     4    basis in any kind of commercialization.          So I couldn't really
     5    determine what an appropriate royalty rate would be for
     6    infringement.
     7                I do need to clarify, though, the 1.4 percent is
     8    only part of the royalty for the Group A infringed patents.
     9    I also believe that an appropriate amount of 1.235 million
    10    should be paid in a lump sum.       So those two are added
    11    together.
    12                THE COURT:   How did you come up with that number?
    13                THE WITNESS:   That number is the payments made by
    14    BASF under the BASF/University of Hamburg agreement.          That's
    15    how much they paid to the researchers and the scientists.
    16    That ultimately resulted in the '228 patent, among other
    17    patents, that BASF owns.      So I believe that's a
    18    technologically comparable agreement, and it indicates the
    19    value of certain desaturases and elongase enzymes, as well as
    20    Acyl-CoA and the bifunctional.
    21    BY MS. SHAW:
    22    Q.   If we could look at PDX-604 again.          Did you look at G-P
    23    factor 1, royalties received by the patent owner in coming up
    24    with your reasonable royalty?
    25    A.   Yes, I considered that.      Like I said, I considered all




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                                    Napper, B. - Direct

     1    these factors.     We've already discussed the CSIRO/GRDC/Nuseed
     2    agreements.    I don't think, for the reasons I've already
     3    stated, that that's a reliable agreement, but, essentially, I
     4    certainly considered it and made appropriate adjustments.
     5    Q.   So how did you go about identifying what royalty
     6    payments, what appropriate royalty payments to look at in
     7    coming up with your agreement -- your rate?        I'm sorry.
     8    A.   So I inquired -- in my discussions with the BASF folks, I
     9    inquired as to various agreements, collaboration agreements
    10    or research agreements that they had signed periodically in
    11    connection with their work on their elite event, and through
    12    that discussion, three -- I looked at many.        There was
    13    probably seven or eight, if you will, that I think I
    14    summarize in my report, but three came to the forefront as
    15    particularly relevant in terms of BASF's efforts to create
    16    their elite event.     And those were the University of Hamburg,
    17    Bioriginal, and University of York.
    18    Q.   Did you talk to Dr. Andre in doing this?
    19    A.   I did, yes.    I had a discussion with him, extended
    20    discussions -- it wasn't just one, but a couple -- to try to
    21    understand -- in fact, the chart we saw with all the vectors,
    22    he went into, what I would say, excruciating detail as to all
    23    the different efforts that BASF went through, all the
    24    technologies they used.     But at the end of the day we came to
    25    kind of an understanding of what it was particularly relevant




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                                    Napper, B. - Direct

     1    to what the asserted patents at that point in time were
     2    claiming.
     3    Q.   And did you talk to Dr. Murphy in connection with this?
     4    A.   Yes.   Once I had talked to Dr. Andre, I then discussed
     5    with Dr. Murphy and asked him to do a technologically
     6    comparable analysis of some of those -- not the agreements
     7    themselves but the intellectual property within the
     8    agreements.
     9    Q.   What types of comparability analysis did you and
    10    Dr. Murphy conduct?
    11    A.   So Dr. Murphy did the technology -- technologically
    12    comparable analysis; are the intellectual property and the
    13    patents and patent applications that emerged from those
    14    agreements comparable to, from a technical standpoint, to the
    15    infringed patents at this stage?
    16                He conducted that, and then I conducted an economic
    17    comparability.    I looked at whether, first and foremost, do
    18    those particular intellectual property licenses by BASF
    19    relate to the elite event, and ultimately the -- what would
    20    be sold into the marketplace.      I confirmed that those do
    21    involve the same product.
    22                And I looked to essentially a running royalty rate
    23    in the construct of two of those agreements, that they would
    24    be paid on the end product.      So I conducted, among other
    25    things, fairly exhaustive analysis of the economic




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                                    Napper, B. - Direct

     1    comparability.
     2    Q.   So I believe one of the three agreements you identified
     3    was the Hamburg agreement, correct?
     4    A.   Correct.
     5    Q.   Let's look a little bit more closely at that agreement.
     6    Can we pull up PX-451.
     7    A.   Okay.
     8    Q.   Now, is this the German language document that you
     9    received before your report?
    10    A.   It is.    This is the document I received before my report.
    11    Q.   And at the time you issued your report, did you have an
    12    English translation of the document?
    13    A.   I did not, no.
    14    Q.   Okay.    Could you please put up CX-1031.
    15                 Have you seen this document?
    16    A.   I have.    This is the English -- this is the University of
    17    Hamburg agreement translated into English.
    18    Q.   Okay.    Now, do you understand this translation to be of
    19    the Hamburg agreement?
    20    A.   Yes.
    21    Q.   Okay.    Do you have an understanding of what BASF paid
    22    under this agreement?
    23    A.   I do.    It's my understanding that BASF paid on a per
    24    annum basis, an annual basis three different payments
    25    totalling -- and also paid for a machine.        I was going to try




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                                     Napper, B. - Direct

     1    to pronounce what the machine was, but "Chromograph" machine,
     2    I think.    So combined all in, it was $1.235 million.        That's,
     3    by the way, adjusted for the payments made in 1998 to current
     4    2018 dollars.
     5    Q.     And under --
     6                THE COURT:   Did you look at how much they paid the
     7    other collaborators?
     8                THE WITNESS:   The other collaborators on other
     9    agreements?
    10                THE COURT:   The University of York and whoever that
    11    was?
    12                THE WITNESS:   I did, Your Honor.    It's a good
    13    question.    So there were some minor payments on the
    14    University of York in a lump sum to the scientists, but in
    15    the University of York situation, it appeared that the
    16    intellectual property was more linked to the running royalty
    17    that's in that agreement, which is .4 percent.
    18                So I did not include, although it could be included,
    19    it's a pretty minor amount, some payments to the researchers
    20    because it struck me, in looking at the agreement, that the
    21    .4 percent running royalty in the University of York was more
    22    related to the intellectual property, what arose out of the
    23    collaboration.
    24                THE COURT:   Can't you translate that into a payment?
    25    I mean, why shouldn't they get all three of their




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                                     Napper, B. - Direct

     1    collaborations?    Why should it be just one?
     2                THE WITNESS:   It's fair, Your Honor.     The reason,
     3    the University of Hamburg does not have a running royalty.
     4    So that is all payments made to the --
     5                THE COURT:   I know, but --
     6                THE WITNESS:   Yes.
     7                MS. SHAW:    Could we look at PDX-625 just to address
     8    Your Honor's question.
     9                THE COURT:   Well, I mean, I think you can put some
    10    value on the running royalty if you wanted to be realistic
    11    about -- I mean --
    12                MS. SHAW:    May I proceed, Your Honor, with some
    13    questions that I hope will address the questions you're
    14    raising?
    15    BY MS. SHAW:
    16    Q.   Could you describe what we see here in this slide?
    17    A.   Yes.   This is a summary of the payments by BASF by
    18    contract to these three entities for their work on
    19    technologically comparable intellectual property.         So that's
    20    what I'm showing here, is the 1 percent to Bioriginal,
    21    .4 percent, and the 1.235 lump sum, for lack of a better
    22    word, payment to University of Hamburg.
    23    Q.   And how does this compare to the royalty rate that you
    24    have proposed in this case?
    25    A.   So I added all of these together; so the 1 percent to




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                                    Napper, B. - Direct

     1    Bioriginal plus the .4 percent to University of York, or
     2    Amaethon, and then the University of Hamburg did not have a
     3    running royalty, so that was all payments to them in 2018
     4    dollars of 1.235 million.
     5              THE COURT:    So what you're saying is BASF is going
     6    to have to keep paying these royalties, but that doesn't put
     7    any money in the pocket of the owner of the patents.          That's
     8    just an additional cost to BASF, but it doesn't compensate
     9    the owner of the patents in any way?
    10              THE WITNESS:    Do you mean the owner of the patents
    11    being the infringed patents here?
    12              THE COURT:    Yeah.
    13              THE WITNESS:    Yes.   So what this is, is a
    14    comparables approach, a market approach.        Because the
    15    intellectual property from these collaborations between BASF
    16    and these entities and what BASF paid, they're
    17    technologically comparable to what the asserted patents are,
    18    so you're exactly right, Your Honor, then, in my opinion,
    19    BASF would have to turn around and pay 1.4 percent on future
    20    sales to CSIRO on top of what they're going to have to pay to
    21    these collaborators.     In other words, if BASF --
    22              THE COURT:    They're going to have to pay 1.4 percent
    23    to the owner of the patents and 1.4 percent to these other
    24    collaborators?
    25              THE WITNESS:    Better said than I just did, Your




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                                    Napper, B. - Direct

     1    Honor.   You're exactly right; that's what is going to
     2    transpire.
     3              THE COURT:    Yeah, but my point is the 1.4 percent
     4    that they pay to the other collaborators doesn't put any
     5    money in the pocket of the owner of the patents which have
     6    been infringed.
     7              THE WITNESS:    Well, it does in terms of the royalty
     8    rate that derives from the analysis because BASF --
     9              THE COURT:    Well, I didn't hear you mention these in
    10    your analysis of how you arrived at the royalty rate.
    11              THE WITNESS:    I'm sorry, Your Honor, then I may have
    12    disconnected you.     This is the basis for my royalty rate, and
    13    it is based upon these agreements having comparable
    14    technology.    So BASF pays 1.4 percent when they start making
    15    product on those products, and because they're
    16    technologically comparable, that's kind of the market price
    17    of that technology.     I think that BASF would end up paying
    18    1.4 percent, as well, to the owner of this --
    19              THE COURT:    Well, I mean, Cargill is going to pay
    20    1.4 percent to the owners of the patent, but you're saying
    21    that BASF, out of their share of the revenues from sales, is
    22    going to pay 1.4 percent.      Is there any reason why those two
    23    numbers are the same?
    24              THE WITNESS:    Yeah, interesting.     That's a good
    25    point.   I don't believe that it would just be on BASF's 40




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                                    Napper, B. - Direct

     1    percent take from the BASF/Cargill.
     2               THE COURT:   No, I don't think it's going to be on
     3    their take.    I said they have to pay it out of their take.
     4               THE WITNESS:   Yes.    Yes.
     5               THE COURT:   They're going to pay 1.4 percent of the
     6    sales out of their take.
     7               THE WITNESS:   I --
     8               THE COURT:   I mean, that doesn't mean that they pay
     9    1.4 percent of their take.
    10               THE WITNESS:   Yes.    Okay.    Sorry, Your Honor, I
    11    misunderstood, but you're right.         I think we're saying the
    12    same thing; that is, 1.4 percent of a Cargill sale of $100,
    13    whatever that is, that's $1.40 that's going to be paid by
    14    BASF to these individuals.       I assume it's going to be BASF,
    15    but, more importantly, it's 1.4 percent that the infringed
    16    patent owner will get 1.4 percent, plus an upfront of 1.235
    17    million.
    18               THE COURT:   Well, I'm not clear on one thing.       So
    19    the way you came up with your running royalty is you're, in
    20    effect, saying that they've got to pay the same thing to the
    21    patent owners as they paid to their collaborators?
    22               THE WITNESS:   That's correct.       It's using the market
    23    approach to valuing intellectual property.         It's kind of like
    24    the comparable approach.
    25               THE COURT:   Well, how does that -- I mean, these --




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                                    Napper, B. - Direct

     1    their collaborators didn't suffer any damages, and they're
     2    getting 1.4 percent even though they didn't suffer any
     3    damages.
     4               THE WITNESS:   That's an excellent point, Your Honor.
     5    So -- sorry.
     6               THE COURT:   So it seems to me that part of the
     7    damages suffered by the patent owners is not included in your
     8    formula.
     9               THE WITNESS:   Well, if I could, there's two
    10    adjustments I make that would have increased this royalty
    11    rate to the owners of the infringed patents, and then there
    12    are two influences that would have decreased the rate as
    13    compared to what these collaboration agreements have.
    14               The two increases are exactly that, that they now
    15    have been found to be infringed.       So that rate -- any of the
    16    intellectual property in these agreements have not found to
    17    be infringed or, you know -- a subset of infringement and
    18    validity, so it's an upward.
    19               The other upward influence is competition.        So while
    20    I don't think it's as head to head as Mr. Jarosz believes, in
    21    terms of these two companies, I think there's some level of
    22    competition so that would have an upward influence because
    23    there's no competition with these collaborators and BASF.          So
    24    both of those had to go up.
    25               On the flip side, there's two downward influences.




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                                    Napper, B. - Direct

     1    One is for -- on any of these agreements, BASF got rights to
     2    more intellectual property than just the specific patents
     3    that were used in the BASF elite event for the enzymes, the
     4    desaturases, et cetera.
     5              So they got -- BASF got more rights.        So when you
     6    compare that to BASF only getting rights to the infringed
     7    patents, that should have a downward influence on this rate.
     8    The second downward influence -- these are all exclusive
     9    rights to BASF --
    10              THE COURT:    Well, if they had the patents, they
    11    wouldn't have needed the collaborators.
    12              THE WITNESS:    If who had had the patents, Your
    13    Honor?
    14              THE COURT:    If BASF had owned the patents, they
    15    wouldn't have needed any collaborators.
    16              THE WITNESS:    Arguably, I can see that.      In other
    17    words, if BASF had the infringed patents, they would --
    18    they -- I'm not sure whether they would have gone out and
    19    collaborated with these other folks.       It seems like they do a
    20    lot of things, but it could be -- that could be the scenario,
    21    sure, but in which case they would be paying -- BASF would
    22    have saved money, right.      They would have paid the 1.4
    23    percent to the owner of these patents, based upon this
    24    comparables approach, and they wouldn't have to pay this to
    25    these other collaborators.




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                                    Napper, B. - Direct

     1               THE COURT:    Well, that's one way of looking at it.
     2               What is the other downward factor?
     3               THE WITNESS:    The other downward factor is BASF got
     4    exclusive rights to these -- any intellectual property in
     5    these agreements, and here BASF doesn't get exclusive rights
     6    to the infringed patents.
     7               THE COURT:    They don't get exclusive rights?
     8               THE WITNESS:    No, they do not, not in the asserted
     9    patents.   CSIRO is free to go out and try to license other
    10    folks with these patents.
    11               THE COURT:    So you're assuming that they wouldn't
    12    get exclusive rights?
    13               THE WITNESS:    I am assuming that they would not get
    14    exclusive rights.      That's fair.
    15               THE COURT:    Well, I don't know what value there is
    16    to that -- to the patent owner, because -- well, I don't know
    17    how long it would take some third party to get to produce
    18    anything before the patents expire.
    19               THE WITNESS:    Yes.   Yeah, I think it's an excellent
    20    point, Your Honor.      There's not much value there for CSIRO
    21    retaining rights to be able to license somebody else.
    22               THE COURT:    All right.
    23               MS. SHAW:    May I continue, Your Honor?
    24               THE COURT:    Well, how much longer are you going to
    25    be?




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                                     Napper, B. - Direct

     1                MS. SHAW:    I think you've done a great deal of my
     2    job for me, Your Honor.      So I think it will just be -- it's
     3    going to be less than ten minutes.
     4                THE COURT:   All right.
     5    BY MS. SHAW:
     6    Q.   I did want to talk to you a little bit about something
     7    about the Hamburg agreement.
     8                I believe you said that you received the document in
     9    German before you issued your report; is that correct?
    10    A.   Yes.
    11    Q.   And you don't speak German, do you?
    12    A.   I do not.
    13    Q.   So how did you know what the terms of the Hamburg
    14    agreement were?
    15    A.   I had a colleague of mine who is German, German native,
    16    and he reviewed the compensation section of the agreement.
    17    Again, Dr. Andre had kind of explained to me the '228 patent
    18    and had emerged from that collaboration, so I knew generally
    19    what the agreement was about, but I had him interpret the
    20    compensation part of the agreement.
    21                Unfortunately, he did not pick up on the fact that
    22    it was a payment per annum for the three-year term of the
    23    agreement.    So originally I thought it was a one-time payment
    24    of around $400,000 and it turned out that, once I got the
    25    English translation, it was three times that, because it was




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                                    Napper, B. - Direct

     1    an annual payment so I adjusted my rate accordingly.
     2    Q.   And does the 1.235 million as the upfront payment in your
     3    ongoing royalty reflect that adjustment?
     4    A.   Correct.
     5    Q.   So I believe you said that the '228 patent comes out of
     6    the Hamburg agreement?
     7    A.   That's my understanding, yes.
     8    Q.   And what is that understanding from?
     9    A.   That comes from Dr. Andre.
    10    Q.   Okay.    Let's take a look at PX-532.      Can you identify
    11    this document?
    12    A.   Yes.    This is the agreement between BASF and the
    13    University of York, also known as Amaethon.
    14    Q.   Do you have an opinion as to whether this agreement is
    15    economically comparable to the hypothetical negotiation?
    16    A.   I believe that it is, yes.
    17    Q.   And what did BASF pay under this agreement?
    18    A.   BASF agreed to pay some minimal amounts of upfront fees
    19    for researchers, if I recall correctly, but then also agreed
    20    to pay a .4 percent rate on the commercial sales of any
    21    product that emerged from the use here.
    22    Q.   And what did BASF receive in exchange for that payment?
    23    A.   They received, I believe, a number of intellectual
    24    property, some patent applications, including one in
    25    particular.     It was a patent application that had relevance




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                                    Napper, B. - Direct

     1    to the elite event.
     2    Q.   Okay.    If you could, turn to Annex I, which is at BASF
     3    197251 of PX-532.     Can you tell us what you see there?
     4    A.   Yes.    These are -- this is attached to the Amaethon
     5    agreement with BASF, and this lists out the intellectual
     6    property rights that BASF got access to by virtue of signing
     7    this agreement and committing to pay a .4 percent royalty
     8    rate in the future.
     9    Q.   And do you know what's identified there in Section B?
    10    A.   Section B is a patent application that I looked at and
    11    reviewed and identified another patent application that
    12    was -- I had Dr. Murphy take a look at, and that's one of the
    13    patent applications and/or patents that he looked at and
    14    tracked that to the elite event.
    15    Q.   Could you take a look at PX-416?
    16                 Can you identify what you see here?
    17    A.   Yes.    This is the patent application, the '921 patent
    18    application that Dr. Murphy analyzed for technological
    19    comparability and identified as tracking to particular
    20    desaturases and enzymes within the elite event.
    21    Q.   How do you know that the '921 patent publication resulted
    22    from the Amaethon license?
    23    A.   I used a tool I often use in any valuation work -- it's
    24    pretty simple -- Google patents, and you can input either a
    25    patent application or a patent number, and it allows you to




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                                    Napper, B. - Direct

     1    see what patents emerged from a particular patent
     2    application.    Sometimes there's divisional patents,
     3    et cetera.
     4                You can also find out, you know, cites, citations,
     5    and going back and looking at other patents.        I didn't really
     6    use that for this purpose, but I often use this tool to help
     7    private equity companies.      If they want to figure out, just
     8    from a high level, who's patenting in this space, we're going
     9    to buy this company that has this patent application, who
    10    else has cited to that patent application, and should we go
    11    look at that company to maybe buy them?
    12                It's just a tool I use fairly regularly in my work,
    13    and I identified, via that tool, this particular patent
    14    publication, and then, working with counsel, as well,
    15    provided that patent publication to Dr. Murphy to review.
    16    Q.   Could you take a look at JX-65, and could you turn to the
    17    page BASF 15753.
    18                Can you identify this document?
    19    A.   Yes.    This is a document that's embedded within the
    20    BASF/Cargill commercial agreement, and it is the Bioriginal
    21    license agreement between BASF and Bioriginal.
    22    Q.   Is this agreement economically comparable to the
    23    hypothetical negotiation?
    24    A.   It is.    It involves the same products at issue, the
    25    royalties going to be paid on a commercialized product down




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                                    Napper, B. - Direct

     1    the road, and, of course, the technological comparability was
     2    assessed by Dr. Murphy.
     3    Q.   And what did BASF pay under this agreement?
     4    A.   BASF -- they haven't paid anything, because there's been
     5    no sales, but BASF agreed to pay 2 percent on the end product
     6    of Cargill.    However, there's what is called a royalty
     7    stacking clause in this agreement; whereby, if BASF has to
     8    end up paying royalties to some other entity, that that
     9    royalty rate will be reduced from 2 percent down to 1
    10    percent, essentially.     And so my takeaway from this is 1
    11    percent, because BASF sounds like they're going to have to
    12    end up paying a royalty to the asserted patent owner in this
    13    case, and there's a reduction that occurs.
    14                So that's called -- they don't quite know all the
    15    technology they need, a company, so they say, If we have to
    16    pay somebody else, your royalty rate is going to go down.
    17    Q.   And what rights did BASF receive under this agreement?
    18    A.   A fair amount of patent applications, if I remember
    19    correctly, and what emerged from those patent applications
    20    were two -- more than two issued patents, but two in
    21    particular were relevant.      Let's see if I'm good enough to
    22    remember.    The '436 and the '492, I believe.
    23    Q.   And how did you determine that those resulted from this
    24    license?
    25    A.   I determined that, again, looking at all the different




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                                    Napper, B. - Direct

     1    patent applications that were identified in this agreement, I
     2    did a Google patent search, and checked that with counsel for
     3    BASF and Cargill, and then provided a subset of those to
     4    Dr. Murphy to look at and review for technological
     5    comparability.
     6    Q.   Could we put up PX-927 and PX-417 side by side.
     7                This is the '432 and '469 patents.     Are these the
     8    patents that you identified coming out of this agreement?
     9    A.   Yes.   Again, there was other intellectual property that
    10    was licensed to BASF, but these specific patents were of
    11    particular interest, based upon Dr. Murphy's work.         And I
    12    bought the patent numbers wrong.       It was '432 and '469.
    13    Q.   And so, in sum, out of these agreements, the Hamburg
    14    agreement, the Amaethon agreement, and the Bioriginal
    15    argument, how many patents and patent applications came out
    16    of it?
    17    A.   Out of the Bioriginal agreement?
    18    Q.   Out of the patents that you identified, how many patents
    19    did you identify as relevant for your analysis coming out of
    20    those agreements?
    21    A.   One was a patent application with the University of York,
    22    and then there were three others.
    23    Q.   Three patents?
    24    A.   Three patents.    Sorry.
    25    Q.   And was that the '228 patent, the '432 patent, and the




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                                      Napper, B. - Direct

     1    '469 patent?
     2    A.   That's correct.
     3    Q.   Okay.    Now, Mr. Napper, you do not have a technical
     4    degree, do you?
     5    A.   I do not.
     6    Q.   So how are you able to assess the technological
     7    comparability of the technology in these agreements?
     8    A.   As I often do in these matters, I look to the technical
     9    experts, who have that background, and I ask them to perform
    10    a technological comparability analysis and to provide that to
    11    me so that I am assured that they have technological
    12    comparability.
    13    Q.   Do you have an understanding of whether the patents, the
    14    three patents and patent application we discussed, are
    15    technologically comparable to the Group A patents?
    16    A.   That's my understanding of Dr. Murphy's -- the conclusion
    17    of his analysis; that they are technologically comparable and
    18    actually track to much of the enzymes, as well as the
    19    Acyl-CoA and the bifunctional enzyme within the BASF elite
    20    event.
    21    Q.   And could we look at PDX-625?
    22                 Can you describe this again to us and tell us how
    23    this compares to your proposed royalty rate?
    24                 THE COURT:   He's already done that.
    25                 MS. SHAW:    Okay.   Your Honor, then I pass the




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     1    witness.
     2               THE COURT:   All right.    When we interrupt somebody's
     3    testimony in the middle, so to speak, my instructions to the
     4    witness are that you cannot discuss your further testimony
     5    with anyone, attorneys or otherwise, nor should you consult
     6    any other source of information.       The idea is that you will
     7    return to the stand with exactly the knowledge that you have
     8    right now when you leave it and not try to further educate
     9    yourself about further testimony.
    10               THE WITNESS:   Thank you, Your Honor.      I understand.
    11               THE COURT:   You can step down.
    12               THE WITNESS:   Thank you.    Have a good evening.
    13               (The witness stepped down.)
    14               THE COURT:   All right, counsel.     Is there anything
    15    before we adjourn?
    16               MS. SHAW:    Nothing from us, Your Honor.
    17               MR. SUNG:    No, Your Honor.   Nothing.
    18               THE COURT:   All right.    Well, I'll see you tomorrow
    19    morning at 10:00.
    20               (Proceedings adjourned at 5:47 p.m.)
    21
    22
    23
    24
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     1                                CERTIFICATION
     2
     3          I certify that the foregoing is a correct transcript
     4    from the record of proceedings in the above-entitled matter.
     5
     6
     7               ___________________/s/____________________
     8                             Carol L. Naughton
     9                              November 5, 2019
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